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              EXHIBIT 10
              EXHIBIT 10
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      White House
      White       Press Secretary
            House Press Secretary Sean
                                  Sean Spicer
                                       Spicer holds
                                              holds his daily briefing with
                                  reporters.
                                  reporters.
                                                        Federal
                                                        Federal News Service
                                                                News Service
                                                     January 23, 2017
                                                     January 23, 2017 Monday
                                                                      Monday


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Length: 15010
Length:       words
        15010 words

Body
Body


                  Subject: White
                  Subject: White House
                                 House

Participants: White
Participants: White House Press Secretary
                    House Press Secretary Sean
                                          Sean Spicer
                                               Spicer

Location: The
Location:     White House,
          The White House, Brady
                           Brady Press
                                 Press Briefing
                                       Briefing Room
                                                Room

Time: 13:30:00
Time: 13:30:00

Date: 2017-01-23
Date: 2017-01-23

SPICER: Good
SPICER:      Good afternoon,
                     afternoon, everyone.
                                  everyone. Thanks     for coming
                                               Thanks for  coming outout to
                                                                          to our
                                                                             our first
                                                                                 first official
                                                                                       official briefing
                                                                                                 briefing here
                                                                                                          here inin the
                                                                                                                    the Brady
                                                                                                                        Brady Room.
                                                                                                                                Room. II
was going
was    going toto start with a
                  start with a recap
                                recap of
                                       of the
                                          the inauguration,
                                               inauguration, but
                                                              but II think
                                                                     think we've
                                                                            we've covered
                                                                                   covered that
                                                                                              that pretty
                                                                                                    pretty well.
                                                                                                           well. By
                                                                                                                  By the
                                                                                                                      the way,
                                                                                                                          way, just
                                                                                                                                just as
                                                                                                                                     as II
get started,
get   started, II know
                   know that
                          that Josh  Earnest was
                               Josh Earnest     was voted
                                                     voted the
                                                            the most
                                                                most popular
                                                                         popular press
                                                                                  press secretary
                                                                                          secretary by  by the
                                                                                                           the Press
                                                                                                               Press Corps,
                                                                                                                        Corps, so
                                                                                                                                so after
                                                                                                                                    after
reading --
reading    -- checking
              checking my my Twitter  feed, II shot
                              Twitter feed,    shot Josh
                                                    Josh an
                                                          an e-mail   last night
                                                             e-mail last   night letting
                                                                                 letting him
                                                                                         him know
                                                                                                know that
                                                                                                       that he
                                                                                                            he can
                                                                                                               can rest
                                                                                                                     rest easy,
                                                                                                                          easy, that
                                                                                                                                 that his
                                                                                                                                      his
title is
title is secure
         secure for
                  for at
                      at least
                         least the
                               the next
                                   next few
                                        few days.
                                              days.

Let me
Let me begin
        begin by
              by saying
                  saying that
                         that the
                              the president
                                    president has
                                                has been
                                                    been closely
                                                           closely monitoring
                                                                    monitoring the
                                                                                the severe
                                                                                     severe weather
                                                                                            weather inin the
                                                                                                         the southeast.
                                                                                                             southeast. He
                                                                                                                        He
spoke by
spoke  by phone
          phone with
                  with Governor
                        Governor Deal
                                    Deal ofof Georgia
                                               Georgia yesterday    and offered
                                                         yesterday and   offered his
                                                                                   his condolences
                                                                                       condolences andand support.
                                                                                                           support. Today,
                                                                                                                    Today,
President Trump
President        is focused
          Trump is  focused on
                            on fulfilling
                                fulfilling his
                                           his pledge
                                               pledge to
                                                      to pursue
                                                          pursue trade
                                                                 trade policies
                                                                       policies that
                                                                                 that put
                                                                                      put America
                                                                                          America first.
                                                                                                  first.

SPICER: The
SPICER:       president began
          The president  began his
                                his day
                                    day with
                                        with a breakfast with
                                             a breakfast with key  U.S. business
                                                               key U.S. business leaders
                                                                                 leaders where
                                                                                         where the
                                                                                               the focus
                                                                                                   focus of the
                                                                                                         of the
discussion was
discussion was on
               on job
                  job creation
                      creation and growing our
                               and growing our manufacturing
                                               manufacturing base.
                                                              base.

Business leaders
Business  leaders who
                   who attended
                         attended included
                                    included Michael
                                             Michael Dell,
                                                      Dell, founder
                                                            founder and
                                                                    and CEO
                                                                         CEO of of Dell;
                                                                                   Dell; Jeff
                                                                                         Jeff Fettig, the CEO
                                                                                              Fettig, the  CEO ofof Whirlpool;
                                                                                                                    Whirlpool;
Mark Fields,
Mark  Fields, the
              the CEO
                  CEO of of Ford;  Alex Gorsky,
                             Ford; Alex  Gorsky, the
                                                 the CEO
                                                     CEO ofof and
                                                              and Johnson    and Johnson;
                                                                   Johnson and    Johnson; Marillyn
                                                                                              Marillyn Hewson,    the CEO
                                                                                                        Hewson, the         of
                                                                                                                       CEO of
Lockheed Martin;
Lockheed   Martin; Klaus
                    Klaus Kleinfeld,   the CEO
                            Kleinfeld, the      of Arconic;
                                           CEO of  Arconic; Andrew
                                                             Andrew Liveris,
                                                                     Liveris, the
                                                                              the CEO
                                                                                   CEO ofof Dow;
                                                                                            Dow; Maro
                                                                                                    Maro Longi,
                                                                                                           Longi, the
                                                                                                                  the CEO
                                                                                                                       CEO of
                                                                                                                            of
U.S. Steel;
U.S. Steel; Elon
             Elon Musk
                   Musk ofof SpaceX
                              SpaceX andand Tesla; Kevin Plank
                                            Tesla; Kevin         of Under
                                                          Plank of  Under Armour;
                                                                           Armour; Mark
                                                                                     Mark Sutton
                                                                                             Sutton ofof International
                                                                                                         International Paper;
                                                                                                                        Paper;
Wendell Weeks,
Wendell   Weeks, the
                   the CEO
                        CEO of of Corning;
                                   Corning; Chief  of Staff
                                             Chief of Staff Reince
                                                             Reince Priebus;   Chief Strategist
                                                                     Priebus; Chief    Strategist Steve
                                                                                                   Steve Bannon;      the vice
                                                                                                            Bannon; the   vice
president's chief
president's chief of
                  of staff,
                     staff, Josh  Pitcock; and
                            Josh Pitcock;  and senior
                                               senior adviser Steven Miller.
                                                      adviser Steven  Miller.

The breakfast
The  breakfast was
               was an
                    an opportunity  for the
                        opportunity for the president
                                            president to
                                                      to hear
                                                         hear directly from America's
                                                              directly from  America's top
                                                                                         top business
                                                                                             business leaders
                                                                                                       leaders about
                                                                                                                 about the
                                                                                                                       the
challenges they're
challenges  they're facing
                    facing and  take some
                            and take  some suggestions    about what
                                            suggestions about          policies and
                                                                what policies    and action
                                                                                      action can
                                                                                             can be
                                                                                                 be taken
                                                                                                     taken toto help
                                                                                                                help them
                                                                                                                     them
create jobs
create jobs and
             and grow
                  grow our
                         our manufacturing
                             manufacturing base.
                                            base. The    meeting included
                                                   The meeting   included a    really great
                                                                            a really  great exchange
                                                                                            exchange of of ideas
                                                                                                           ideas and
                                                                                                                  and the
                                                                                                                       the
president has
president has decided
              decided toto reconvene
                           reconvene the
                                      the group
                                          group in
                                                in a
                                                   a month
                                                     month and
                                                            and then
                                                                then have
                                                                      have them
                                                                            them meet
                                                                                   meet on
                                                                                         on a quarterly basis.
                                                                                            a quarterly basis.

As you
As you know,
       know, the
             the president's   vision is
                  president's vision   is to
                                          to negotiate fair trade
                                             negotiate fair trade deals
                                                                  deals that
                                                                        that create
                                                                             create jobs,
                                                                                     jobs, increase
                                                                                           increase American
                                                                                                    American wages     and
                                                                                                                 wages and
reduce America's
reduce America's trade
                 trade deficit.
                       deficit. He's
                                He's appointed
                                      appointed a   tough and
                                                  a tough  and smart  number of
                                                                smart number   of trade
                                                                                  trade experts  who will
                                                                                        experts who       fight on
                                                                                                     will fight on behalf of
                                                                                                                   behalf of
American workers.
American workers. With
                   With that
                        that vision
                             vision in
                                     in mind,
                                        mind, the
                                               the president
                                                   president has
                                                              has already
                                                                  already taken
                                                                          taken several
                                                                                 several steps
                                                                                          steps today.
                                                                                                today.
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                     White House
                     White House Press Secretary Sean
                                 Press Secretary Sean Spicer
                                                      Spicer holds
                                                             holds his
                                                                   his daily
                                                                       daily briefing
                                                                             briefing with
                                                                                      with reporters.
                                                                                           reporters.

First, he
First, he issued
          issued a  presidential memorandum
                  a presidential memorandum withdrawing
                                                withdrawing the
                                                             the United
                                                                 United States
                                                                        States from
                                                                               from the
                                                                                     the Trans-Pacific Partnership. TPP
                                                                                         Trans-Pacific Partnership.  TPP
is a
is a multilateral
     multilateral agreement
                  agreement that
                              that includes
                                   includes the
                                            the United  States and
                                                United States  and 11  other countries.
                                                                   11 other  countries. As
                                                                                        As the
                                                                                           the president
                                                                                               president has
                                                                                                          has said
                                                                                                              said many
                                                                                                                   many
times, this
times,  this type
             type of
                   of multinational
                      multinational agreement   is not
                                     agreement is  not in
                                                       in our
                                                          our best
                                                              best interest
                                                                   interest and  he's moving
                                                                            and he's   moving quickly
                                                                                               quickly to
                                                                                                       to advance
                                                                                                          advance trade
                                                                                                                    trade
policies that
policies that increase
              increase the
                       the competitiveness
                            competitiveness of
                                             of the
                                                the American
                                                    American worker
                                                               worker and manufacturer.
                                                                      and manufacturer.

This executive
This             action ushers
       executive action ushers inin a new era
                                    a new     of U.S.
                                          era of      trade policy
                                                 U.S. trade  policy in
                                                                    in which
                                                                       which the
                                                                              the Trump
                                                                                   Trump administration
                                                                                          administration will
                                                                                                         will pursue
                                                                                                              pursue bilateral
                                                                                                                      bilateral
trade opportunities
trade   opportunities with
                      with allies
                           allies around
                                  around the
                                         the globe.
                                             globe. This  is a
                                                    This is  a strong
                                                               strong signal
                                                                       signal that
                                                                              that the
                                                                                   the Trump
                                                                                       Trump administration   wants free
                                                                                             administration wants    free and
                                                                                                                           and
fair trade
fair trade throughout
           throughout the
                       the world.
                            world.

Additionally, the
Additionally, the president
                  president issued
                             issued a memorandum reestablishing
                                    a memorandum     reestablishing the
                                                                    the Mexico   City policy,
                                                                         Mexico City          stating that
                                                                                      policy, stating that the
                                                                                                            the United
                                                                                                                 United
States will
States will end the use
            end the     of taxpayer
                    use of taxpayer dollars
                                    dollars to
                                            to fund
                                               fund abortions
                                                    abortions overseas
                                                              overseas along  with coercive
                                                                        along with          abortion and
                                                                                   coercive abortion  and sterilization
                                                                                                           sterilization
practices.
practices.

Finally, the
Finally, the president
             president issued
                        issued a   memorandum outlining
                                 a memorandum     outlining executive branch hiring.
                                                            executive branch  hiring. This   memorandum counters
                                                                                       This memorandum        counters through
                                                                                                                         through
dramatic expansion
dramatic   expansion ofof the
                          the federal
                                federal workforce
                                        workforce in
                                                   in recent
                                                      recent years.
                                                             years. In particular, it
                                                                    In particular,  it prevents
                                                                                       prevents filling
                                                                                                  filling vacant
                                                                                                          vacant positions
                                                                                                                  positions and
                                                                                                                             and
creating new
creating  new positions
               positions except
                          except when
                                   when necessary
                                         necessary toto meet
                                                        meet national
                                                             national or
                                                                      or public
                                                                         public security
                                                                                 security responsibilities.
                                                                                           responsibilities. It  does not
                                                                                                              It does not apply
                                                                                                                            apply
to military
to military personnel
            personnel and
                       and it
                            it ensures  that the
                               ensures that  the American
                                                 American taxpayers
                                                           taxpayers get
                                                                      get effective  and efficient
                                                                          effective and   efficient government.
                                                                                                     government.

Earlier in
Earlier  in the
            the day,
                 day, the
                      the president
                          president spoke
                                     spoke with
                                             with Egyptian   President el-Sisi.
                                                  Egyptian President     el-Sisi. They discussed ways
                                                                                  They discussed ways toto deepen
                                                                                                           deepen thethe bilateral
                                                                                                                         bilateral
relationship and
relationship        support Egypt's
                and support   Egypt's fight
                                      fight against  terrorists and
                                            against terrorists        bolster Egypt's
                                                                 and bolster  Egypt's home-
                                                                                       home- grown
                                                                                              grown historic
                                                                                                     historic economic     reform
                                                                                                               economic reform
program. President
program.     President Trump    underscored the
                        Trump underscored      the United   States remains
                                                    United States   remains strongly   committed to
                                                                              strongly committed  to the
                                                                                                     the bilateral
                                                                                                          bilateral relationship,
                                                                                                                    relationship,
which has
which   has helped
               helped both
                       both countries    overcome challenges
                             countries overcome      challenges in in the
                                                                       the region
                                                                           region for
                                                                                   for decades.
                                                                                       decades. The    president committed
                                                                                                 The president    committed to  to
working --
working    -- continuing
              continuing to
                          to (inaudible)  military assistance
                             (inaudible) military  assistance toto Egypt
                                                                   Egypt and    working with
                                                                           and working   with Egypt to ensure
                                                                                              Egypt to  ensure that
                                                                                                                that assistance
                                                                                                                      assistance
most effectively
most               supports the
       effectively supports   the Egyptian  military's fight
                                  Egyptian military's  fight against
                                                             against terrorism.
                                                                      terrorism.

The president
The president also
               also commended
                    commended President
                                   President el-Sisi
                                             el-Sisi for
                                                     for his
                                                         his courageous
                                                             courageous steps
                                                                        steps to
                                                                              to address
                                                                                 address Egypt's economic challenges
                                                                                         Egypt's economic challenges
and offered
and offered to
            to discuss
                discuss ways
                         ways the
                                the United  States could
                                    United States   could support
                                                           support Egypt's
                                                                   Egypt's economic
                                                                           economic reform
                                                                                     reform program.
                                                                                            program. Finally,
                                                                                                     Finally, the
                                                                                                              the two
                                                                                                                  two
leaders discussed
leaders discussed aa visit
                     visit to
                           to the
                              the United
                                  United States
                                         States in
                                                in the
                                                   the future.
                                                       future.

The president
The  president then
               then had
                    had lunch
                        lunch with
                              with the
                                   the vice
                                       vice president,
                                            president, where
                                                       where they
                                                             they recapped
                                                                  recapped this
                                                                             this morning's
                                                                                  morning's meetings
                                                                                            meetings and
                                                                                                     and discussed
                                                                                                         discussed
next steps.
next steps. They  also had
             They also had discussed
                           discussed plans   to advance
                                       plans to advance the
                                                         the president's
                                                             president's legislative
                                                                         legislative agenda
                                                                                     agenda to
                                                                                             to make
                                                                                                make America
                                                                                                     America safer
                                                                                                              safer
and more
and  more prosperous.
           prosperous.

Also today,
Also today, the
            the president
                 president signed     (ph) designations
                            signed (ph)                  for acting
                                            designations for acting heads
                                                                    heads of
                                                                          of executive departments and
                                                                             executive departments and agencies
                                                                                                       agencies to
                                                                                                                to
maintain continuity
maintain continuity in
                    in those
                       those critical
                             critical positions.
                                      positions.

SPICER: At
SPICER:    At three
              three o'clock,
                     o'clock, union
                              union leaders
                                     leaders and     front line
                                              and front    line workers     will meet
                                                                  workers will   meet with   the president
                                                                                       with the   president toto discuss   his pro-worker
                                                                                                                 discuss his   pro-worker
agenda. Attendees
agenda.   Attendees include
                       include Tom
                                Tom Flynn
                                       Flynn of
                                             of the
                                                 the United     Brotherhood of
                                                       United Brotherhood        of Carpenters;    Sean McGarvey,
                                                                                    Carpenters; Sean                     president of
                                                                                                           McGarvey, president        of the
                                                                                                                                         the
North American
North  American Building     and Construction
                   Building and   Construction Trades
                                                  Trades Department;         Terry O'Sullivan,
                                                             Department; Terry                     general president
                                                                                    O'Sullivan, general     president of of the
                                                                                                                            the Laborers;
                                                                                                                                 Laborers;
International
International Union
               Union ofof America
                          America ---- of
                                        of North   America; Mark
                                           North America;       Mark McManus,
                                                                        McManus, the the general
                                                                                         general president
                                                                                                    president of of United
                                                                                                                    United Association;
                                                                                                                              Association;
Donald Mullins
Donald   Mullins (ph),  Steamfitters United
                  (ph), Steamfitters   United Association
                                               Association LocalLocal 602;
                                                                        602; Frank    Spencer, United
                                                                             Frank Spencer,       United Brotherhood
                                                                                                           Brotherhood of  of Carpenters;
                                                                                                                              Carpenters;
Doug McCarron,
Doug                general president,
       McCarron, general     president, United
                                          United Brotherhood
                                                   Brotherhood of       Carpenters; Mark
                                                                     of Carpenters;           Coles of
                                                                                       Mark Coles     of Ironworkers     Local 5;
                                                                                                         Ironworkers Local      5; Joseph
                                                                                                                                    Joseph
Sellers Junior,
Sellers  Junior, the
                 the general
                      general president
                                president of
                                           of the
                                              the Sheet
                                                   Sheet Metal       Workers Union/SMART
                                                             Metal Workers       Union/SMART Union;Union; Thelma
                                                                                                            Thelma M. M. Matta
                                                                                                                          Matta (ph),
                                                                                                                                  (ph), the
                                                                                                                                         the
Heat and
Heat  and Frost
           Frost Insulators   and Allied
                  Insulators and   Allied Workers
                                          Workers (ph)     Local 24;
                                                      (ph) Local    24; Mark
                                                                        Mark Urkowski
                                                                               Urkowski (ph),     United Association
                                                                                           (ph), United   Association Local
                                                                                                                         Local 5;5; Steven
                                                                                                                                    Steven
Dodd, the
Dodd,   the Sheet
            Sheet Metal
                    Metal Workers
                            Workers Union/SMART
                                       Union/SMART Union,Union, GaryGary Macino
                                                                           Macino (ph)     the Sheet
                                                                                     (ph) the    Sheet Metal     Worker's Union
                                                                                                        Metal Worker's       Union Smart
                                                                                                                                      Smart
Union. The
Union.   The President
             President hashas been
                               been honored
                                      honored toto received
                                                    received tremendous
                                                                 tremendous support
                                                                                 support from
                                                                                          from union
                                                                                                 union working
                                                                                                        working menmen andand women
                                                                                                                               women on   on
election day
election  day and
               and he's
                    he's dedicated
                          dedicated to to growing
                                          growing and and deepening
                                                           deepening theirtheir support.    And he
                                                                                 support. And     he made
                                                                                                      made it it a priority to
                                                                                                                 a priority  to meet
                                                                                                                                meet with
                                                                                                                                        with
these union
these  union workers
              workers onon our
                            our working
                                working day
                                          day one,
                                               one, here
                                                      here inin the
                                                                the White
                                                                     White House.
                                                                            House. TheThe off
                                                                                           off shoring
                                                                                                shoring or
                                                                                                         or American
                                                                                                             American jobs
                                                                                                                         jobs and
                                                                                                                               and lack
                                                                                                                                     lack of
                                                                                                                                          of
economic growth
economic    growth inin recent
                        recent years,
                                years, has
                                        has hit
                                             hit American
                                                 American workers
                                                               workers particularly
                                                                          particularly hard.
                                                                                        hard. And
                                                                                                And the   President's top
                                                                                                     the President's     top priority
                                                                                                                              priority is
                                                                                                                                       is to
                                                                                                                                           to
retain and
retain and attract  American jobs,
            attract American    jobs, which
                                       which have
                                             have already
                                                     already seen
                                                                seen happening
                                                                       happening through
                                                                                    through hishis actions
                                                                                                   actions on
                                                                                                            on carrier,
                                                                                                                 carrier, Sprint,
                                                                                                                          Sprint, General
                                                                                                                                   General
Motors and
Motors   and so
             so many
                 many more.
                         more.

At 5:00
At       the President
   5:00 the  President will
                       will host
                            host a
                                 a bicameral
                                   bicameral (ph)
                                              (ph) bi
                                                   bi partisan
                                                      partisan meeting
                                                               meeting with
                                                                        with leaders
                                                                              leaders here
                                                                                      here at
                                                                                           at the
                                                                                              the White
                                                                                                   White House,   will
                                                                                                          House, will
include the
include the Vice
            Vice President,
                 President, the
                             the Senate
                                 Senate Majority leader, the
                                        Majority leader, the Senate
                                                             Senate Majority   Whip, the
                                                                     Majority Whip,  the Senate
                                                                                         Senate Minority  leader, the
                                                                                                 Minority leader, the
Senate Minority
Senate  Minority Whip, the House
                 Whip, the  House Speaker,
                                   Speaker, the
                                             the House   Majority leader,
                                                  House Majority  leader, the
                                                                          the House   Democratic leader,
                                                                               House Democratic   leader, the
                                                                                                           the House
                                                                                                               House
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                     White House
                     White House Press Secretary Sean
                                 Press Secretary Sean Spicer
                                                      Spicer holds
                                                             holds his
                                                                   his daily
                                                                       daily briefing
                                                                             briefing with
                                                                                      with reporters.
                                                                                           reporters.

Democratic Whip,
Democratic   Whip, the
                    the White
                        White House
                              House Chief
                                      Chief of
                                             of Staff, our Chief
                                                Staff, our Chief Strategist,
                                                                 Strategist, Chief of Staff
                                                                             Chief of       to the
                                                                                      Staff to the Vice
                                                                                                   Vice President, and
                                                                                                        President, and
Chiefs of
Chiefs of Staff from those
          Staff from those respective
                           respective offices.
                                      offices.

The purpose
The  purpose of of the
                   the meeting
                        meeting is
                                 is to
                                    to get
                                       get the
                                           the President's   agenda moving
                                                President's agenda     moving through
                                                                                 through congress.
                                                                                          congress. The   American people
                                                                                                     The American   people are
                                                                                                                            are
frustrated with
frustrated  with the
                 the lack
                      lack of
                           of progress
                              progress here
                                         here in
                                               in Washington
                                                  Washington and and the
                                                                      the President   wants no
                                                                          President wants     no delay in addressing
                                                                                                 delay in addressing our
                                                                                                                       our most
                                                                                                                           most
pressing issues.
pressing   issues. He's   taking every
                     He's taking         step --
                                  every step   -- opportunity
                                                  opportunity toto forge
                                                                   forge strong
                                                                          strong bonds
                                                                                   bonds with
                                                                                          with congressional
                                                                                                congressional leaders
                                                                                                               leaders on
                                                                                                                        on both
                                                                                                                           both
sides of
sides  of the
          the aisle.
              aisle. One  of the
                     One of  the other
                                 other subjects
                                        subjects that's
                                                  that's sure
                                                         sure to
                                                              to come
                                                                 come upup is
                                                                            is the
                                                                               the status
                                                                                   status of
                                                                                          of his
                                                                                             his nominees
                                                                                                 nominees during
                                                                                                           during this
                                                                                                                  this meeting.
                                                                                                                       meeting.

It's important to
It's important to note   that at
                  note that     at this
                                   this point
                                        point in
                                              in 2009,
                                                 2009, President
                                                        President Obama
                                                                  Obama hadhad seven
                                                                               seven ofof his
                                                                                          his nominee's
                                                                                              nominee's confirmed
                                                                                                          confirmed on
                                                                                                                     on day
                                                                                                                        day one
                                                                                                                             one
and five
and   five more
           more in
                in the
                    the first
                         first week.
                               week. As As it
                                           it stands  today, we
                                              stands today,  we have
                                                                 have two.
                                                                      two. Democrats
                                                                            Democrats even
                                                                                        even held
                                                                                               held up
                                                                                                    up the
                                                                                                        the confirmation
                                                                                                            confirmation of
                                                                                                                          of CIA
                                                                                                                             CIA
director Mike
director        Pompeo, needlessly
           Mike Pompeo,      needlessly leaving
                                            leaving one
                                                     one of
                                                          of our
                                                             our most
                                                                  most important
                                                                        important national
                                                                                  national security   agencies without
                                                                                             security agencies   without its
                                                                                                                          its top
                                                                                                                              top
leader on
leader   on day
             day one.
                  one. It's    time for
                         It's time    for Senate
                                          Senate Democrats
                                                   Democrats to to stop
                                                                   stop playing
                                                                         playing political
                                                                                 political games
                                                                                           games with
                                                                                                    with the
                                                                                                          the core
                                                                                                              core functions
                                                                                                                    functions ofof
government and
government         to allow
              and to   allow President
                               President Trump's
                                           Trump's unquestionably    qualified and
                                                     unquestionably qualified  and talented
                                                                                   talented group
                                                                                              group of
                                                                                                    of cabinet
                                                                                                       cabinet nominees
                                                                                                                nominees toto get
                                                                                                                              get
to work
to  work on
          on behalf
             behalf of
                     of the
                        the American
                             American people.
                                          people.

Rounding out
Rounding   out today's
                today's schedule,   after the
                         schedule, after  the reception    that II mentioned,
                                               reception that      mentioned, he
                                                                              he will
                                                                                  will have
                                                                                       have dinner
                                                                                              dinner with
                                                                                                      with --
                                                                                                            -- oh
                                                                                                               oh we
                                                                                                                  we have
                                                                                                                       have aa
meeting with
meeting  with the
              the House    Speaker Paul
                   House Speaker         Ryan. They
                                   Paul Ryan.    They will
                                                       will discuss
                                                            discuss the
                                                                    the Republican
                                                                         Republican legislative
                                                                                     legislative agenda
                                                                                                 agenda and
                                                                                                          and strategy
                                                                                                               strategy going
                                                                                                                         going
forward. Early
forward.       in the
         Early in  the day
                       day the
                           the President  nominated former
                               President nominated    former New
                                                               New Mexico,
                                                                    Mexico, congress
                                                                            congress woman
                                                                                       woman Heather
                                                                                                 Heather Wilson
                                                                                                          Wilson as   the next
                                                                                                                   as the next
Secretary of
Secretary of the
             the Air
                  Air Force. She grew
                      Force. She  grew up
                                        up in
                                            in Key
                                               Key New
                                                   New Hampshire
                                                         Hampshire andand made
                                                                           made history
                                                                                 history as
                                                                                         as part
                                                                                             part of
                                                                                                  of the
                                                                                                     the third
                                                                                                         third U.S.
                                                                                                               U.S. Air
                                                                                                                     Air Force
                                                                                                                         Force
academy class
academy   class that
                 that included
                      included women.
                               women.

She earned
She         her master's
    earned her  master's degree
                           degree and
                                  and Doctoral
                                      Doctoral degrees
                                               degrees as
                                                       as a Rhode's Scholar
                                                          a Rhode's  Scholar at
                                                                             at Oxford
                                                                                Oxford inin England
                                                                                            England and
                                                                                                    and then
                                                                                                        then served
                                                                                                             served
as an
as    Air Force
   an Air Force officer
                officer in
                        in Europe
                           Europe during
                                  during the
                                         the cold
                                             cold war
                                                  war and
                                                      and on
                                                          on the
                                                             the national
                                                                 national security
                                                                          security office
                                                                                   office under
                                                                                          under President
                                                                                                President George
                                                                                                          George HH
W Bush.
W  Bush.

As you
As you know
         know we're
              we're all
                    all about  big viewerships
                        about big  viewerships and
                                                 and large
                                                     large audiences
                                                           audiences here.
                                                                      here. So
                                                                            So II want
                                                                                  want to
                                                                                       to tell
                                                                                          tell you
                                                                                               you about
                                                                                                   about an
                                                                                                          an effort that
                                                                                                             effort that
we're undertaking
we're             here in
      undertaking here  in the
                           the press
                               press briefing
                                      briefing room
                                               room to
                                                    to offer up more
                                                       offer up more access
                                                                     access to
                                                                             to a
                                                                                a group
                                                                                  group of
                                                                                        of journalists
                                                                                           journalists from
                                                                                                       from around   the
                                                                                                            around the
country.
country.

Beginning later
Beginning    later this
                   this week,
                         week, I'm  excited to
                                I'm excited  to announce     that we're
                                                 announce that     we're going
                                                                           going toto have
                                                                                       have four
                                                                                               four -- what we
                                                                                                    -- what  we call
                                                                                                                call skype
                                                                                                                     skype seats,
                                                                                                                              seats, live
                                                                                                                                      live
here in
here   in the
          the briefing
              briefing room.
                        room. This   will open
                               This will  open upup the
                                                    the briefing
                                                         briefing to
                                                                  to journalist's
                                                                      journalist's who
                                                                                    who live
                                                                                           live beyond
                                                                                                 beyond 5050 miles
                                                                                                             miles of
                                                                                                                    of the
                                                                                                                       the Washington
                                                                                                                             Washington
D.C. area
D.C.   area and   to organizations
             and to   organizations that
                                      that don't  currently have
                                            don't currently  have a     hard pass.
                                                                     a hard   pass. As As always
                                                                                           always anyany organization
                                                                                                          organization iis
                                                                                                                         iis welcome
                                                                                                                             welcome to to
apply for
apply   for a day pass.
            a day  pass. But
                           But we're
                               we're excited
                                      excited toto open
                                                   open upup into
                                                             into the
                                                                   the field
                                                                        field and
                                                                              and fold
                                                                                    fold here,
                                                                                          here, a a diverse  group of
                                                                                                     diverse group  of journalists
                                                                                                                        journalists from
                                                                                                                                    from
around the
around    the country,
              country, who
                         who may
                             may notnot have
                                        have the
                                               the convenience
                                                    convenience or     funding to
                                                                    or funding   to travel
                                                                                     travel toto Washington.
                                                                                                 Washington. II think
                                                                                                                 think this
                                                                                                                        this can
                                                                                                                             can benefit
                                                                                                                                 benefit
us all
us all by
        by giving
           giving a
                  a platform
                     platform to
                              to voices
                                  voices that
                                          that are
                                               are not
                                                    not necessarily
                                                        necessarily based
                                                                       based here
                                                                               here inin the
                                                                                         the belt
                                                                                               belt way.
                                                                                                    way.

Looking ahead,
Looking           the president
         ahead, the   president will have a
                                will have a breakfast
                                            breakfast tomorrow
                                                      tomorrow with the auto
                                                               with the auto industry,
                                                                             industry, including
                                                                                       including heads
                                                                                                 heads of
                                                                                                        of GM, Chrysler
                                                                                                           GM, Chrysler
and Ford.
and Ford. HeHe looks
                looks forward
                       forward to
                               to hearing
                                  hearing their
                                           their ideas,
                                                 ideas, on
                                                        on how
                                                           how we
                                                               we can
                                                                   can work   together to
                                                                        work together   to bring
                                                                                           bring more
                                                                                                 more jobs
                                                                                                      jobs back  to this
                                                                                                            back to this
industry in
industry in particular.
            particular.

On Wednesday
On  Wednesday the the President
                      President will
                                  will host
                                        host a
                                             a swearing
                                               swearing in in ceremony
                                                              ceremony fromfrom new
                                                                                new Secretary
                                                                                      Secretary of
                                                                                                of Homeland
                                                                                                   Homeland security,
                                                                                                                security, General
                                                                                                                          General
James Kelly
James   Kelly --
               -- John
                  John Kelly.
                        Kelly. And
                                And then
                                       then on
                                             on Friday
                                                 Friday he
                                                         he will
                                                              will do
                                                                   do the
                                                                       the same
                                                                             same for
                                                                                   for Secretary
                                                                                       Secretary Mattis
                                                                                                  Mattis atat the
                                                                                                              the Department
                                                                                                                   Department of of
Defense. On
Defense.       Thursday he
          On Thursday    he will
                              will travel
                                    travel to
                                           to Philadelphia
                                               Philadelphia toto attend
                                                                  attend the
                                                                          the Republican
                                                                               Republican House    and Senate
                                                                                           House and    Senate retreat.
                                                                                                                  retreat. And
                                                                                                                           And on
                                                                                                                                on
Friday he
Friday he will
          will welcome
                welcome his
                         his first
                              first foreign
                                    foreign head
                                             head ofof state,
                                                       state, British
                                                              British Prime
                                                                       Prime Minister,
                                                                               Minister, May. With that
                                                                                         May. With that II look
                                                                                                           look forward
                                                                                                                forward to
                                                                                                                         to taking
                                                                                                                            taking
your questions.
your questions.

Daniel Halpern,
Daniel Halpern, New York Post?
                New York Post?

QUESTION: Thank
QUESTION:       you. When
          Thank you. When will
                          will the
                               the -- when will
                                   -- when will you
                                                you guys
                                                    guys commence
                                                         commence the
                                                                  the building
                                                                      building of
                                                                               of the
                                                                                  the border
                                                                                      border wall?
                                                                                             wall?

SPICER: When
SPICER: When we
             we what?
                what?

QUESTION: When
QUESTION:   When will
                   will you  start the
                        you start  the building
                                       building of
                                                of the
                                                   the border
                                                       border wall?
                                                              wall? SPICER:
                                                                     SPICER: II think
                                                                                think that
                                                                                      that the
                                                                                           the President
                                                                                               President has
                                                                                                         has noted that
                                                                                                             noted that
this was
this was a
         a serious
           serious priority
                   priority of
                            of his
                               his throughout
                                    throughout the
                                                the campaign.
                                                     campaign. He
                                                               He has
                                                                    has already
                                                                        already started
                                                                                 started to
                                                                                         to work
                                                                                             work with
                                                                                                  with congress
                                                                                                       congress on
                                                                                                                on the
                                                                                                                    the
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                     White House
                     White House Press Secretary Sean
                                 Press Secretary Sean Spicer
                                                      Spicer holds
                                                             holds his
                                                                   his daily
                                                                       daily briefing
                                                                             briefing with
                                                                                      with reporters.
                                                                                           reporters.

Appropriations avenue
Appropriations  avenue of
                       of that.
                          that. And
                                And so
                                    so he
                                       he is
                                          is doing everything he
                                             doing everything he can
                                                                 can to
                                                                     to direct
                                                                        direct agencies
                                                                               agencies and
                                                                                        and congress
                                                                                            congress to
                                                                                                     to commence
                                                                                                        commence
with that
with that work
          work as
               as soon
                  soon as
                       as possible.
                          possible.

QUESTION: What
QUESTION: What about
               about with
                     with Obama Care, are
                          Obama Care,     you guys
                                      are you guys enforcing the mandate
                                                   enforcing the         or not?
                                                                 mandate or not?

SPICER: Enforcing
SPICER:           the mandate?
        Enforcing the mandate?

QUESTION: Yes,
QUESTION: Yes, the
               the Obama
                   Obama care Mandate? Kelly
                         care Mandate? Kelly ...
                                             ...

SPICER: II think
SPICER:    think -- look the
                 -- look the President   has made
                             President has   made itit clear
                                                       clear that  he's going
                                                              that he's        to work
                                                                        going to  work with  congress to
                                                                                        with congress to --
                                                                                                         -- and part of
                                                                                                            and part of the
                                                                                                                        the
discussion that
discussion that he's
                he's going
                      going to
                            to have
                                have tonight
                                      tonight with
                                              with some
                                                   some of of these
                                                              these leaders,
                                                                     leaders, and
                                                                               and then
                                                                                    then again with Paul
                                                                                         again with      Ryan, is
                                                                                                    Paul Ryan,  is how
                                                                                                                   how we
                                                                                                                        we
can work
can work to
         to implement
            implement the
                        the --
                            -- both the repeal
                               both the repeal and  the replace
                                               and the   replace aspects
                                                                  aspects of
                                                                           of this.
                                                                              this.

Jennifer Wishen
Jennifer Wishen (ph)?
                (ph)?

QUESTION: Of
QUESTION:         all the
              Of all  the policy,
                           policy, or
                                   or actions  that a
                                       actions that   a President  could have
                                                        President could    have taken   today, he
                                                                                 taken today,   he chose
                                                                                                    chose to
                                                                                                           to reinstate
                                                                                                              reinstate the
                                                                                                                         the
(inaudible) policy.
(inaudible) policy. What
                     What message
                            message is is sending
                                          sending here?
                                                   here? Does     he see
                                                            Does he   see the
                                                                            the elimination
                                                                                elimination reduction
                                                                                            reduction of
                                                                                                       of abortions
                                                                                                          abortions as as an
                                                                                                                          an
American value?
American   value? And
                  And also
                        also here
                             here at  home, can
                                   at home,  can full
                                                 full (ph) life American's
                                                      (ph) life American's expect
                                                                           expect him
                                                                                   him to
                                                                                       to put
                                                                                          put his
                                                                                              his signature
                                                                                                  signature that
                                                                                                            that will
                                                                                                                 will defund
                                                                                                                      defund
planned parenthood.
planned  parenthood.

SPICER: Well
SPICER:      Well II think
                      think the
                             the president,  it's no
                                 president, it's  no secret,  has made
                                                      secret, has  made himself-made
                                                                           himself-made it  it very
                                                                                               very clear that he's
                                                                                                    clear that  he's a   pro-life president.
                                                                                                                       a pro-life president.
He wants
He   wants to to stand
                   stand up   for all
                          up for  all American's
                                      American's including
                                                    including the
                                                               the unborn
                                                                    unborn and
                                                                             and II think
                                                                                    think the
                                                                                           the reinstatement
                                                                                                reinstatement of of this
                                                                                                                     this policy
                                                                                                                          policy is
                                                                                                                                  is not
                                                                                                                                     not just
                                                                                                                                         just
something that
something      that echoes
                      echoes that
                               that value
                                    value but
                                           but respects
                                                respects tax
                                                          tax payer
                                                              payer funding
                                                                       funding as
                                                                                as well.
                                                                                   well. And
                                                                                          And ensure
                                                                                                ensure that
                                                                                                        that we're
                                                                                                             we're standing
                                                                                                                      standing up,
                                                                                                                                 up, not
                                                                                                                                     not just
                                                                                                                                         just
for life,
for life, for
          for life
               life of
                     of the
                        the unborn
                            unborn but    also for
                                      but also  for tax
                                                    tax payer
                                                        payer funds
                                                                funds that
                                                                        that are
                                                                             are being
                                                                                 being spent
                                                                                         spent overseas
                                                                                                 overseas toto perform
                                                                                                               perform an an action
                                                                                                                              action that
                                                                                                                                      that is
                                                                                                                                           is
contrary to
contrary    to the
                 the values
                      values ofof this
                                  this president
                                       president .. And
                                                     And II think
                                                            think continue
                                                                   continue toto further
                                                                                 further illustrate,
                                                                                          illustrate, not
                                                                                                      not just
                                                                                                           just to
                                                                                                                to the
                                                                                                                    the folks
                                                                                                                         folks here
                                                                                                                                here in
                                                                                                                                      in this
                                                                                                                                         this
country, but
country,   but around
                  around the
                           the world
                                world what
                                       what aa value
                                               value wewe place
                                                          place onon life.
                                                                     life. Jennifer  Rodriguez (ph).
                                                                           Jennifer Rodriguez     (ph).

QUESTION: Janet
QUESTION: Janet (ph).
                (ph).

SPICER: Janet
SPICER: Janet (ph).
              (ph). I'm sorry.
                    I'm sorry.

QUESTION: Thank
QUESTION:          you. What
             Thank you.  What did
                               did Mr. (ph) Curtis
                                   Mr. (ph)         (ph) mean
                                             Curtis (ph)         when he
                                                         mean when     he said that he
                                                                          said that he would
                                                                                       would work
                                                                                             work through
                                                                                                   through Congress
                                                                                                           Congress to
                                                                                                                    to
get special
get special something
            something -- we
                         we don't
                             don't what
                                   what it
                                        it is
                                           is (inaudible)
                                              (inaudible) recipients?
                                                           recipients? And
                                                                       And when
                                                                            when can
                                                                                   can we
                                                                                       we expect  that to
                                                                                          expect that  to happen?
                                                                                                          happen? And
                                                                                                                  And
also when
also when can
           can we
               we expect  the White
                  expect the  White House    Spanish site
                                    House Spanish     site to
                                                           to be
                                                              be back
                                                                 back up?
                                                                       up?

SPICER: OK.
SPICER:    OK. Two      questions. Let
                 Two questions.            me start
                                      Let me    start with  the latter
                                                      with the  latter first.
                                                                        first. As
                                                                               As you
                                                                                   you know,
                                                                                       know, wewe hit
                                                                                                   hit the
                                                                                                       the ground    running on
                                                                                                            ground running    on day
                                                                                                                                 day one.
                                                                                                                                      one.
There was
There   was a a lot
                lot to
                    to do
                        do and
                           and we
                                we hadhad done
                                            done a a lot
                                                     lot of
                                                         of work
                                                             work on
                                                                  on the
                                                                       the website    to make
                                                                             website to  make sure    that we
                                                                                                sure that   we were
                                                                                                                were prepared
                                                                                                                        prepared to
                                                                                                                                 to get
                                                                                                                                    get as
                                                                                                                                        as
much information
much   information up  up as
                          as fast
                              fast asas possible.
                                         possible. WeWe are    continuing to
                                                          are continuing      to build
                                                                                 build out
                                                                                       out the
                                                                                            the website,
                                                                                                website, both
                                                                                                            both in
                                                                                                                  in the
                                                                                                                     the issue
                                                                                                                          issue areas
                                                                                                                                areas and
                                                                                                                                       and
then that
then that area.
           area. But
                  But we've
                        we've got
                               got the
                                     the I.T.  folks working
                                          I.T. folks working overtime       right to
                                                               overtime right     to continue
                                                                                     continue to
                                                                                               to get
                                                                                                  get all
                                                                                                       all of that up
                                                                                                           of that up to
                                                                                                                       to speed.
                                                                                                                          speed. And
                                                                                                                                 And trust
                                                                                                                                      trust
me, it's
me, it's just
         just going
              going toto take
                         take aa little
                                 little bit
                                        bit more
                                            more time,
                                                   time, but
                                                         but we're
                                                              we're working
                                                                     working piece
                                                                                 piece by
                                                                                       by piece
                                                                                           piece to
                                                                                                  to get
                                                                                                     get that
                                                                                                          that done.
                                                                                                               done.

On the
On  the DACA
          DACA piece.
                 piece. II think
                            think the
                                  the president
                                      president has
                                                 has been
                                                       been clear   that he
                                                             clear that  he was
                                                                            was going
                                                                                going to   prioritize the
                                                                                        to prioritize  the areas
                                                                                                            areas of
                                                                                                                   of dealing
                                                                                                                      dealing with
                                                                                                                               with the
                                                                                                                                     the
immigration system,
immigration    system, bothboth building
                                building the
                                         the wall
                                              wall and  making sure
                                                   and making    sure that
                                                                       that we
                                                                            we address   people who
                                                                               address people      who are
                                                                                                         are in
                                                                                                              in this
                                                                                                                 this country
                                                                                                                      country illegally.
                                                                                                                               illegally.
First and
First       foremost, the
      and foremost,      the president's
                             president's been
                                          been very,
                                                very, very
                                                       very clear.
                                                            clear. That   we need
                                                                    That we  need to
                                                                                  to direct
                                                                                      direct agencies
                                                                                             agencies to  to focus
                                                                                                             focus on
                                                                                                                    on those
                                                                                                                        those who
                                                                                                                               who are
                                                                                                                                     are
in this
in this country
         country illegally
                   illegally and
                              and have
                                   have aa record
                                            record -- a
                                                      a criminal
                                                        criminal record
                                                                   record or
                                                                           or oppose
                                                                              oppose a a threat
                                                                                          threat to
                                                                                                  to the
                                                                                                      the American
                                                                                                           American people.
                                                                                                                       people. That's
                                                                                                                                  That's
where the
where    the priorities
             priorities going
                          going to
                                to be
                                   be and
                                       and then
                                           then we're
                                                 we're going
                                                        going to
                                                               to continue  to work
                                                                  continue to        through the
                                                                               work through    the entire    number of
                                                                                                    entire number     of folks
                                                                                                                         folks that
                                                                                                                                that are
                                                                                                                                     are
here illegally.
here  illegally. But
                 But right
                       right now
                             now the
                                  the clear
                                      clear focus
                                             focus is
                                                   is on
                                                      on that.
                                                         that.

Blake Burman
Blake Burman (ph)
             (ph) Fox.
                  Fox.

QUESTION: Hey
QUESTION:            Sean, II want
               Hey Sean,             to ask
                               want to       you two
                                        ask you   two questions
                                                       questions money
                                                                 money (ph)     related. The
                                                                           (ph) related.       president campaigned
                                                                                           The president   campaigned on   on aa
corporate tax
corporate  tax cut  rate of
               cut rate  of 15  percent and
                             15 percent  and today
                                              today when
                                                     when he
                                                           he met with the
                                                              met with  the business   leaders, he
                                                                             business leaders,   he had
                                                                                                     had mentioned
                                                                                                          mentioned thatthat the
                                                                                                                             the
tax rate
tax rate would
         would drop
                drop toto somewhere
                          somewhere between
                                       between 15    to 20
                                                 15 to  20 percent.
                                                           percent. Is he moving
                                                                    Is he  moving the
                                                                                    the goalpost
                                                                                        goalpost there
                                                                                                  there in
                                                                                                         in anyway?
                                                                                                            anyway? And And my
                                                                                                                             my
second question
second   question is
                   is on
                      on government
                          government spending,
                                        spending, there
                                                   there have
                                                         have been
                                                              been reports
                                                                     reports that
                                                                              that you
                                                                                   you might
                                                                                       might be
                                                                                              be looking
                                                                                                  looking at
                                                                                                           at $10 trillion over
                                                                                                              $10 trillion over
the course
the course of
            of 10
               10 years.
                  years. Is   that accurate?
                           Is that           And would
                                   accurate? And  would you
                                                         you be willing to
                                                             be willing to wrap
                                                                           wrap up
                                                                                 up entitlements   to get
                                                                                     entitlements to  get there?
                                                                                                          there?
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                    White House
                    White House Press Secretary Sean
                                Press Secretary Sean Spicer
                                                     Spicer holds
                                                            holds his
                                                                  his daily
                                                                      daily briefing
                                                                            briefing with
                                                                                     with reporters.
                                                                                          reporters.

SPICER: Well
SPICER:    Well II think
                   think first,
                         first, well
                                well I'll take the
                                     I'll take  the other
                                                    other one first on
                                                          one first    entitlements -- or
                                                                    on entitlements     or on
                                                                                           on spending.
                                                                                               spending. Look,
                                                                                                           Look, II think
                                                                                                                    think you
                                                                                                                          you saw
                                                                                                                               saw this
                                                                                                                                    this
with the
with the hiring
          hiring freeze.
                 freeze. There's     been frankly,
                           There's been      frankly, to
                                                      to some
                                                         some degree,
                                                               degree, a   lack of
                                                                         a lack  of respect
                                                                                    respect for
                                                                                             for tax
                                                                                                  tax payer
                                                                                                      payer dollars
                                                                                                            dollars in
                                                                                                                     in this
                                                                                                                        this town
                                                                                                                             town for
                                                                                                                                   for a
                                                                                                                                       a
long time
long  time and
            and II think
                   think what
                         what the
                                the presidents      showing through
                                     presidents showing      through the
                                                                       the hiring
                                                                            hiring freeze,
                                                                                   freeze, first
                                                                                            first and  foremost today,
                                                                                                  and foremost   today, isis that
                                                                                                                             that we've
                                                                                                                                  we've
got to
got to respect
        respect the
                the American
                     American taxtax payer.
                                       payer. They're    sending us
                                                 They're sending  us a
                                                                     a ton
                                                                        ton of
                                                                            of money,
                                                                                money, they're
                                                                                        they're working
                                                                                                  working real
                                                                                                           real hard.
                                                                                                                hard.

Some people
Some  people areare working
                    working two,
                             two, three
                                  three jobs
                                         jobs just
                                              just to
                                                   to get
                                                      get by.
                                                           by. And
                                                               And to
                                                                    to see money get
                                                                       see money   get wasted
                                                                                       wasted in
                                                                                               in Washington
                                                                                                  Washington on
                                                                                                              on a
                                                                                                                 a job
                                                                                                                   job that
                                                                                                                        that is
                                                                                                                             is
duplicative is
duplicative  is insulting
                insulting to
                          to the
                              the hard
                                  hard work
                                        work that
                                               that they
                                                     they dodo to
                                                                to pay
                                                                   pay their
                                                                        their taxes.
                                                                              taxes. And
                                                                                     And II think
                                                                                            think that
                                                                                                  that that comes into
                                                                                                       that comes   into your
                                                                                                                          your
question, in
question, in overall
              overall spending
                      spending as
                                as well.
                                   well. We've
                                          We've got   to look
                                                 got to  look at  how we're
                                                               at how  we're spending  the American
                                                                             spending the  American people's  tax money.
                                                                                                     people's tax money.

And so
And   so what
         what the
               the work
                    work that
                          that the
                               the landing
                                   landing teams
                                             teams have
                                                    have been
                                                            been doing
                                                                  doing is
                                                                         is going
                                                                            going into
                                                                                  into these
                                                                                       these agencies
                                                                                              agencies and  departments and
                                                                                                        and departments    and
talking about
talking about way    that we
               way that   we can
                              can create
                                   create greater
                                           greater efficiencies,
                                                    efficiencies, eliminate  duplicity and
                                                                   eliminate duplicity and find
                                                                                           find -- maximize
                                                                                                   maximize the
                                                                                                            the tax
                                                                                                                tax dollar.
                                                                                                                    dollar. So
                                                                                                                            So
it's more
it's more a
          a question
            question instead
                       instead (ph)  of (ph)
                                (ph) of (ph) just
                                             just cutting,
                                                  cutting, it's
                                                           it's about
                                                                about how
                                                                      how do
                                                                           do we
                                                                              we spend
                                                                                  spend and
                                                                                         and respect
                                                                                              respect the
                                                                                                      the American
                                                                                                          American tax
                                                                                                                    tax payer
                                                                                                                        payer
dollar more
dollar more than
             than -- more
                     more -- more
                             more going
                                   going forward.
                                          forward.

April Ryan?
April Ryan?

QUESTION: Fifteen
QUESTION:         to 20
          Fifteen to    percent? Sorry
                     20 percent? Sorry (ph).
                                       (ph).

SPICER: Oh,
SPICER:    Oh, I'mI'm sorry.
                      sorry. Look,   the presidents
                              Look, the  presidents a     very successful
                                                       a very               businessman and
                                                                successful businessman           negotiator. He's
                                                                                            and negotiator.   He's going
                                                                                                                   going toto sit
                                                                                                                              sit down
                                                                                                                                  down
and work
and   work with
           with Congress
                    Congress to to get the best
                                   get the best deal     possible for
                                                  deal possible    for American
                                                                       American businesses
                                                                                  businesses so so that
                                                                                                   that they
                                                                                                        they can   hire more
                                                                                                               can hire  more people
                                                                                                                                people
and we
and    we expend
          expend -- and and we     can grow
                               we can          the economy.
                                        grow the     economy. So  So he's
                                                                       he's going   to work
                                                                             going to  work with
                                                                                              with Congress
                                                                                                    Congress on     that rate
                                                                                                                on that   rate but
                                                                                                                                but he
                                                                                                                                     he
understand better
understand   better than
                       than anybody
                              anybody how
                                        how to
                                             to negotiate
                                                  negotiate a a great
                                                                great deal.  And right
                                                                       deal. And  right now
                                                                                        now he's
                                                                                             he's going
                                                                                                  going toto negotiate
                                                                                                             negotiate the
                                                                                                                        the best
                                                                                                                             best deal
                                                                                                                                   deal
on behalf
on  behalf of
           of the
               the American
                     American worker
                                  worker and  on behalf
                                         and on    behalf ofof the
                                                               the American
                                                                   American businesses
                                                                               businesses that
                                                                                            that are
                                                                                                 are hiring
                                                                                                     hiring them.
                                                                                                             them. That   was a
                                                                                                                   That was     a lot
                                                                                                                                  lot of
                                                                                                                                      of
the focus
the  focus that    went on
           that went     on today,
                             today, talking
                                    talking to
                                            to these
                                                these companies.
                                                        companies. AndAnd it
                                                                           it was
                                                                              was interesting,
                                                                                   interesting, the
                                                                                                the meeting
                                                                                                    meeting waswas only
                                                                                                                   only supposed
                                                                                                                         supposed to  to
last an
last  an hour,
         hour, it
                it overflowed
                    overflowed another    hour in
                                 another hour    in the
                                                    the Oval
                                                         Oval Office   and he
                                                               Office and  he kept
                                                                               kept asking
                                                                                     asking them
                                                                                            them what
                                                                                                  what ideas
                                                                                                         ideas do
                                                                                                                do you
                                                                                                                   you have
                                                                                                                        have toto grow
                                                                                                                                  grow
this economy?
this  economy? What What is
                          is preventing
                             preventing you
                                         you from
                                              from hiring
                                                      hiring people?
                                                             people?

SPICER: What
SPICER:   What regulations
                  regulations are
                                are stopping
                                    stopping you
                                              you from
                                                   from conducting    more business?
                                                        conducting more     business? What
                                                                                         What are
                                                                                               are the
                                                                                                    the ways
                                                                                                        ways that
                                                                                                              that we
                                                                                                                    we can
                                                                                                                        can give
                                                                                                                            give
you more
you more market
           market access
                    access into
                             into other
                                  other countries
                                        countries around  the globe?
                                                  around the    globe? And
                                                                       And II think
                                                                               think that's
                                                                                     that's what
                                                                                            what his
                                                                                                 his focus
                                                                                                     focus is
                                                                                                           is going
                                                                                                              going to
                                                                                                                     to continue
                                                                                                                        continue
to be,
to be, is
       is how
          how do
               do we     create a
                    we create    a tax
                                   tax and
                                       and regulatory
                                            regulatory environment    that grows
                                                       environment that    grows thethe economy
                                                                                         economy and
                                                                                                   and benefits
                                                                                                        benefits the
                                                                                                                  the American
                                                                                                                       American
working? So
working?     it's not
          So it's  not just
                       just about  creating more
                            about creating  more jobs
                                                  jobs but
                                                       but it's
                                                           it's also
                                                                also about
                                                                     about lifting
                                                                           lifting up
                                                                                   up those
                                                                                       those job
                                                                                             job through
                                                                                                 through higher
                                                                                                          higher wages.
                                                                                                                 wages.

April Ryan?
April Ryan?

QUESTION: Sean,
QUESTION: Sean, II have
                   have a
                        a couple
                          couple of
                                 of questions
                                    questions if
                                              if you'll
                                                 you'll allow me to
                                                        allow me to take
                                                                    take them
                                                                         them one
                                                                              one at
                                                                                  at a
                                                                                     a time.
                                                                                       time.

SPICER: II will.
SPICER:    will.

QUESTION: Elijah
QUESTION:    Elijah Cummings,
                    Cummings, Maryland      congressman --
                                 Maryland congressman    -- Democratic
                                                             Democratic Maryland
                                                                           Maryland congressman,
                                                                                      congressman, confirmed
                                                                                                   confirmed that
                                                                                                             that
President Donald
President Donald Trump
                  Trump talked to him
                        talked to him at
                                      at the
                                         the luncheon
                                             luncheon about the high
                                                      about the high price
                                                                     price of
                                                                           of prescription
                                                                              prescription drugs.
                                                                                           drugs.

When is
When  is this
         this meaning
              meaning and
                      and -- going to
                          -- going to be
                                      be set or is
                                         set or is it
                                                   it coming
                                                      coming up
                                                              up soon?
                                                                 soon? And
                                                                       And will
                                                                           will the
                                                                                the president
                                                                                    president be
                                                                                               be meeting
                                                                                                  meeting with
                                                                                                          with the
                                                                                                               the full
                                                                                                                   full
body of
body of the
        the Congressional Black Caucus
            Congressional Black  Caucus as
                                         as well
                                             well as
                                                  as the
                                                      the Hispanic
                                                          Hispanic Caucus on issues
                                                                   Caucus on issues related
                                                                                     related to
                                                                                             to those
                                                                                                those communities?
                                                                                                      communities?

SPICER: OK.
SPICER:     Let's take
        OK. Let's take them
                       them one
                            one at
                                at a
                                   a time.
                                     time.

II am
   am not
      not --
          -- I'm not aware
             I'm not aware of  that conversation.
                            of that conversation. I'm   sure you've
                                                   I'm sure  you've heard
                                                                    heard the
                                                                          the president
                                                                              president the
                                                                                        the last
                                                                                            last few
                                                                                                 few weeks talk about
                                                                                                     weeks talk about the
                                                                                                                      the
price of
price  of pharmaceutical
          pharmaceutical drugs,
                            drugs, and    the need
                                     and the  need to to get
                                                         get those
                                                              those prices
                                                                    prices down
                                                                            down and
                                                                                  and bring
                                                                                       bring manufacturing
                                                                                              manufacturing back
                                                                                                             back in
                                                                                                                   in the
                                                                                                                      the
pharmaceutical industry
pharmaceutical    industry to
                           to benefit
                              benefit the
                                      the country.
                                          country.

So it's
So it's an
         an issue
            issue that's
                   that's gonna
                          gonna --
                                -- he's
                                   he's gonna
                                         gonna continue
                                                continue to
                                                          to work
                                                              work on.
                                                                    on. He  understands as
                                                                        He understands    as we
                                                                                              we reform
                                                                                                  reform health
                                                                                                         health care,
                                                                                                                care, as
                                                                                                                       as we
                                                                                                                           we
repeal and
repeal   and replace
              replace Obamacare,    that getting
                       Obamacare, that   getting a
                                                 a hold
                                                   hold of
                                                        of the
                                                            the cost
                                                                cost of
                                                                     of prescription
                                                                        prescription drugs,
                                                                                     drugs, to
                                                                                             to give
                                                                                                give more
                                                                                                     more people
                                                                                                           people access
                                                                                                                  access to to
them, but
them,   but also
            also to
                 to allow
                    allow greater
                          greater access
                                  access in
                                          in health
                                             health care
                                                    care --  greater plans
                                                         -- greater  plans in
                                                                           in health
                                                                              health care,
                                                                                     care, that's
                                                                                           that's going
                                                                                                  going to
                                                                                                        to be
                                                                                                           be key
                                                                                                              key part
                                                                                                                  part of
                                                                                                                       of it.
                                                                                                                          it.

So, he's
So, he's gonna
         gonna --
               -- II mean,
                     mean, that's
                           that's gonna happen.
                                  gonna happen.
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                   White House
                   White House Press Secretary Sean
                               Press Secretary Sean Spicer
                                                    Spicer holds
                                                           holds his
                                                                 his daily
                                                                     daily briefing
                                                                           briefing with
                                                                                    with reporters.
                                                                                         reporters.

II think,
   think, look,
          look, you're
                you're seeing
                       seeing with
                              with respect
                                   respect to
                                           to the
                                              the other
                                                   other meetings,
                                                         meetings, it's
                                                                   it's day one --
                                                                        day one -- working
                                                                                   working day one here.
                                                                                           day one here. He's gonna start
                                                                                                         He's gonna start
with the
with   the leadership.
           leadership. He's
                        He's gonna  have a
                             gonna have  a great  conversation with
                                           great conversation  with them.
                                                                     them.

But then
But then II think
            think you're
                   you're gonna
                          gonna see a variety
                                see a variety of
                                              of meetings:
                                                 meetings: the
                                                           the Congressional
                                                               Congressional Black
                                                                             Black Caucus, the Hispanic
                                                                                   Caucus, the Hispanic Caucus,
                                                                                                        Caucus,
small groups
small groups ofof leaders
                  leaders (ph).
                          (ph).

He is
He is --
      -- you know, he's
         you know,    he's someone
                           someone who
                                     who really
                                          really enjoys that kind
                                                 enjoys that kind of conversation. II think
                                                                  of conversation.    think you're
                                                                                            you're gonna
                                                                                                   gonna see
                                                                                                         see a
                                                                                                             a lot
                                                                                                               lot of
                                                                                                                   of
meetings occur
meetings  occur like
                like the
                     the ones
                         ones that
                              that you
                                   you did
                                       did today,
                                           today, the
                                                  the business
                                                      business leaders
                                                               leaders coming
                                                                       coming in,
                                                                               in, these
                                                                                   these union
                                                                                          union workers.
                                                                                                workers.

And it's
And  it's interesting,
          interesting, II --
                          -- we
                             we --
                                -- the
                                   the president
                                       president was
                                                 was asking  these folks
                                                      asking these folks today, "How many
                                                                         today, "How  many of
                                                                                            of you have been
                                                                                               you have  been here
                                                                                                              here (ph) in
                                                                                                                   (ph) in
the Oval
the         Office?" Three
    Oval Office?"     Three ofof them
                                 them raised
                                       raised their
                                              their hands.
                                                    hands. We
                                                           We talked
                                                               talked to
                                                                      to some
                                                                         some ofof these
                                                                                   these union
                                                                                         union leaders,
                                                                                               leaders, and
                                                                                                        and we
                                                                                                            we hear,
                                                                                                               hear, "We
                                                                                                                     "We
didn't get
didn't get aa lot
              lot of
                  of attention."
                     attention."

And here
And here we
          we are
              are in
                   in working
                      working day
                                day one, and you've
                                    one, and you've got
                                                    got the
                                                          the president
                                                              president reaching
                                                                        reaching out
                                                                                 out to
                                                                                     to some
                                                                                        some of
                                                                                              of America's
                                                                                                 America's best
                                                                                                           best business
                                                                                                                 business
leaders and
leaders and then
             then some
                    some ofof the
                              the union
                                  union workers
                                        workers and
                                                 and line
                                                     line workers,
                                                           workers, and
                                                                    and bringing
                                                                         bringing them
                                                                                  them in
                                                                                        in and
                                                                                           and saying, "I want
                                                                                               saying, "I want to
                                                                                                               to listen
                                                                                                                  listen to
                                                                                                                         to
what's going
what's        on in
       going on  in your
                     your life.
                          life. What
                                What can
                                     can we
                                         we be  doing to
                                             be doing  to help
                                                          help you?"
                                                               you?"

And II think
And    think that
              that you're  gonna to
                   you're gonna   to see
                                     see a a lot
                                             lot more
                                                 more of
                                                       of that,
                                                           that, a
                                                                 a listening
                                                                   listening president
                                                                             president who's
                                                                                       who's engaged
                                                                                              engaged in in trying
                                                                                                            trying to
                                                                                                                   to figure
                                                                                                                      figure out
                                                                                                                             out
what policies
what  policies and
                and actions  that he
                    actions that  he can   take, that
                                     can take,   that this
                                                      this government
                                                            government cancan take,
                                                                              take, that
                                                                                    that he
                                                                                         he can
                                                                                            can work
                                                                                                work with
                                                                                                      with Congress
                                                                                                            Congress to to make
                                                                                                                           make
people's lives
people's  lives better,
                better, to
                        to make
                           make their
                                 their -- their security
                                       -- their security better,
                                                         better, to
                                                                 to make
                                                                     make their
                                                                           their economic
                                                                                 economic security  better.
                                                                                           security better.

But you're
But you're gonna
           gonna see
                  see a
                      a lot
                         lot of
                             of that.
                                that. That's
                                      That's who
                                             who he
                                                 he is.
                                                    is. That's
                                                        That's what he did
                                                               what he did during
                                                                           during the
                                                                                  the transition.
                                                                                      transition. And
                                                                                                  And II think
                                                                                                         think that's
                                                                                                               that's he's
                                                                                                                      he's
gonna do
gonna do going
          going forward.
                forward.

He appreciates
He   appreciates the
                 the ideas
                      ideas and
                            and opinions
                                 opinions that
                                           that come
                                                come --
                                                      -- that
                                                         that come
                                                              come through
                                                                    through thethe Oval
                                                                                   Oval Office  or small
                                                                                        Office or  small groups,
                                                                                                         groups, where
                                                                                                                  where he
                                                                                                                         he
gets to
gets  to share
         share their
               their prospective
                     prospective and
                                 and their
                                      their ideas
                                            ideas and
                                                  and their
                                                      their opinions.
                                                            opinions. II think
                                                                         think that's
                                                                               that's what
                                                                                      what he's
                                                                                           he's gonna
                                                                                                gonna continue
                                                                                                       continue to
                                                                                                                 to do
                                                                                                                    do later
                                                                                                                       later
this afternoon.
this afternoon.

(CROSSTALK)
(CROSSTALK)

SPICER: I'm
SPICER: I'm sorry, April?
            sorry, April?

QUESTION: I'm
QUESTION:     sorry.
          I'm sorry.

II want
   want to
        to go  back to
           go back  to what   the gentleman
                       what the             said about
                                  gentleman said about the
                                                       the mandate
                                                           mandate -- the (inaudible).
                                                                   -- the (inaudible). He said something
                                                                                       He said something about
                                                                                                         about the
                                                                                                               the
Obamacare (inaudible)
Obamacare     (inaudible) in
                          in the
                             the mandate.
                                 mandate.

With the
With  the numbers
          numbers that
                   that we  talked about
                        we talked   about and  the new
                                          and the  new news
                                                        news (ph)    from the
                                                              (ph) from    the Inauguration Day and
                                                                               Inauguration Day  and the
                                                                                                     the numbers
                                                                                                          numbers (ph)
                                                                                                                   (ph)
Saturday, do
Saturday,  do you
              you believe
                  believe that
                          that you
                               you have
                                    have a mandate to
                                         a mandate   to be
                                                        be able
                                                           able to
                                                                to force
                                                                    force through
                                                                          through what
                                                                                   what you
                                                                                        you had
                                                                                            had talked
                                                                                                talked about,
                                                                                                       about, replacing
                                                                                                              replacing
portions of
portions of Obamacare,
            Obamacare, that
                        that really
                             really subsidized
                                    subsidized a  whole piece
                                                a whole piece of
                                                              of it
                                                                 it to
                                                                    to help
                                                                       help low-income
                                                                            low-income people
                                                                                        people get
                                                                                               get health
                                                                                                   health care?
                                                                                                          care?

SPICER: Well,
SPICER:  Well, II think
                  think what we have
                        what we have is
                                     is a -- is
                                        a -- is a
                                                a mandate
                                                  mandate to
                                                          to make
                                                             make health
                                                                  health care more accessible
                                                                         care more accessible and lower costs.
                                                                                              and lower costs.
That's what
That's what the American people
            the American  people were
                                 were promised   under Obamacare.
                                      promised under   Obamacare.

And II think
And    think it's
              it's not
                   not a question about
                       a question  about aa mandate
                                            mandate and
                                                     and it's
                                                         it's also not about
                                                              also not about forcing
                                                                             forcing anything,
                                                                                      anything, it's
                                                                                                it's about
                                                                                                     about what's
                                                                                                            what's doing
                                                                                                                   doing the
                                                                                                                          the
right thing.
right thing. It's
             It's about  providing people
                   about providing people what  they've been
                                           what they've been promised.
                                                               promised. Which
                                                                         Which is,
                                                                                 is, you
                                                                                     you -- you go
                                                                                         -- you go around   this country
                                                                                                    around this  country and
                                                                                                                         and
you look
you  look market
          market after    market, they're
                    after market, they're down
                                          down to
                                               to one plan. That's
                                                  one plan.         not what
                                                             That's not      the American
                                                                        what the  American people
                                                                                             people were
                                                                                                     were promised.
                                                                                                           promised.

Not only
Not only that,
         that, but
               but in
                   in many    cases you're
                      many cases    you're seeing
                                           seeing these
                                                   these --
                                                         -- the
                                                            the rates
                                                                rates go
                                                                      go up
                                                                         up 10,
                                                                            10, 15, 20, 30,
                                                                                15, 20,      50 percent.
                                                                                         30, 50 percent. That's   not what
                                                                                                           That's not what
they were
they  were promised
            promised either.    And so
                        either. And  so what
                                        what II think
                                                think the
                                                      the president's
                                                           president's doing
                                                                       doing --
                                                                             -- and  it's not
                                                                                and it's  not just
                                                                                              just --
                                                                                                   -- II think
                                                                                                         think he's
                                                                                                               he's gotten
                                                                                                                    gotten
bipartisan support
bipartisan          for this.
           support for  this.

To work
To work with
          with Congress
               Congress and
                        and toto take
                                 take executive
                                        executive action
                                                  action where  necessary, to
                                                          where necessary,  to implement
                                                                               implement a   healthcare system
                                                                                          a healthcare            that
                                                                                                         system that
provides more
provides  more people
               people heathcare,
                      heathcare, truly
                                   truly allows
                                         allows them
                                                them to
                                                      to keep
                                                         keep the
                                                              the doctor
                                                                  doctor and plan that
                                                                         and plan that they're
                                                                                       they're signing
                                                                                               signing up
                                                                                                       up for,
                                                                                                          for, lowers
                                                                                                               lowers
cost, creates
cost, creates more
              more competition.
                   competition.
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                    White House
                    White House Press Secretary Sean
                                Press Secretary Sean Spicer
                                                     Spicer holds
                                                            holds his
                                                                  his daily
                                                                      daily briefing
                                                                            briefing with
                                                                                     with reporters.
                                                                                          reporters.

So, do
So, do II think
          think he
                he has
                   has a a mandate?
                           mandate? Sure.
                                    Sure. But
                                          But it's
                                               it's not
                                                    not just
                                                         just -- it's not
                                                              -- it's not about
                                                                          about --
                                                                                -- it's
                                                                                   it's not
                                                                                        not on
                                                                                            on this
                                                                                               this issue,
                                                                                                    issue, II think
                                                                                                              think that
                                                                                                                    that all leaders
                                                                                                                         all leaders
have a
have    mandate for
     a mandate     for the
                       the American
                           American people,
                                    people, to
                                            to fix
                                                fix this
                                                    this system
                                                          system andand make
                                                                         make it
                                                                              it better.
                                                                                 better.

Julie Pace
Julie Pace (ph)?
           (ph)?

QUESTION: Thank
QUESTION:       you Sean.
          Thank you Sean.

I've got two
I've got two foreign
             foreign policy
                      policy topics
                             topics II want
                                       want to
                                            to get to. There's
                                               get to.          some discrepancy
                                                       There's some   discrepancy between
                                                                                  between what goes up
                                                                                          what goes up (inaudible) and
                                                                                                       (inaudible) and
what the
what  the Pentagon
          Pentagon isis saying
                        saying in
                               in terms
                                  terms of
                                         of some
                                            some potential
                                                   potential (inaudible)
                                                             (inaudible) action.
                                                                         action.

Can you
Can     clarify that?
    you clarify that? And
                      And generally, is the
                          generally, is the president
                                            president open
                                                      open to
                                                           to joint
                                                              joint action
                                                                    action in
                                                                           in Syria
                                                                              Syria with
                                                                                    with the
                                                                                         the Russians?
                                                                                             Russians?

SPICER: (inaudible)
SPICER:    (inaudible) II know  it's still
                          know it's  still developing
                                           developing and
                                                       and II would
                                                              would refer
                                                                      refer you back to
                                                                            you back   to the
                                                                                          the Department
                                                                                              Department of  of Defense.
                                                                                                                Defense. II know
                                                                                                                            know
that they're
that they're --
             -- they're
                they're currently
                        currently monitoring    this and
                                   monitoring this   and II would refer you
                                                            would refer you back
                                                                             back to
                                                                                  to them
                                                                                     them onon that.
                                                                                               that. And
                                                                                                     And II think...
                                                                                                            think...

QUESTION: Generally
QUESTION:           open?
          Generally open?

SPICER: II think,
SPICER:    think, the
                  the president  has been
                      president has        very clearly.
                                     been very  clearly. He's  gonna work
                                                          He's gonna  work with
                                                                           with any
                                                                                any country   that shares
                                                                                     country that  shares our
                                                                                                          our interest
                                                                                                              interest in
                                                                                                                       in
defeating ISIS.
defeating       Not just
          ISIS. Not  just on
                          on the
                             the national
                                 national security
                                          security front,
                                                   front, but
                                                          but on
                                                              on the
                                                                 the economic   front. If
                                                                     economic front.      we can
                                                                                       If we can work
                                                                                                  work with
                                                                                                       with someone
                                                                                                            someone to to
create greater
create greater market
               market access
                       access and  spur economic
                               and spur             growth and
                                        economic growth         allow U.S.
                                                            and allow      small businesses
                                                                      U.S. small  businesses and
                                                                                               and companies
                                                                                                   companies to...
                                                                                                              to...

QUESTION: (inaudible)
QUESTION:             doing joint
          (inaudible) doing joint military
                                  military actions with Russia
                                           actions with Russia in
                                                               in Syria.
                                                                  Syria.

SPICER: II --
SPICER:    -- II think
                 think if
                       if there's
                          there's a
                                  a way   that we
                                     way that  we can
                                                   can combat
                                                        combat ISIS
                                                                  ISIS with
                                                                       with any
                                                                            any country,
                                                                                country, whether it's Russia
                                                                                         whether it's Russia or
                                                                                                             or anyone
                                                                                                                anyone else,
                                                                                                                       else,
and we
and we have
       have a     shared national
              a shared     national interest
                                    interest in
                                             in that,
                                                that, sure
                                                      sure we'll
                                                           we'll take
                                                                 take it.
                                                                      it.

QUESTION: And
QUESTION:     And then
                   then the
                        the second  thing is
                            second thing  is (inaudible)
                                             (inaudible) the
                                                         the CIA,
                                                              CIA, on Saturday he
                                                                   on Saturday   he was
                                                                                    was talking about the
                                                                                        talking about the U.S.
                                                                                                          U.S. not
                                                                                                               not taking
                                                                                                                   taking
oil during
oil during the
           the Iraq
               Iraq war.
                    war. And
                         And said
                              said that
                                   that there
                                        there could
                                                could be
                                                      be in
                                                          in another
                                                             another pinch
                                                                      pinch for
                                                                            for that.
                                                                                that. What
                                                                                      What does
                                                                                           does he
                                                                                                 he mean
                                                                                                    mean when
                                                                                                           when he
                                                                                                                 he said
                                                                                                                     said
that?
that?

SPICER: Well,
SPICER:   Well, II think
                   think what  the president
                         what the             seemed very
                                   president seemed       very clear  about in
                                                                clear about  in foreign
                                                                                foreign policy
                                                                                         policy is
                                                                                                 is too
                                                                                                    too often
                                                                                                          often the
                                                                                                                the United
                                                                                                                     United States is
                                                                                                                            States is
going in
going in with
         with a
              a lot
                lot of
                     of money,
                        money, a  lot of
                                a lot of man
                                         man power,
                                              power, and     in many
                                                        and in  many cases,
                                                                        cases, losing
                                                                               losing both,
                                                                                       both, loss
                                                                                              loss of
                                                                                                    of life
                                                                                                       life -- and we
                                                                                                            -- and  we want
                                                                                                                       want to
                                                                                                                            to make
                                                                                                                               make
sure that
sure that our
          our interests
              interests are   protected. And
                         are protected.   And so
                                               so if
                                                   if we're
                                                      we're going
                                                             going in
                                                                    in to
                                                                       to a country for
                                                                          a country  for a
                                                                                         a cause,
                                                                                           cause, II think
                                                                                                      think that
                                                                                                              that he
                                                                                                                   he wants
                                                                                                                      wants to
                                                                                                                            to make
                                                                                                                               make
sure that
sure that America's
          America's getting
                       getting something
                               something out
                                           out of
                                               of it
                                                  it for
                                                     for the
                                                         the commitment
                                                             commitment and and the
                                                                                 the sacrifice
                                                                                      sacrifice that
                                                                                                that we're
                                                                                                      we're making.
                                                                                                               making.

QUESTION: (Inaudible)
QUESTION: (Inaudible)

(OFF-MIKE)
(OFF-MIKE)

SPICER: No,
SPICER:   No, II think
                 think that
                       that he's
                            he's been
                                 been very
                                      very clear throughout the
                                           clear throughout the campaign
                                                                campaign that
                                                                            that he
                                                                                 he is
                                                                                    is committed
                                                                                       committed toto making  sure that
                                                                                                      making sure  that the
                                                                                                                         the
American people,
American   people, the
                     the American
                          American tax
                                    tax payer,
                                        payer, see
                                               see some
                                                    some benefit,
                                                          benefit, and
                                                                   and ensure
                                                                        ensure that
                                                                                 that our
                                                                                      our interests
                                                                                          interests overseas
                                                                                                     overseas are
                                                                                                               are not
                                                                                                                   not just
                                                                                                                        just
(inaudible) sending
(inaudible) sending blank
                       blank checks.
                             checks. That  we're doing
                                      That we're        something that
                                                  doing something   that either protects America
                                                                         either protects  America oror is
                                                                                                       is in
                                                                                                          in our
                                                                                                             our economic
                                                                                                                 economic
interest.
interest.

QUESTION: (Inaudible)
QUESTION: (Inaudible)

SPICER: John
SPICER: John Roberts
             Roberts (ph).
                     (ph).

QUESTION: A
QUESTION:     A couple
                 couple things
                          things if
                                 if II could.  Later this
                                       could. Later  this week,
                                                          week, in
                                                                in his
                                                                   his executive  actions, does
                                                                       executive actions,  does the
                                                                                                 the president
                                                                                                      president plan
                                                                                                                 plan to
                                                                                                                       to take
                                                                                                                          take
action to
action to green
          green light
                 light the
                       the Keystone
                           Keystone XL XL and
                                           and Dakota    Access Pipelines?
                                                Dakota Access   Pipelines? And
                                                                            And on
                                                                                on TPP,
                                                                                    TPP, Joe
                                                                                          Joe McCain    says it
                                                                                              McCain says    it was
                                                                                                                was a
                                                                                                                    a serious
                                                                                                                      serious
mistake to
mistake  to do
            do what
               what the
                      the president
                           president did
                                       did for
                                           for America's
                                               America's economy
                                                          economy and
                                                                    and for
                                                                        for our
                                                                            our strategic position in
                                                                                strategic position in the
                                                                                                      the Asia-
                                                                                                          Asia- Pacific.
                                                                                                                 Pacific. Why
                                                                                                                          Why
was TPP
was       the right
     TPP the  right thing
                    thing to
                           to do?
                              do?

(CROSSTALK)
(CROSSTALK)

QUESTION: --
QUESTION: -- the
             the right
                 right thing
                       thing to
                             to do,
                                do, to
                                    to repeal
                                       repeal TPP?
                                              TPP?
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                     White House
                     White House Press Secretary Sean
                                 Press Secretary Sean Spicer
                                                      Spicer holds
                                                             holds his
                                                                   his daily
                                                                       daily briefing
                                                                             briefing with
                                                                                      with reporters.
                                                                                           reporters.

SPICER: Oh,
SPICER:    Oh, II think
                  think II said it, because
                           said it, because II think
                                               think the
                                                      the multi
                                                          multi --
                                                                -- when
                                                                   when you
                                                                         you enter into these
                                                                             enter into these multinational
                                                                                               multinational agreements,    you're
                                                                                                              agreements, you're
allowing any
allowing  any country,
               country, no no matter
                              matter the
                                       the size
                                           size --
                                                 -- any
                                                    any one
                                                        one of
                                                             of those
                                                                those 12,  including us,
                                                                       12, including us, to
                                                                                          to basically
                                                                                             basically have
                                                                                                        have the
                                                                                                             the same
                                                                                                                 same stature
                                                                                                                        stature as
                                                                                                                                as
the United
the          States in
    United States     in the
                          the agreement.
                               agreement. So So we're
                                                  we're basically
                                                         basically on
                                                                    on par
                                                                       par with
                                                                            with some
                                                                                 some very
                                                                                        very small
                                                                                              small companies
                                                                                                     companies whowho are
                                                                                                                      are getting
                                                                                                                           getting
access to
access   to an
             an amazing
                   amazing market,
                               market, the
                                         the United
                                              United States.
                                                        States. And
                                                                  And in
                                                                       in return,
                                                                          return, we're
                                                                                   we're negotiating
                                                                                           negotiating atat the
                                                                                                            the lowest
                                                                                                                 lowest common
                                                                                                                         common
denominator. And
denominator.    And II think
                        think that
                              that when
                                     when you
                                          you look
                                               look at  big multinational
                                                     at big               agreements --
                                                            multinational agreements    -- multilateral agreements --
                                                                                           multilateral agreements  -- they're
                                                                                                                       they're not
                                                                                                                               not
always in
always  in the
           the best
               best interest
                      interest of
                                of the
                                    the United
                                        United States.
                                                States.

The beautiful
The  beautiful thing
               thing about
                     about a a bilateral
                               bilateral agreement
                                         agreement is is that
                                                         that if
                                                              if any
                                                                 any one
                                                                      one of of the
                                                                                the true
                                                                                    true parties
                                                                                          parties in
                                                                                                  in the
                                                                                                     the agreement  decides at
                                                                                                         agreement decides   at any
                                                                                                                                any
time they
time  they want
           want to
                 to get
                    get out
                        out of
                            of the
                               the agreement,
                                    agreement, oror they're  not being
                                                    they're not            treated fairly,
                                                                  being treated     fairly, they
                                                                                            they can
                                                                                                 can renegotiate
                                                                                                      renegotiate much
                                                                                                                  much easier.
                                                                                                                        easier. In
                                                                                                                                In a
                                                                                                                                   a
multinational agreement,
multinational               that's not
              agreement, that's     not the
                                        the case.
                                             case. In  many cases,
                                                   In many    cases, all    of the
                                                                        all of the other
                                                                                    other countries
                                                                                           countries have
                                                                                                      have to
                                                                                                           to agree to an
                                                                                                              agree to    action or
                                                                                                                       an action  or
to let
to let somebody
       somebody out.
                   out. That's not putting
                        That's not  putting the
                                            the U.S.
                                                U.S. interest's
                                                      interest's first.
                                                                  first.

QUESTION: (Inaudible)
QUESTION: (Inaudible) -- question about
                      -- question about Keystone and the
                                        Keystone and the Dakota
                                                         Dakota Access?
                                                                Access?

SPICER: I'm
SPICER:  I'm not
             not gonna
                  gonna getget in
                               in front
                                   front of  the president's
                                         of the   president's executive
                                                               executive actions,
                                                                          actions, but
                                                                                    but II will tell you
                                                                                           will tell you that
                                                                                                         that areas
                                                                                                               areas like
                                                                                                                       like Dakota   and
                                                                                                                             Dakota and
the Keystone
the Keystone Pipeline,    areas that
               Pipeline, areas    that we
                                        we can     increase jobs,
                                            can increase     jobs, increase
                                                                   increase economic       growth, and
                                                                             economic growth,        and tap
                                                                                                          tap into
                                                                                                               into America's
                                                                                                                     America's energy
                                                                                                                                  energy
supply more,
supply more, that's
               that's something
                       something that that he
                                            he has
                                                 has been
                                                       been very
                                                              very clear
                                                                    clear about.
                                                                          about. II think
                                                                                    think he he talked
                                                                                                 talked about
                                                                                                          about it,
                                                                                                                  it, not
                                                                                                                      not only
                                                                                                                            only on
                                                                                                                                  on the
                                                                                                                                      the
campaign, but
campaign,  but around
                around the
                         the Thanksgiving       period. He
                              Thanksgiving period.       He was
                                                              was talking
                                                                   talking about
                                                                           about that
                                                                                  that being
                                                                                       being a   a big
                                                                                                    big priority.
                                                                                                        priority. That's   one of
                                                                                                                  That's one    of those
                                                                                                                                   those
ones where
ones where II think
              think that
                     that the
                          the energy     sector and
                              energy sector       and our  natural resources
                                                       our natural  resources are
                                                                                are an
                                                                                    an area     where II think
                                                                                       area where        think the
                                                                                                                the president
                                                                                                                     president isis very,
                                                                                                                                    very,
very keen
very keen on
           on making
                making sure
                          sure that
                                 that wewe maximize
                                            maximize our our use
                                                               use of
                                                                    of natural
                                                                        natural resources
                                                                                resources to  to America's
                                                                                                  America's benefit.
                                                                                                                benefit. It's   good for
                                                                                                                           It's good   for
economic growth,
economic  growth, it's
                   it's good  for jobs,
                        good for   jobs, and   it's good
                                          and it's   good for
                                                          for American
                                                              American energy.
                                                                         energy.

Jonathan Carl
Jonathan Carl (ph).
              (ph).

QUESTION: Thanks
QUESTION:        for being
          Thanks for       here at
                     being here at (inaudible), it's great
                                   (inaudible), it's great to
                                                           to see
                                                              see you.
                                                                  you.

SPICER: Thank
SPICER:       you.
        Thank you.

QUESTION: Before
QUESTION: Before II get
                    get to
                        to a
                           a policy
                             policy question,
                                    question, just
                                              just a question about
                                                   a question       the nature
                                                              about the nature of
                                                                               of your
                                                                                  your job.
                                                                                       job.

SPICER: Yeah.
SPICER: Yeah.

QUESTION: Is
QUESTION:       it your
            Is it  your intention
                         intention to
                                   to always
                                      always tell
                                             tell the
                                                  the truth
                                                      truth from
                                                            from that
                                                                 that podium,
                                                                      podium, and will you
                                                                              and will     pledge never
                                                                                       you pledge never to
                                                                                                        to knowingly
                                                                                                           knowingly
something that
something that is
               is not
                   not factual?
                       factual?

SPICER: It
SPICER:        is. It's
            It is. It's an   honor to
                         an honor   to do
                                       do this,
                                          this, and    yes. II believe
                                                and yes.       believe that
                                                                        that we
                                                                             we have
                                                                                 have toto be  honest with
                                                                                           be honest          the American
                                                                                                       with the    American people.
                                                                                                                                people. II think
                                                                                                                                           think
sometimes we
sometimes       we can      disagree with
                     can disagree      with the
                                             the facts.
                                                  facts. There     are certain
                                                           There are             things that
                                                                        certain things    that we   may not
                                                                                               we may     not fully
                                                                                                                fully understand
                                                                                                                      understand whenwhen we we
come out.
come    out. But
              But our
                    our intention's
                          intention's never
                                      never toto lie
                                                 lie to
                                                      to you,
                                                         you, Jonathan.
                                                               Jonathan. Our     job is
                                                                            Our job  is to
                                                                                         to make
                                                                                            make sure
                                                                                                   sure that
                                                                                                         that sometimes
                                                                                                               sometimes --   -- and  you're in
                                                                                                                                 and you're   in
the same
the  same boat
             boat ---- there
                        there are  times when
                               are times  when youyou guys
                                                        guys tweet
                                                               tweet something
                                                                      something outout oror write
                                                                                            write a
                                                                                                  a story,
                                                                                                    story, and    you publish
                                                                                                            and you    publish a    correction.
                                                                                                                                  a correction.
That doesn't
That   doesn't mean
                 mean that that you
                                you were
                                     were trying
                                           trying to
                                                   to deceive
                                                       deceive readers
                                                                 readers and
                                                                           and the
                                                                                the American
                                                                                    American people,
                                                                                                 people, does
                                                                                                           does it?
                                                                                                                  it? And
                                                                                                                      And II think
                                                                                                                             think we
                                                                                                                                    we should
                                                                                                                                         should
be afforded
be  afforded thethe same
                     same opportunity.
                              opportunity. There
                                            There areare times
                                                          times when
                                                                 when we we believe
                                                                             believe something
                                                                                      something to to be
                                                                                                      be true,
                                                                                                          true, or
                                                                                                                 or we
                                                                                                                     we get
                                                                                                                        get something
                                                                                                                             something fromfrom
an agency,
an  agency, or  or we
                    we actact in
                              in haste
                                 haste because
                                        because the  the information
                                                          information available
                                                                         available wasn't
                                                                                    wasn't complete,
                                                                                             complete, but
                                                                                                         but our
                                                                                                               our desire   to communicate
                                                                                                                    desire to    communicate
with the
with  the American
          American peoplepeople and
                                  and make
                                       make sure
                                               sure that
                                                      that you
                                                            you have
                                                                have the
                                                                       the most
                                                                           most complete
                                                                                  complete story
                                                                                              story at
                                                                                                    at the
                                                                                                       the time.
                                                                                                            time. And
                                                                                                                    And so
                                                                                                                        so wewe dodo it.
                                                                                                                                     it.

But again,
But   again, II think
                think that
                       that when
                            when you      look net-net,
                                     you look   net-net, we're
                                                           we're going   (ph) to
                                                                  going (ph)  to do
                                                                                 do our
                                                                                     our best
                                                                                           best every
                                                                                                 every time
                                                                                                        time we
                                                                                                              we can.
                                                                                                                  can. I'm   going to
                                                                                                                        I'm going    to come
                                                                                                                                        come
out here
out   here and
           and tell
                 tell you
                      you the
                           the facts
                                facts as
                                       as II know
                                             know them.
                                                   them. AndAnd if
                                                                 if we
                                                                    we make
                                                                       make a a mistake,
                                                                                mistake, we'll
                                                                                            we'll do our best
                                                                                                  do our   best to
                                                                                                                to correct
                                                                                                                   correct it.
                                                                                                                            it. But
                                                                                                                                But II don't
                                                                                                                                       don't --
                                                                                                                                             --
II think
   think that
         that as
               as II mentioned
                     mentioned the the other
                                        other day,   it is
                                               day, it  is a
                                                           a two-way
                                                              two-way street.
                                                                       street. There
                                                                               There areare many
                                                                                             many mistakes
                                                                                                    mistakes that
                                                                                                                that the
                                                                                                                     the media
                                                                                                                          media makes
                                                                                                                                   makes allall
the time.
the   time. They    misreport something,
            They misreport      something, theythey don't
                                                     don't report
                                                             report something,
                                                                    something, they
                                                                                 they get
                                                                                       get a a fact
                                                                                               fact wrong.
                                                                                                    wrong. II don't
                                                                                                               don't think
                                                                                                                     think that's
                                                                                                                           that's always
                                                                                                                                    always ----
you know,
you    know, to
              to turn
                 turn around     and say,
                        around and    say, okay,
                                             okay, "You
                                                    "You were
                                                           were intentionally
                                                                  intentionally lying".
                                                                                lying". II think
                                                                                           think we
                                                                                                 we all
                                                                                                     all try
                                                                                                         try to
                                                                                                             to do
                                                                                                                do our
                                                                                                                   our best
                                                                                                                        best job,
                                                                                                                               job, and  do it
                                                                                                                                    and do   it
with a
with   a degree
         degree ofof integrity
                      integrity in
                                in our
                                    our respective    industries.
                                        respective industries.

QUESTION: Do
QUESTION:    you have
          Do you have any
                      any corrections that you
                          corrections that you would like to
                                               would like to make,
                                                             make, or clarifications on
                                                                   or clarifications on what
                                                                                        what --
                                                                                             --

(CROSSTALK)
(CROSSTALK)

SPICER: Sure
SPICER:      -- ask
        Sure --     away, Jonathan.
                ask away, Jonathan.
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                    White House
                    White House Press Secretary Sean
                                Press Secretary Sean Spicer
                                                     Spicer holds
                                                            holds his
                                                                  his daily
                                                                      daily briefing
                                                                            briefing with
                                                                                     with reporters.
                                                                                          reporters.

QUESTION: (Inaudible)
QUESTION:     (Inaudible) II don't
                             don't want
                                   want to
                                        to get
                                            get into
                                                into it
                                                     it or
                                                        or relitigate
                                                           relitigate the
                                                                      the whole
                                                                          whole issue,
                                                                                issue, but
                                                                                       but like,
                                                                                           like, on
                                                                                                 on the
                                                                                                    the issue
                                                                                                        issue of
                                                                                                              of metro
                                                                                                                 metro
ridership, you
ridership, you made
               made a  statement about
                     a statement   about --
                                         --

SPICER: We
SPICER:   We did,
               did, and
                    and at the time
                        at the time that
                                     that was provided by
                                          was provided    the inaugural
                                                       by the inaugural committee  came from
                                                                        committee came   from an  outside agency
                                                                                              an outside   agency that
                                                                                                                    that
we reported
we reported on.
              on. And
                  And II think
                         think knowing
                               knowing what
                                         what we
                                              we know
                                                  know now,
                                                        now, we
                                                              we can
                                                                 can tell
                                                                     tell that
                                                                          that WMATA
                                                                               WMATA numbers
                                                                                       numbers are   different, but
                                                                                                 are different,  but we
                                                                                                                     we
were trying
were trying to
            to provide
               provide numbers
                        numbers that
                                  that we
                                       we had
                                          had been
                                              been provided.
                                                    provided. That wasn't like
                                                              That wasn't like we
                                                                               we made them up
                                                                                  made them  up out
                                                                                                out of
                                                                                                    of thin
                                                                                                       thin air.
                                                                                                            air.

QUESTION: And
QUESTION: And do
              do you
                 you stand
                     stand by
                           by your
                              your statement
                                   statement that
                                             that was
                                                  was the
                                                      the most
                                                          most watched
                                                               watched inaugural
                                                                       inaugural --
                                                                                 --

SPICER: II think
SPICER:    think --
                 --

QUESTION: --
QUESTION: -- address
             address of
                     of the
                        the --
                            --

SPICER: Sure,
SPICER:          it was
          Sure, it  was the
                        the most  watched inaugural.
                            most watched   inaugural. When
                                                       When you
                                                              you look
                                                                  look at
                                                                       at -- look, you
                                                                          -- look, you look
                                                                                        look at
                                                                                              at just
                                                                                                 just the
                                                                                                      the one
                                                                                                          one network
                                                                                                              network alone
                                                                                                                      alone
got 16.9
got      million people
    16.9 million  people online.
                          online. Another
                                  Another couple
                                          couple of
                                                  of the
                                                     the networks
                                                         networks there
                                                                    there were
                                                                          were tens
                                                                                 tens of
                                                                                       of million
                                                                                          million people
                                                                                                   people that
                                                                                                           that watched
                                                                                                                watched that
                                                                                                                        that
online. Never
online. Never mind
               mind the
                     the audience
                         audience that
                                   that was
                                        was here,
                                             here, the
                                                   the 31
                                                       31 million
                                                          million people
                                                                  people watching
                                                                          watching it
                                                                                    it on
                                                                                       on television.
                                                                                          television.

Combine that
Combine   that with
                with the
                     the tens
                         tens of
                              of million
                                 million of
                                          of people   that watched
                                             people that   watched it
                                                                    it online,
                                                                       online, on a device.
                                                                               on a device. It's unquestionable. II --
                                                                                            It's unquestionable.    -- II don't  --
                                                                                                                          don't --
and II don't
and    don't see
             see any
                  any numbers
                       numbers that
                                 that --
                                       -- that
                                          that dispute
                                               dispute that
                                                         that when
                                                              when you
                                                                    you add
                                                                         add upup attendance,
                                                                                  attendance, viewership,
                                                                                                 viewership, total
                                                                                                             total audience
                                                                                                                   audience in  in
terms(ph) of
terms(ph)  of tablets,
              tablets, phones,
                       phones, on
                               on television.
                                   television. I'd  love to
                                                I'd love  to see
                                                             see any
                                                                 any information
                                                                     information that
                                                                                  that proves
                                                                                       proves that
                                                                                               that otherwise.
                                                                                                    otherwise.

QUESTION: And
QUESTION: And -- and then,
              -- and then, what
                           what --
                                --

SPICER: So,
SPICER: So, do
            do -- do you
               -- do you dispute that?
                         dispute that?

QUESTION: Well,
QUESTION: Well, II don't
                   don't want
                         want to
                              to get
                                 get into
                                     into numbers.
                                          numbers. II --
                                                      -- II --
                                                            --

SPICER: Well,
SPICER: Well, II do.
                 do. II mean
                        mean -- QUESTION: OK.
                             -- QUESTION: OK.

SPICER: I'm
SPICER:           just saying,
             I'm just  saying, you're asking me
                               you're asking me a a question     about my
                                                     question about     my integrity.
                                                                            integrity. II have
                                                                                          have a  right to
                                                                                               a right  to say
                                                                                                           say if
                                                                                                               if you
                                                                                                                  you add up the
                                                                                                                      add up the
network streaming
network    streaming numbers,
                        numbers, Facebook,
                                  Facebook, YouTube,
                                              YouTube, all all of
                                                               of the
                                                                  the various
                                                                       various live
                                                                               live streaming
                                                                                    streaming that
                                                                                                that we
                                                                                                      we have
                                                                                                          have information
                                                                                                               information on
                                                                                                                           on so
                                                                                                                              so
far. II don't
far.    don't think
              think there's
                    there's any
                            any question
                                question it
                                         it was
                                            was --
                                                -- that
                                                   that it
                                                        it was  the largest
                                                           was the   largest watched    inauguration, ever.
                                                                             watched inauguration,     ever.

QUESTION: More
QUESTION:      than Ronald
          More than        Reagan's in
                    Ronald Reagan's in 1981?
                                       1981?

SPICER: I'm
SPICER: I'm pretty sure that
            pretty sure that Reagan
                             Reagan didn't
                                    didn't have
                                           have YouTube,
                                                YouTube, Facebook,
                                                         Facebook, or the internet.
                                                                   or the internet.

QUESTION: (OFF-MIC)
QUESTION: (OFF-MIC)

SPICER: Yes,
SPICER:   Yes, II think
                  think 41
                        41 million
                            million people    watched his.
                                     people watched     his. 41
                                                             41 million
                                                                 million watched    his. OK?
                                                                         watched his.          So, let's
                                                                                         OK? So,   let's just
                                                                                                          just take
                                                                                                               take the
                                                                                                                    the Nielsen
                                                                                                                        Nielsen
ratings, which
ratings, which are
               are 3131 million
                        million and
                                and add    it to
                                      add it  to CNN,
                                                 CNN, 16.9    million. That's
                                                        16.9 million.         a little
                                                                       That's a little higher.
                                                                                       higher. So,
                                                                                               So, I'm   just saying,
                                                                                                    I'm just  saying, I'm not --
                                                                                                                      I'm not --
you're asking
you're asking me
              me for
                   for numbers,   there's just
                       numbers, there's   just two
                                               two entities together.
                                                   entities together.

QUESTION: And
QUESTION: And --
              -- and
                 and the
                     the -- the approach
                         -- the          that you
                                approach that you took
                                                  took on
                                                       on Saturday
                                                          Saturday are(ph)
                                                                   are(ph) there(ph)
                                                                           there(ph) any
                                                                                     any second
                                                                                         second thoughts
                                                                                                thoughts on
                                                                                                         on
that?
that?

SPICER: Look,
SPICER: Look, II did
                 did word(ph)
                     word(ph) --
                              -- John
                                 John Lewis(ph) -- look,
                                      Lewis(ph) -- look, II --
                                                            -- II want this to
                                                                  want this to --
                                                                               --

QUESTION: (OFF-MIC)
QUESTION:           question, you
          (OFF-MIC) question, you know.
                                  know.

SPICER: II came
SPICER:           out to
             came out to read
                         read aa statement,  and II did
                                  statement, and    did it.
                                                        it. We're
                                                            We're here
                                                                  here today,
                                                                       today, I'm going to
                                                                              I'm going to stay
                                                                                           stay here
                                                                                                here as
                                                                                                     as long
                                                                                                        long as
                                                                                                             as you
                                                                                                                you want.
                                                                                                                    want.
So, II want
So,    want to
            to make
               make sure
                    sure that
                          that --
                               --

(OFF-MIC)
(OFF-MIC)

(LAUGHTER)
(LAUGHTER)
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                    White House
                    White House Press Secretary Sean
                                Press Secretary Sean Spicer
                                                     Spicer holds
                                                            holds his
                                                                  his daily
                                                                      daily briefing
                                                                            briefing with
                                                                                     with reporters.
                                                                                          reporters.

SPICER: II think
SPICER:     think you
                   you guys
                        guys might  want to
                              might want to leave
                                              leave before
                                                     before II do.
                                                               do. But
                                                                   But look,
                                                                        look, II want  to make
                                                                                 want to  make sure  that we
                                                                                                sure that     have a
                                                                                                          we have     healthy
                                                                                                                    a healthy
relationship. We
relationship. We saw
                   saw the
                        the other
                            other day
                                  day that
                                      that --
                                           -- and
                                               and I'm not trying
                                                   I'm not  trying to
                                                                   to rehash
                                                                      rehash history,
                                                                               history, but
                                                                                        but you're
                                                                                            you're asking the question
                                                                                                   asking the          so I'm
                                                                                                              question so I'm
going to
going  to answer
          answer it.
                  it. You
                      You know,
                          know, we
                                we had
                                    had a
                                        a Tweet
                                           Tweet gogo out
                                                       out about
                                                           about Martin   Luther King.
                                                                  Martin Luther   King.

Think about
Think about how
              how racially
                  racially charged
                           charged that
                                    that is.
                                         is. And
                                             And someone
                                                  someone rushes
                                                             rushes out
                                                                      out and
                                                                          and says
                                                                              says to to the
                                                                                         the entire  press corps
                                                                                              entire press corps that
                                                                                                                 that the
                                                                                                                      the
president of
president of the
             the United
                 United States
                        States has
                               has removed
                                   removed thethe bust
                                                  bust from
                                                       from his
                                                            his office.
                                                                office. Do
                                                                        Do you
                                                                           you --
                                                                               -- II mean,
                                                                                     mean, think
                                                                                            think about
                                                                                                  about what
                                                                                                        what the
                                                                                                             the signal
                                                                                                                 signal --
                                                                                                                        --
hold on,
hold on, please.
         please.

QUESTION: (OFF-MIC)
QUESTION:           and apologized?
          (OFF-MIC) and apologized?

SPICER: No,
SPICER:       no. He
         No, no.  He actually
                      actually apologized  to "my
                               apologized to  "my colleagues."
                                                  colleagues." That's  the exact
                                                               That's the         quote. OK?
                                                                           exact quote.   OK? That  quote, that
                                                                                               That quote,      report got
                                                                                                           that report got
Tweeted out
Tweeted  out around.
             around. And
                       And to
                           to report
                              report --
                                     -- where
                                        where was   the apology
                                               was the  apology to
                                                                to the
                                                                   the president
                                                                        president of
                                                                                   of the
                                                                                      the United
                                                                                          United States?
                                                                                                 States? Where
                                                                                                         Where waswas the
                                                                                                                       the
apology to
apology to millions of people
           millions of people who
                               who read
                                   read that
                                         that and
                                              and thought
                                                  thought how
                                                          how racially
                                                               racially insensitive
                                                                        insensitive that
                                                                                    that was?
                                                                                          was? Where
                                                                                               Where was    that apology?
                                                                                                      was that   apology?
QUESTION: You
QUESTION:    You accepted
                  accepted his
                             his apology, though.
                                 apology, though.

SPICER: OK,
SPICER:  OK, I'm
             I'm asking where was
                 asking where        that apology?
                                was that   apology? And
                                                     And so,
                                                          so, I'm just saying
                                                              I'm just saying that
                                                                               that when
                                                                                     when you
                                                                                           you -- when things
                                                                                               -- when           like that
                                                                                                         things like  that
happen, when
happen, when John
              John Lewis
                   Lewis says  that he's
                         says that  he's never
                                          never missed
                                                missed an
                                                        an inauguration
                                                            inauguration and
                                                                          and we   find out
                                                                               we find  out actually he did,
                                                                                            actually he did, under
                                                                                                             under ---- he
                                                                                                                        he
skipped George
skipped George W.
               W. Bush's,
                  Bush's, that
                          that there
                               there are  points in
                                      are points in which
                                                    which we
                                                          we have
                                                              have aa right
                                                                      right to
                                                                            to make
                                                                               make sure
                                                                                     sure that
                                                                                          that we
                                                                                               we correct
                                                                                                   correct the
                                                                                                           the record.
                                                                                                               record.

II mean,
   mean, you're
          you're talking
                  talking about
                           about integrity
                                  integrity and you're talking
                                            and you're  talking about
                                                                 about telling
                                                                        telling the
                                                                                 the truth
                                                                                     truth and   facts. II don't
                                                                                            and facts.     don't know
                                                                                                                 know that
                                                                                                                       that it
                                                                                                                             it wasn't
                                                                                                                                wasn't
malicious at
malicious   at all,
               all, and
                    and I'm   not saying.
                         I'm not  saying. But
                                           But there
                                               there is
                                                      is a
                                                         a point
                                                            point at
                                                                   at which
                                                                      which wewe have
                                                                                  have a a right
                                                                                            right to
                                                                                                  to go
                                                                                                     go out
                                                                                                          out there
                                                                                                              there and
                                                                                                                     and correct
                                                                                                                         correct the
                                                                                                                                  the
record. And
record.  And II think
                think that
                       that over
                             over and  over again,
                                  and over   again, there
                                                    there is
                                                           is this
                                                              this attempt
                                                                   attempt toto go
                                                                                go after  this president
                                                                                    after this president andand say,
                                                                                                                 say, well,
                                                                                                                      well, that
                                                                                                                            that can't
                                                                                                                                 can't
be true
be  true and
         and that's
              that's not
                     not right
                          right and  the numbers
                                and the  numbers weren't
                                                  weren't there.
                                                            there.

And there's
And  there's a
             a rush
               rush to
                    to judgment
                       judgment every  time. And
                                 every time. And it's
                                                 it's a
                                                      a two-way
                                                        two-way street.
                                                                 street. We
                                                                         We want
                                                                            want to
                                                                                  to have
                                                                                     have aa healthy
                                                                                             healthy and
                                                                                                     and open
                                                                                                          open dialogue
                                                                                                                  dialogue
with the
with the press
         press corps
                corps and
                      and with
                          with the
                               the American
                                   American people
                                             people about
                                                      about what he's doing
                                                            what he's doing to
                                                                            to help
                                                                               help this
                                                                                    this country
                                                                                         country and
                                                                                                 and to
                                                                                                      to unite
                                                                                                         unite it.
                                                                                                               it.

But in
But in a  time when
       a time  when he's
                       he's trying
                            trying to
                                   to unite
                                      unite this
                                             this and  he keeps
                                                  and he   keeps talking
                                                                  talking about
                                                                          about uniting  this nation,
                                                                                 uniting this nation, bringing
                                                                                                      bringing this
                                                                                                               this nation
                                                                                                                    nation
together, and
together,  and then
               then a a Tweet   goes out
                        Tweet goes    out in
                                          in aa pool(ph)  report to
                                                 pool(ph) report to --
                                                                     -- what?
                                                                        what? --
                                                                              -- a
                                                                                 a few
                                                                                   few thousand
                                                                                        thousand people
                                                                                                   people saying
                                                                                                           saying that
                                                                                                                   that he
                                                                                                                        he
removed the
removed   the bust
              bust of
                   of Martin  Luther King,
                      Martin Luther        how do
                                     King, how   do you
                                                    you think
                                                        think that
                                                              that goes
                                                                   goes over?
                                                                         over?

QUESTION: Sean,
QUESTION: Sean, did
                did -- did the
                    -- did the media invent the
                               media invent the feud
                                                feud between
                                                     between the
                                                             the president
                                                                 president and
                                                                           and the
                                                                               the intelligence
                                                                                   intelligence community?
                                                                                                community?

SPICER: Look,
SPICER:   Look, I'm not --
                I'm not -- II think
                              think that
                                    that you
                                         you saw   from the
                                               saw from the response
                                                            response the
                                                                      the other
                                                                          other day, he walked
                                                                                day, he           into the
                                                                                         walked into   the CIA,  people were
                                                                                                            CIA, people  were
hooting and
hooting     hollering, they
        and hollering, they gave
                               gave him
                                     him aa five
                                            five minute
                                                 minute standing
                                                        standing ovation.
                                                                 ovation. That  doesn't look
                                                                          That doesn't  look like
                                                                                             like aa relationship
                                                                                                     relationship that's
                                                                                                                  that's a -- II
                                                                                                                         a --
mean, they
mean,  they were
            were excited   --
                  excited --

QUESTION: Look(ph)
QUESTION: Look(ph) at(ph)
                   at(ph) the(ph)
                          the(ph) media(ph)
                                  media(ph) invention(ph)
                                            invention(ph) --
                                                          --

SPICER: No,
SPICER:    No, no.
                no. But
                     But II think
                            think there's
                                  there's a
                                          a difference between having
                                            difference between  having differences
                                                                       differences with  intelligence leaders
                                                                                    with intelligence leaders and
                                                                                                              and leaders
                                                                                                                   leaders of
                                                                                                                           of
that community
that community who who we
                       we havehave strong
                                    strong differences
                                           differences with
                                                       with than
                                                            than the
                                                                 the people
                                                                     people and
                                                                             and the
                                                                                 the men
                                                                                     men and
                                                                                           and women
                                                                                                 women who
                                                                                                        who toil
                                                                                                            toil every
                                                                                                                 every single
                                                                                                                       single
day in
day  in our
        our intelligence
            intelligence community.
                           community.

SPICER: And
SPICER:   And itit was
                   was reflected
                       reflected at
                                 at the
                                     the CIA.
                                         CIA. II mean, they came
                                                 mean, they came there.
                                                                   there. They
                                                                          They were
                                                                                were so
                                                                                     so excited, there was
                                                                                        excited, there  was 1,000
                                                                                                             1,000 people
                                                                                                                   people
that applied
that applied for  3,000 plus
             for 3,000  plus seats.
                              seats. And
                                     And we
                                          we ended
                                              ended up  taking in
                                                    up taking  in 400
                                                                  400 people.
                                                                      people. That
                                                                               That doesn't
                                                                                    doesn't sound
                                                                                            sound like
                                                                                                   like a
                                                                                                        a huge
                                                                                                          huge feud.
                                                                                                               feud. They
                                                                                                                     They
were excited,
were           they were
      excited, they  were clapping,   they were
                           clapping, they  were cheering
                                                 cheering when
                                                          when hehe walked in.
                                                                    walked in.

And to
And  to see
        see reports
             reports that
                      that made
                           made it
                                 it sound
                                    sound like
                                          like there
                                               there was
                                                      was some,
                                                           some, you
                                                                   you know,
                                                                       know, fence
                                                                             fence mending
                                                                                   mending that
                                                                                           that needed(ph)
                                                                                                needed(ph) to
                                                                                                           to happen,
                                                                                                              happen,
that sure
that      didn't look
     sure didn't look that
                       that way
                            way when  you walked
                                when you           in. I'm
                                          walked in.   I'm going to move
                                                           going to move on.
                                                                         on.

Yeah?
Yeah?

QUESTION: Sean,
QUESTION:   Sean, can
                   can II ask
                          ask what
                              what isis the
                                        the U.S. strategic interest
                                            U.S. strategic  interest in
                                                                      in moving
                                                                         moving thethe U.S.
                                                                                        U.S. embassy  from Tel
                                                                                             embassy from      Aviv to
                                                                                                           Tel Aviv to
Jerusalem? And
Jerusalem? And also, in the
               also, in the chat
                            chat with
                                 with President
                                      President el-Sisi
                                                el-Sisi today,
                                                        today, was
                                                               was the
                                                                    the status
                                                                         status of  the Muslim
                                                                                of the         Brotherhood discussed?
                                                                                        Muslim Brotherhood discussed?
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                    White House
                    White House Press Secretary Sean
                                Press Secretary Sean Spicer
                                                     Spicer holds
                                                            holds his
                                                                  his daily
                                                                      daily briefing
                                                                            briefing with
                                                                                     with reporters.
                                                                                          reporters.

SPICER: II think
SPICER:      think the
                   the readout
                       readout --
                               -- II just
                                     just gave
                                          gave you  the readout
                                                you the readout on on the
                                                                      the call
                                                                           call with President el-Sisi.
                                                                                with President el-Sisi. II think
                                                                                                           think that
                                                                                                                 that --
                                                                                                                      -- that
                                                                                                                         that speaks
                                                                                                                              speaks
for itself
for itself what
           what was
                was discussed.   And then
                     discussed. And     then --
                                             -- I'm sorry, the
                                                I'm sorry, the first
                                                               first part?
                                                                     part?

QUESTION: What
QUESTION: What is
               is the
                  the U.S.
                      U.S. strategic interest in
                           strategic interest in moving
                                                 moving the
                                                        the embassy
                                                            embassy from
                                                                    from Tel Aviv to
                                                                         Tel Aviv to Jerusalem?
                                                                                     Jerusalem?

SPICER: Well,
SPICER:   Well, II don't
                   don't --
                         -- as
                            as II noted
                                  noted yesterday   through several
                                         yesterday through          press inquiries,
                                                            several press inquiries, we
                                                                                     we haven't
                                                                                        haven't -- there's no
                                                                                                -- there's no decisions.
                                                                                                              decisions.
We're at
We're at the
         the very
             very early
                   early stages
                         stages ofof that
                                     that decision-making
                                          decision-making process.
                                                          process.

Yeah?
Yeah?

QUESTION: John
QUESTION: John (inaudible) from BBC.
               (inaudible) from BBC.

Will there
Will there be
           be aa detailed
                  detailed discussion   when Prime
                           discussion when     Prime Minister  May comes
                                                      Minister May   comes on
                                                                           on Friday on the
                                                                              Friday on the potential
                                                                                             potential parameters
                                                                                                       parameters of
                                                                                                                  of what
                                                                                                                     what
have a
have  a trade
        trade deal
               deal might
                    might look
                           look like?
                                like? Is  there going
                                      Is there  going to
                                                      to be
                                                         be a
                                                            a joint
                                                              joint news
                                                                    news conference?
                                                                         conference? And
                                                                                     And is
                                                                                          is Donald
                                                                                             Donald Trump   going to
                                                                                                     Trump going  to get
                                                                                                                     get a
                                                                                                                         a
state (ph)
state      visit back
      (ph) visit back to
                      to the
                         the U.K.
                             U.K. later
                                   later in
                                         in the
                                            the year?
                                                year?

SPICER: Well,
SPICER:    Well, look,
                 look, we're
                         we're here
                               here on
                                     on working
                                        working day
                                                  day one.   We're excited
                                                       one. We're            that Prime
                                                                    excited that  Prime Minister
                                                                                         Minister May  is coming
                                                                                                  May is  coming onon Friday.
                                                                                                                       Friday. We
                                                                                                                                We
look forward
look  forward to
              to it.
                  it. I'm
                      I'm sure that there
                          sure that there will
                                          will be
                                               be a  discussion of
                                                   a discussion   of trade
                                                                     trade will
                                                                           will come
                                                                                come up,
                                                                                      up, the
                                                                                          the degree
                                                                                              degree to
                                                                                                      to which
                                                                                                          which II don't
                                                                                                                   don't know
                                                                                                                          know yet
                                                                                                                                 yet
and I'm
and      sure we'll
     I'm sure         have an
               we'll have   an opportunity  to brief
                                opportunity to  brief you
                                                      you out.
                                                          out. II don't believe we
                                                                  don't believe  we have
                                                                                     have any
                                                                                          any plans
                                                                                               plans right
                                                                                                     right now
                                                                                                           now for
                                                                                                                 for a
                                                                                                                     a joint
                                                                                                                        joint press
                                                                                                                              press
conference, but
conference,   but that's
                    that's something
                           something that    our team
                                       that our   team will
                                                         will be
                                                              be working
                                                                  working out
                                                                            out with
                                                                                 with Prime
                                                                                      Prime Minister
                                                                                             Minister May   and well
                                                                                                      May and      we'll keep
                                                                                                                         keep you
                                                                                                                                you
updated on
updated   on that.
             that. Yeah?
                    Yeah?

QUESTION: (inaudible)
QUESTION:                news. After
             (inaudible) news. After the
                                     the executive
                                          executive order
                                                    order withdrawing the U.S.
                                                          withdrawing the U.S. from
                                                                               from the
                                                                                    the TPP, what specific
                                                                                        TPP, what specific steps will
                                                                                                           steps will
President Trump
President        take to
          Trump take  to expand
                         expand U.S.   trade opportunities
                                 U.S. trade  opportunities abroad?
                                                           abroad?

SPICER: Well,
SPICER:    Well, again,
                 again, II --
                           -- II think
                                 think when
                                       when hehe talks
                                                 talks to
                                                       to Prime
                                                          Prime Minister
                                                                  Minister May, he's gonna
                                                                           May, he's gonna have
                                                                                             have aa great
                                                                                                     great conversation
                                                                                                           conversation about
                                                                                                                        about
the potential
the potential for
              for greater
                  greater trade
                            trade with
                                    with the
                                         the U.K.
                                             U.K. II mentioned
                                                     mentioned earlier   when he
                                                                 earlier when he met
                                                                                 met with
                                                                                      with these
                                                                                           these manufacturers
                                                                                                  manufacturers this
                                                                                                                this morning,
                                                                                                                     morning,
that was,
that was, you
           you know,
                know, right
                        right up up there
                                     there at
                                           at the
                                              the top
                                                  top of
                                                       of that
                                                          that list,
                                                               list, how
                                                                     how can  we get
                                                                          can we get greater
                                                                                      greater market
                                                                                               market access?   What are
                                                                                                       access? What   are the
                                                                                                                           the
specific challenges
specific challenges that
                     that these
                             these manufacturers
                                      manufacturers are
                                                      are facing
                                                          facing getting
                                                                  getting market
                                                                          market access
                                                                                 access inin the
                                                                                             the countries
                                                                                                 countries around  the globe?
                                                                                                           around the  globe?
And that's
And  that's an
            an important
               important issue.
                           issue.

So it's
So  it's not
         not --  it's not
             -- it's      just other
                      not just  other countries,
                                      countries, but  within existing
                                                 but within           trade deals,
                                                             existing trade  deals, we
                                                                                    we can   figure out
                                                                                         can figure  out is
                                                                                                         is there
                                                                                                            there a  trade dispute
                                                                                                                  a trade  dispute
that can
that  can be
           be settled
               settled with
                          with the
                               the WTO,
                                    WTO, is
                                          is there
                                             there a  revision to
                                                    a revision  to one
                                                                   one of
                                                                        of the
                                                                           the existing  trade treaties
                                                                               existing trade   treaties that
                                                                                                         that we
                                                                                                              we have
                                                                                                                  have now?
                                                                                                                         now? But
                                                                                                                               But
there's a
there's  a lot
           lot that
                that can
                       can be
                            be done.
                                done. There
                                       There are
                                              are things
                                                  things that
                                                          that Congress
                                                               Congress can
                                                                          can update
                                                                               update toto make
                                                                                           make sure
                                                                                                   sure that
                                                                                                        that we're
                                                                                                             we're importing
                                                                                                                    importing and
                                                                                                                              and
exporting more
exporting   more to  to benefit
                        benefit American
                                American businesses.
                                          businesses.

QUESTION: Thanks.
QUESTION: Thanks. John
                  John Cruz
                       Cruz (ph) from (inaudible).
                            (ph) from (inaudible).

Has the
Has  the president
         president or
                   or will the president
                      will the           have a
                               president have a chat,
                                                chat, even an informal
                                                      even an informal chat,
                                                                       chat, with the prime
                                                                             with the prime minister
                                                                                            minister before, in fact,
                                                                                                     before, in fact,
she comes
she comes here?
            here?

SPICER: There
SPICER:          are no
           There are  no plans
                         plans for
                                for that now. It's
                                    that now.        always possible.
                                                It's always  possible. He's  been having
                                                                        He's been  having a    tremendous number
                                                                                            a tremendous     number of of calls.
                                                                                                                          calls. II
think the
think the number
          number isis well over 80
                      well over      now of
                                 80 now   of people
                                              people that   have talked
                                                       that have talked to
                                                                         to him,
                                                                            him, congratulated
                                                                                 congratulated him him prior
                                                                                                        prior to
                                                                                                              to being
                                                                                                                  being elected.
                                                                                                                        elected.
He's had
He's  had a
          a -- we read
            -- we read out
                        out the
                            the other
                                other day   he's met
                                       day he's   met with
                                                       with both
                                                            both Canada
                                                                 Canada andand Mexico.
                                                                                Mexico. II think
                                                                                           think he's
                                                                                                  he's talked
                                                                                                       talked --
                                                                                                               -- Prime
                                                                                                                  Prime Minister
                                                                                                                        Minister
Netanyahu yesterday,
Netanyahu   yesterday, President    el-Sisi today.
                        President el-Sisi   today. II think
                                                      think there's
                                                            there's -- there's going
                                                                    -- there's going to
                                                                                     to continue
                                                                                        continue to to be
                                                                                                        be a
                                                                                                           a robust
                                                                                                             robust number
                                                                                                                      number ofof
world leaders.
world  leaders.

There's a,
There's  a, you
            you know,
                 know, aa tremendous
                          tremendous excitement
                                        excitement II think
                                                       think in
                                                             in the
                                                                the diplomatic
                                                                    diplomatic corps
                                                                                 corps and
                                                                                        and at
                                                                                             at the
                                                                                                the world
                                                                                                     world leader
                                                                                                            leader level
                                                                                                                     level of
                                                                                                                            of people
                                                                                                                               people
who are
who   are excited
           excited that
                    that President
                         President Trump    and this
                                     Trump and    this administration
                                                       administration want
                                                                        want toto engage.
                                                                                   engage. There
                                                                                             There isis a
                                                                                                        a lot
                                                                                                          lot of
                                                                                                              of times
                                                                                                                  times when
                                                                                                                          when he's
                                                                                                                                  he's
talking to
talking to these
           these folks
                  folks and
                        and they're
                             they're saying,
                                     saying, "I
                                             "I have
                                                have not
                                                      not heard
                                                           heard from
                                                                  from anyone
                                                                        anyone in in years."
                                                                                     years." And
                                                                                             And II think
                                                                                                    think that
                                                                                                           that there
                                                                                                                there isis a genuine
                                                                                                                           a genuine
excitement to
excitement   to reengage
                reengage thethe United
                                 United States,
                                        States, especially   in the
                                                 especially in  the area  of trade
                                                                    area of  trade and
                                                                                     and other
                                                                                         other economic
                                                                                                 economic interests,
                                                                                                             interests, but
                                                                                                                          but also  in
                                                                                                                               also in
the area
the  area of
          of national
             national security.
                       security.

QUESTION: Needless
QUESTION:          to say,
          Needless to      this is
                      say, this is a
                                   a big
                                     big one and it's
                                         one and it's the
                                                      the first...
                                                          first...

SPICER: I'm
SPICER: I'm sorry?
            sorry?
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                     White House
                     White House Press Secretary Sean
                                 Press Secretary Sean Spicer
                                                      Spicer holds
                                                             holds his
                                                                   his daily
                                                                       daily briefing
                                                                             briefing with
                                                                                      with reporters.
                                                                                           reporters.

QUESTION: II said
QUESTION:    said needles
                  needles to
                          to say,
                             say, this
                                  this is
                                       is the
                                          the big one, and
                                              big one, and ifs
                                                           it's the
                                                                the first.
                                                                    first.

SPICER: Right.
SPICER: Right.

(CROSSTALK)
(CROSSTALK)

QUESTION: TPP
QUESTION:     TPP was   dead on
                    was dead      arrival (inaudible),
                              on arrival               so why
                                          (inaudible), so  why this
                                                                this executive order anything
                                                                     executive order anything more
                                                                                               more than
                                                                                                     than symbolic?
                                                                                                          symbolic? And
                                                                                                                    And
when will
when  will President
           President Trump
                      Trump start  negotiating those
                             start negotiating  those bilateral   deals with
                                                        bilateral deals      the 11
                                                                        with the     other countries
                                                                                 11 other  countries in
                                                                                                     in the
                                                                                                        the Asia-Pacific?
                                                                                                            Asia-Pacific?
Could take
Could take some
            some time
                  time and
                       and that
                           that could
                                could be,
                                       be, some
                                            some would
                                                  would say,
                                                          say, giving
                                                               giving China, you know,
                                                                      China, you know, room
                                                                                        room to
                                                                                              to make
                                                                                                 make an  inroad.
                                                                                                       an inroad.

SPICER: Well,
SPICER:  Well, first,
                  first, II would
                            would argue  that bilateral
                                  argue that  bilateral deals
                                                        deals are  mostly what
                                                               are mostly   what China's  been engaging
                                                                                 China's been             in, and
                                                                                                engaging in,  and that's
                                                                                                                   that's
something that
something that II just
                  just said
                        said that
                             that we're
                                  we're gonna
                                        gonna --
                                              -- you know, the
                                                 you know,  the president's
                                                                president's gonna
                                                                            gonna look
                                                                                  look to
                                                                                       to countries
                                                                                          countries to
                                                                                                    to engage
                                                                                                       engage with.
                                                                                                              with.

QUESTION: (inaudible)
QUESTION: (inaudible) 11
                      11 TPP
                         TPP countries?
                             countries?

SPICER: Most
SPICER:         of them
          Most of   them we  have existing
                          we have           trade agreements
                                   existing trade agreements with   -- or
                                                              with --  or a
                                                                          a good
                                                                            good chunk  of them,
                                                                                  chunk of  them, we
                                                                                                  we have
                                                                                                      have existing
                                                                                                           existing trade
                                                                                                                    trade
agreements to
agreements   to --
                -- to
                    to being
                       being with.
                             with. This was an
                                   This was   an expansion of that,
                                                 expansion of that, and
                                                                     and some   in areas,
                                                                          some in  areas, it
                                                                                          it allowed,
                                                                                             allowed, whether
                                                                                                      whether it
                                                                                                               it was
                                                                                                                  was the
                                                                                                                      the
service industry,
service industry, financial
                  financial services,
                            services, additional market access.
                                      additional market access.

But II think
But    think that
             that this
                  this is
                       is --
                          -- this
                             this is
                                  is not
                                     not aa deal
                                            deal that
                                                   that was
                                                        was in in our
                                                                  our country's
                                                                       country's best
                                                                                  best interest.
                                                                                         interest. The
                                                                                                   The president    could have
                                                                                                        president could     have come
                                                                                                                                  come into
                                                                                                                                          into
office --
office  -- a
           a president
             president could
                         could have
                                 have come
                                        come into
                                                into office
                                                     office and
                                                              and renegotiated
                                                                    renegotiated it it and
                                                                                       and sent
                                                                                            sent people
                                                                                                  people back
                                                                                                          back toto the
                                                                                                                     the drawing
                                                                                                                          drawing board.
                                                                                                                                    board. ItIt
hadn't gone
hadn't   gone to
               to Congress
                  Congress yet yet because
                                   because it  it wasn't
                                                  wasn't finalized.
                                                          finalized. II think
                                                                        think this
                                                                               this president
                                                                                    president pulling
                                                                                                pulling out
                                                                                                        out of
                                                                                                            of the
                                                                                                               the agreement
                                                                                                                     agreement is is not
                                                                                                                                     not just
                                                                                                                                          just
about this
about   this one
             one agreement,
                  agreement, but but II think
                                        think ifs
                                              it's symbolic
                                                   symbolic bothboth here
                                                                      here in
                                                                            in America
                                                                               America and and around
                                                                                               around the
                                                                                                        the world
                                                                                                            world of of a
                                                                                                                        a new
                                                                                                                          new era    of trade
                                                                                                                                era of  trade
policy, one
policy,  one that's
              that's going
                     going to to put
                                 put American
                                     American workers
                                                   workers first
                                                              first and
                                                                    and foremost
                                                                         foremost and and one
                                                                                           one that
                                                                                                that assures
                                                                                                      assures the
                                                                                                               the rest
                                                                                                                     rest of
                                                                                                                          of the
                                                                                                                              the world
                                                                                                                                  world that
                                                                                                                                          that
the way
the  way that
           that we
                we negotiate
                   negotiate bilateral     agreements is
                                bilateral agreements       is going
                                                              going toto ensure   that we
                                                                         ensure that    we get
                                                                                            get something   out of
                                                                                                something out     of these
                                                                                                                     these deals.
                                                                                                                             deals.

As II mentioned
As     mentioned toto John
                       John a  minute ago,
                             a minute  ago, II mean,
                                               mean, the
                                                       the problem
                                                           problem with
                                                                    with multilateral
                                                                         multilateral agreements
                                                                                       agreements is is that
                                                                                                        that often,
                                                                                                             often, we  -- it
                                                                                                                    we --   it
becomes the
becomes    the lowest
                lowest common
                        common denominator
                                 denominator on    so many
                                                on so  many things.
                                                             things. And
                                                                     And for
                                                                          for the
                                                                              the U.S.
                                                                                  U.S. (inaudible)  already has
                                                                                        (inaudible) already  has low
                                                                                                                  low tariffs
                                                                                                                      tariffs
and other
and   other service
            service industry
                     industry benefits
                              benefits for
                                       for countries,
                                           countries, you
                                                      you know,
                                                           know, we've
                                                                 we've gotta
                                                                        gotta be
                                                                               be able
                                                                                  able to
                                                                                       to make
                                                                                           make sure
                                                                                                 sure we're
                                                                                                       we're going
                                                                                                             going out
                                                                                                                    out and
                                                                                                                        and
fighting for
fighting for the
             the American
                 American worker.
                            worker.

Jennifer (ph)?
Jennifer (ph)?

QUESTION: So
QUESTION: So (ph) you're not
             (ph) you're not gonna renegotiate, to
                             gonna renegotiate, to be
                                                   be clear...
                                                      clear...

SPICER: We
SPICER: We pulled
           pulled out of TPP.
                  out of TPP.

QUESTION: No
QUESTION:    but if
          No but if all
                    all the
                        the existing...
                            existing...

SPICER: I'm
SPICER: I'm --
            -- I'm not gonna
               I'm not gonna -- there --
                             -- there -- we'll have further
                                         we'll have further updates
                                                            updates on
                                                                    on trade
                                                                       trade issues
                                                                             issues later
                                                                                    later this
                                                                                          this week,
                                                                                               week, Jennifer
                                                                                                     Jennifer (ph).
                                                                                                              (ph).

(CROSSTALK)
(CROSSTALK)

QUESTION: ...does
QUESTION:             the administration
              ...does the administration feel
                                         feel like
                                              like you
                                                   you still
                                                       still need
                                                             need an
                                                                  an executive order to
                                                                     executive order to remove
                                                                                        remove yourself
                                                                                               yourself from
                                                                                                        from NAFTA
                                                                                                             NAFTA or
                                                                                                                   or
what's the...
what's the...

SPICER: II --
SPICER:    -- II --
                 -- that's
                    that's a
                           a great  question. II believe
                              great question.            there's an
                                                 believe there's an action  that has
                                                                    action that  has to
                                                                                     to be taken under
                                                                                        be taken  under the
                                                                                                        the -- the provision
                                                                                                            -- the           of
                                                                                                                   provision of
NAFTA where
NAFTA where you  you set
                      set --  you send
                           -- you      notice to
                                  send notice   to the other countries,
                                                   the other countries, the
                                                                        the other
                                                                             other two
                                                                                   two countries.
                                                                                       countries.

The exact
The  exact nature
           nature of   how that's
                    of how  that's described,
                                    described, II don't
                                                  don't -- but it
                                                        -- but it is,
                                                                  is, there
                                                                      there is
                                                                            is a
                                                                               a trigger
                                                                                 trigger within
                                                                                          within NAFTA,
                                                                                                 NAFTA, one
                                                                                                        one of
                                                                                                            of the
                                                                                                               the sections
                                                                                                                   sections
allows the
allows the -- the president
           -- the president of
                             of the
                                the United States to
                                    United States  to notify
                                                      notify them
                                                             them that
                                                                    that we
                                                                         we intend
                                                                             intend to
                                                                                     to do
                                                                                        do that.
                                                                                           that.

(CROSSTALK)
(CROSSTALK)

SPICER: OK
SPICER:    hold on
        OK hold on (inaudible).
                   (inaudible).

QUESTION: Will
QUESTION: Will there
               there still be a
                     still be a North American trade
                                North American trade block
                                                     block or
                                                           or something
                                                              something different
                                                                        different or...
                                                                                  or...
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                   White House
                   White House Press Secretary Sean
                               Press Secretary Sean Spicer
                                                    Spicer holds
                                                           holds his
                                                                 his daily
                                                                     daily briefing
                                                                           briefing with
                                                                                    with reporters.
                                                                                         reporters.

SPICER: Again,
SPICER:   Again, II think
                    think part of is
                          part of   is it
                                       it that
                                          that he's
                                               he's already
                                                    already spoken   to both
                                                              spoken to both the
                                                                             the president  of Mexico
                                                                                 president of  Mexico and
                                                                                                       and prime
                                                                                                           prime minister
                                                                                                                  minister of
                                                                                                                           of
Canada about
Canada         his desire
         about his         to --
                    desire to     to renegotiate.
                              -- to   renegotiate. And
                                                    And II think
                                                           think as
                                                                 as he
                                                                    he meets
                                                                       meets with both of
                                                                             with both    these individuals
                                                                                       of these individuals over the next
                                                                                                            over the next 30
                                                                                                                          30
days or
days or so,
        so, that's
            that's gonna
                   gonna be
                          be aa topic.
                                 topic.

Now, if
Now, if they
        they come
              come inin and
                        and -- -- and
                                  and express
                                        express aa willingness
                                                    willingness toto do   that, you
                                                                     do that,   you could   negotiate it
                                                                                     could negotiate  it within  the current
                                                                                                         within the   current
parameters and
parameters      update it
            and update  it through
                           through --  through the
                                    -- through the existing
                                                    existing structure.
                                                              structure. If they don't
                                                                         If they don't and
                                                                                       and he
                                                                                           he decided  to --
                                                                                              decided to     to pull
                                                                                                          -- to pull out,
                                                                                                                     out, then
                                                                                                                          then
we would
we would have
          have to
               to go
                  go back
                      back to
                            to the
                               the drawing
                                   drawing table
                                            table in
                                                  in the
                                                     the future.
                                                          future.

Mara (ph)?
Mara (ph)?

(CROSSTALK)
(CROSSTALK)

SPICER: ...make
SPICER:         sure Mara
        ...make sure Mara (ph)
                          (ph) gets a question,
                               gets a           this time.
                                      question, this time.

(LAUGHTER)
(LAUGHTER)

(CROSSTALK)
(CROSSTALK)

QUESTION: ...time
QUESTION:     ...time (ph).  Just to
                      (ph). Just  to follow
                                     follow up
                                            up on
                                               on the
                                                  the China question. China
                                                      China question.       actually has
                                                                      China actually has the
                                                                                         the regional
                                                                                             regional agreement   called
                                                                                                      agreement called
the Regional
the  Regional Comprehensive
                Comprehensive Economics
                                   Economics Partnership    and now
                                               Partnership and  now Japan
                                                                      Japan and  Australia, two
                                                                            and Australia,  two of
                                                                                                of our great allies
                                                                                                   our great allies are
                                                                                                                     are
talking about
talking about joining
              joining that.
                       that.

Does --
Does -- does
        does the
              the President
                  President Trump    see a
                              Trump see   a national
                                            national security
                                                     security component
                                                              component to
                                                                        to these
                                                                           these trade
                                                                                 trade deals
                                                                                       deals and is he
                                                                                             and is he concerned
                                                                                                       concerned that
                                                                                                                 that
now China
now China will
           will write
                write the
                      the rules
                          rules for
                                for Asia-Pacific
                                    Asia-Pacific trade?
                                                 trade?

SPICER: Well,
SPICER:   Well, II think
                   think he
                         he has
                             has been   very, very
                                  been very,  very clear
                                                    clear about
                                                          about China's place in
                                                                China's place in the
                                                                                 the --
                                                                                      -- in
                                                                                         in the
                                                                                            the geopolitical
                                                                                                geopolitical landscape
                                                                                                             landscape ofof
economically and
economically   and --
                    -- and
                       and national
                            national security
                                     security wise.
                                              wise. So
                                                    So he
                                                        he understands
                                                           understands the
                                                                        the need,
                                                                            need, that's
                                                                                   that's part
                                                                                          part of
                                                                                               of the
                                                                                                  the reason
                                                                                                      reason that
                                                                                                              that trade
                                                                                                                   trade is
                                                                                                                         is
important, bilateral
important, bilateral trade.
                     trade.

It
It provides
   provides a a check
                check on
                      on a a lot
                             lot of
                                 of this.
                                    this. But
                                          But again,
                                              again, II --
                                                        -- he's
                                                           he's always
                                                                 always gonna
                                                                         gonna bebe fighting for the
                                                                                    fighting for the interest
                                                                                                     interest of
                                                                                                              of the
                                                                                                                  the country
                                                                                                                      country and
                                                                                                                               and
the American
the  American worker.
                 worker. So
                         So where
                              where --   how we
                                      -- how  we engage
                                                 engage and and with
                                                                  with whom,
                                                                       whom, isis gonna
                                                                                  gonna be
                                                                                         be decided
                                                                                             decided onon whether
                                                                                                          whether oror not
                                                                                                                       not we
                                                                                                                            we can
                                                                                                                               can
get a
get  a deal  that benefits
       deal that  benefits our
                            our country,
                                 country, economically
                                          economically and      in terms
                                                           and in  terms of
                                                                          of national
                                                                             national security.
                                                                                      security. That  there are
                                                                                                That there       there things
                                                                                                            are there   things that
                                                                                                                               that
we can
we       do economically,
     can do                   that actually
              economically, that   actually end  up also
                                            end up          benefiting us
                                                     also benefiting    us from
                                                                           from aa national
                                                                                   national security
                                                                                            security standpoint
                                                                                                      standpoint because
                                                                                                                   because ofof the
                                                                                                                                the
economic relationship
economic    relationship that
                         that exists   between the
                               exists between   the two
                                                    two countries.
                                                           countries.

Yes, sir?
Yes, sir?

(CROSSTALK)
(CROSSTALK)

QUESTION: ...a
QUESTION:      follow-up on...
          ...a follow-up on...

SPICER: OK.
SPICER: OK. Mara
            Mara (ph) gets a
                 (ph) gets   follow-up.
                           a follow-up.

(CROSSTALK)
(CROSSTALK)

QUESTION: ...I'm
QUESTION:        sorry...
          ...I'm sorry...

SPICER: No
SPICER: No you
           you earned it.
               earned it.

QUESTION: Thank
QUESTION:       you. Just
          Thank you. Just really
                          really simple
                                 simple (ph), what is
                                        (ph), what is the
                                                      the average national unemployment
                                                          average national unemployment rate?
                                                                                        rate?

SPICER: What's
SPICER: What's the
               the average?
                   average?

QUESTION: What
QUESTION: What --
               -- no,
                  no, II mean
                         mean what's the overall
                              what's the overall unemployment...
                                                 unemployment...

SPICER: Are
SPICER: Are you
            you talking
                talking about
                        about whether or not
                              whether or not we
                                             we include
                                                include the
                                                        the full...
                                                            full...

QUESTION: I'm
QUESTION:     just asking...
          I'm just asking...
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                    White House
                    White House Press Secretary Sean
                                Press Secretary Sean Spicer
                                                     Spicer holds
                                                            holds his
                                                                  his daily
                                                                      daily briefing
                                                                            briefing with
                                                                                     with reporters.
                                                                                          reporters.

SPICER: II mean
SPICER:         the Bureau
           mean the Bureau of
                           of Labor
                              Labor Statistics
                                    Statistics puts
                                               puts (ph) it out.
                                                    (ph) it out.

(CROSSTALK)
(CROSSTALK)

QUESTION: ...of
QUESTION:       U.S...
          ...of U.S...

SPICER: No,
SPICER: No, no,
              no, no, it's not
                  no, it's not a
                               a question of what
                                 question of what II accept.
                                                     accept. II mean
                                                                mean there
                                                                     there are ways that
                                                                           are ways that you
                                                                                         you can put out
                                                                                             can put out full
                                                                                                         full
employment...
employment...

QUESTION: And
QUESTION: And II know
                 know the
                      the different...
                          different...

SPICER: Right,
SPICER:     Right, but
                   but I'm   saying that
                        I'm saying  that -- so there's
                                         -- so there's a
                                                       a reason
                                                         reason that
                                                                that we
                                                                     we put
                                                                        put out
                                                                            out several
                                                                                several versions
                                                                                        versions of
                                                                                                 of that.
                                                                                                    that. One
                                                                                                          One is
                                                                                                              is that
                                                                                                                 that it
                                                                                                                      it -- the
                                                                                                                         -- the
illustrative nature
illustrative nature of   -- of
                      of -- of how
                               how you   count the
                                    you count   the unemployed,
                                                    unemployed, whether   or not
                                                                  whether or not they're
                                                                                 they're long
                                                                                         long term
                                                                                              term unemployed
                                                                                                    unemployed or or whether
                                                                                                                     whether
or not
or  not they're
        they're still
                still seeking
                      seeking aa job.
                                 job.

But there's
But  there's a  reason that
              a reason  that you
                             you put  out several
                                 put out  several ofof these
                                                       these statistics, its so
                                                             statistics, its so that
                                                                                that economists
                                                                                     economists can
                                                                                                can view
                                                                                                    view them
                                                                                                         them and
                                                                                                              and decide,
                                                                                                                  decide,
look at
look  at different
         different landscapes
                   landscapes on
                               on -- what --
                                  -- what  -- on
                                              on -- on how
                                                 -- on  how to
                                                            to --
                                                               -- how
                                                                  how to
                                                                       to make
                                                                          make economic   policy.
                                                                                 economic policy.

(CROSSTALK)
(CROSSTALK)

QUESTION: ...during
QUESTION:           the campaign,
          ...during the           he at
                        campaign, he at one
                                        one point,
                                            point, Trump
                                                   Trump at
                                                         at one point said
                                                            one point said it
                                                                           it was
                                                                              was 42
                                                                                  42 percent.
                                                                                     percent. II just
                                                                                                 just wanna...
                                                                                                      wanna...

SPICER: Well,
SPICER: Well, again...
              again...

(CROSSTALK)
(CROSSTALK)

QUESTION: ...on
QUESTION: ...on where we're starting.
                where we're starting.

SPICER: But
SPICER:    But --
               -- but
                  but again, part of
                      again, part of it
                                     it is
                                        is economic team is
                                           economic team is gonna
                                                            gonna look
                                                                  look at a multitude
                                                                       at a multitude of
                                                                                       of statistics
                                                                                          statistics and
                                                                                                     and drive economic
                                                                                                         drive economic
policies. His
policies. His goal
              goal is
                   is obviously,
                      obviously, to
                                 to get
                                    get as
                                         as many
                                            many Americans
                                                 Americans working
                                                            working together.
                                                                    together. That's his ultimate
                                                                              That's his ultimate goal.
                                                                                                   goal.

Is that when
Is that when hehe sees
                   sees people   that are
                         people that  are hurting,
                                          hurting, that
                                                   that haven't
                                                         haven't had
                                                                 had wages
                                                                     wages lifted
                                                                             lifted up,
                                                                                    up, that
                                                                                        that are
                                                                                             are unemployed,
                                                                                                  unemployed, that
                                                                                                                that can't
                                                                                                                     can't save
                                                                                                                           save
for their
for their kids
          kids future,
               future, that
                       that are having a
                            are having  a trouble
                                          trouble with
                                                  with their
                                                        their healthcare
                                                              healthcare costs,
                                                                         costs, that's
                                                                                 that's what
                                                                                        what he
                                                                                             he really
                                                                                                 really cares
                                                                                                        cares about.
                                                                                                              about.

It's not just
It's not just a
              a number
                number toto him,
                            him, it's
                                  it's about
                                       about --   it's someone
                                               -- it's  someone getting
                                                                   getting by,
                                                                           by, are their wages
                                                                               are their        going up,
                                                                                         wages going  up, can  they find
                                                                                                          can they  find a
                                                                                                                         a better
                                                                                                                           better
job, do
job,  do they
         they have
               have access
                     access to
                             to education,     whether its
                                 education, whether        its higher
                                                               higher education,  college or
                                                                      education, college  or a
                                                                                             a VoTechnical
                                                                                               VoTechnical --
                                                                                                            -- a VoTech kind
                                                                                                               a VoTech   kind of
                                                                                                                               of
school, so
school,   so that
             that they
                  they can
                       can train
                           train for
                                 for the
                                      the skills
                                          skills of
                                                  of the
                                                      the next
                                                          next century.
                                                                century.

Those are
Those are the
          the kinds
              kinds of
                    of things
                       things the
                              the president,
                                  president, he's
                                             he's not
                                                  not focused
                                                      focused on
                                                              on statistics
                                                                  statistics as
                                                                             as much
                                                                                much as he is
                                                                                     as he is on
                                                                                              on whether
                                                                                                 whether or
                                                                                                         or not
                                                                                                            not the
                                                                                                                the
American people
American people are
                 are doing
                     doing better
                           better as a whole
                                  as a whole and
                                             and whether
                                                  whether or
                                                          or not
                                                             not a family.
                                                                 a family.

And it
And it was
       was interesting,
           interesting, II know
                           know when
                                 when we
                                      we talked
                                           talked about
                                                   about Carrier
                                                          Carrier at one point,
                                                                  at one point, someone
                                                                                someone said   well, that's
                                                                                          said well, that's a thousand jobs.
                                                                                                            a thousand   jobs.
When you
When   you talk
           talk about
                about those
                        those thousand
                               thousand jobs
                                          jobs and
                                                and their
                                                     their families,
                                                           families, during
                                                                     during the
                                                                            the holiday
                                                                                 holiday season
                                                                                         season II would
                                                                                                   would begbeg to
                                                                                                                to differ
                                                                                                                   differ that
                                                                                                                          that
those people
those  people were
              were unbelievably
                    unbelievably ecstatic
                                   ecstatic that
                                            that the
                                                 the president
                                                     president and
                                                                and the
                                                                     the vice
                                                                         vice president
                                                                              president intervened.
                                                                                        intervened.

And so
And so every
       every one
               one of
                   of these
                      these meetings
                             meetings that
                                       that you
                                             you saw   happen at
                                                  saw happen    at Trump  Tower and
                                                                    Trump Tower       then now,
                                                                                 and then  now, its
                                                                                                its all
                                                                                                    all about  you know,
                                                                                                         about you know,
whether ifs
whether it's 2,000
             2,000 or 20,000 jobs,
                   or 20,000  jobs, that's
                                    that's --
                                           -- that's
                                              that's the
                                                     the focus.
                                                         focus. It's
                                                                It's making sure that
                                                                     making sure that we
                                                                                      we have
                                                                                         have --  that small
                                                                                              -- that   small businesses
                                                                                                              businesses
have greater
have greater opportunity
              opportunity to
                          to be
                             be successful.
                                successful.

That American
That American workers
               workers can
                       can have
                           have their
                                  their wages
                                        wages lifted
                                               lifted up,
                                                      up, that
                                                          that the
                                                               the benefits
                                                                   benefits that
                                                                            that they
                                                                                 they receive
                                                                                      receive in
                                                                                              in terms
                                                                                                 terms ofof healthcare
                                                                                                            healthcare and
                                                                                                                       and
education are
education are something
              something that
                        that --
                             -- that provide them
                                that provide them the
                                                    the support
                                                        support that
                                                                 that they
                                                                      they need.
                                                                           need. But
                                                                                  But that's
                                                                                      that's what
                                                                                             what this
                                                                                                  this is
                                                                                                       is all about.
                                                                                                          all about.

II think
   think for
          for to
               to often
                  often inin Washington,
                             Washington, we we get   our heads
                                                get our  heads wrapped
                                                                wrapped around
                                                                          around a a number
                                                                                      number andand aa statistic.
                                                                                                       statistic. And
                                                                                                                  And wewe look
                                                                                                                            look at  and
                                                                                                                                  at and
we forget
we    forget the
              the faces
                   faces and    the families
                            and the families and
                                              and the
                                                   the businesses
                                                       businesses that
                                                                    that are
                                                                         are behind
                                                                             behind those
                                                                                      those numbers.
                                                                                            numbers. AndAnd so,
                                                                                                              so, II think
                                                                                                                     think that's
                                                                                                                           that's where
                                                                                                                                  where
his head's
his   head's at,at, is
                     is trying
                        trying to
                               to look
                                  look at  those people
                                        at those  people that
                                                          that come
                                                               come toto his
                                                                         his rallies,
                                                                             rallies, that
                                                                                      that have
                                                                                           have come
                                                                                                  come toto his
                                                                                                            his event,
                                                                                                                  event, that
                                                                                                                          that he's
                                                                                                                               he's met
                                                                                                                                     met
with in
with   in person
          person that that are
                           are struggling
                               struggling and
                                           and say   "Mr. Trump,
                                                say "Mr.  Trump, I'm  working as
                                                                  I'm working  as hard
                                                                                   hard as
                                                                                         as II can.
                                                                                               can. I'm working two
                                                                                                    I'm working    two jobs,
                                                                                                                        jobs, I'm
                                                                                                                              I'm doing
                                                                                                                                   doing
everything by
everything      by the
                    the rules,
                         rules, and
                                and II keep
                                       keep getting
                                             getting screwed."
                                                     screwed."
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                    White House
                    White House Press Secretary Sean
                                Press Secretary Sean Spicer
                                                     Spicer holds
                                                            holds his
                                                                  his daily
                                                                      daily briefing
                                                                            briefing with
                                                                                     with reporters.
                                                                                          reporters.

That's what
That's what he's
            he's fighting
                 fighting for
                          for is
                               is that
                                  that man
                                       man oror woman
                                                woman outout there
                                                             there that's
                                                                    that's doing
                                                                           doing everything
                                                                                   everything they
                                                                                              they can
                                                                                                    can right
                                                                                                         right but
                                                                                                               but can't
                                                                                                                   can't catch
                                                                                                                         catch a
                                                                                                                               a
break. And
break. And II think
              think he
                     he addressed
                        addressed that that in
                                             in his
                                                his inaugural
                                                    inaugural speech
                                                               speech whenwhen he he talked
                                                                                     talked about
                                                                                             about shifting   power outside
                                                                                                    shifting power   outside ofof
Washington D.C.
Washington  D.C. back
                   back to
                        to the
                            the American
                                 American people
                                              people because
                                                      because for
                                                                for too
                                                                    too long
                                                                         long it's
                                                                              it's been
                                                                                   been about
                                                                                         about stats  more (ph)
                                                                                                stats more         and ifs
                                                                                                             (ph) and  it's been
                                                                                                                            been
about, what
about, what number
            number are
                     are we
                          we looking
                              looking atat as
                                           as opposed
                                              opposed toto what
                                                           what face
                                                                 face are
                                                                      are we
                                                                           we looking
                                                                               looking at?
                                                                                        at?

QUESTION: II have
QUESTION:       have two
                      two questions.
                          questions. One
                                     One onon DAC
                                              DAC -- on
                                                     on DACA
                                                        DACA (ph),
                                                              (ph), II was
                                                                       was just
                                                                           just curious
                                                                                curious about the message
                                                                                        about the          from this
                                                                                                  message from   this
administration from
administration  from the
                     the White
                         White House   to young
                                House to  young people
                                                 people who
                                                        who may
                                                            may qualify
                                                                qualify and
                                                                         and not
                                                                             not yet
                                                                                 yet have
                                                                                     have their
                                                                                          their pension.
                                                                                                pension. Should
                                                                                                         Should they
                                                                                                                they
enroll going
enroll going forward
             forward and  those who
                      and those who are
                                     are in
                                         in the
                                            the program
                                                program now
                                                        now seek
                                                            seek renewal?
                                                                 renewal?

SPICER: Well,
SPICER:      Well, II think
                      think -- yeah,
                                yeah, what
                                       what the
                                            the -- what
                                                   what those
                                                         those people
                                                                people should
                                                                       should know
                                                                               know is
                                                                                     is that
                                                                                        that the
                                                                                             the president's
                                                                                                  president's laid
                                                                                                              laid out
                                                                                                                   out a
                                                                                                                       a list
                                                                                                                         list of
                                                                                                                               of
priorities and
priorities      the priorities
            and the   priorities are
                                  are focused
                                      focused on
                                              on making
                                                  making sure
                                                           sure that
                                                                that people
                                                                     people who
                                                                            who can
                                                                                can do
                                                                                    do harm
                                                                                        harm oror have
                                                                                                  have done
                                                                                                       done harm
                                                                                                             harm and   have a
                                                                                                                    and have   a
criminal record
criminal   record are
                   are the
                        the focus.
                              focus. And
                                      And as
                                          as he
                                             he said
                                                 said throughout
                                                      throughout the
                                                                  the campaign,
                                                                      campaign, we've
                                                                                 we've got
                                                                                        got a
                                                                                            a series
                                                                                              series of
                                                                                                     of individuals
                                                                                                        individuals who
                                                                                                                     who we've
                                                                                                                         we've
got to
got to figure
        figure out.
                out. People
                       People who've
                                 who've overstayed
                                         overstayed their
                                                     their visas,
                                                           visas, people
                                                                  people who
                                                                         who have
                                                                              have committed
                                                                                   committed crime,
                                                                                                crime, and   we're going
                                                                                                        and we're  going to
                                                                                                                          to go
                                                                                                                              go
through that
through   that in
               in a   very systematic
                  a very   systematic andand methodical
                                             methodical way.
                                                          way.

So for
So for now,
       now, that's
            that's not
                   not -- the
                          the focus
                              focus is
                                    is going
                                       going to be on
                                             to be on people
                                                      people who
                                                             who have
                                                                 have done
                                                                      done harm
                                                                           harm to
                                                                                to our
                                                                                   our country.
                                                                                       country.

QUESTION: 2016
QUESTION:    2016 was
                    was the
                        the hottest
                            hottest year
                                    year on
                                          on record
                                             record and   the last
                                                     and the  last three
                                                                   three years
                                                                          years have
                                                                                have been
                                                                                     been the
                                                                                          the hottest
                                                                                              hottest three
                                                                                                       three years
                                                                                                             years on
                                                                                                                    on
record. Scientists
record. Scientists are
                   are saying
                       saying that
                              that we're
                                    we're getting dangerously close
                                          getting dangerously          to the
                                                                close to  the point
                                                                              point where
                                                                                    where human
                                                                                          human civilization  is being
                                                                                                 civilization is being
threatened. How
threatened. How does
                  does President
                       President Trump   plan to
                                 Trump plan   to address this?
                                                 address this?

SPICER: Well,
SPICER:   Well, II think
                     think -- II think
                                 think he's
                                        he's going
                                              going to
                                                     to meet
                                                        meet with   his team
                                                               with his  team and
                                                                               and figure
                                                                                     figure out  what policies
                                                                                            out what             are best
                                                                                                       policies are  best for
                                                                                                                            for the
                                                                                                                                the
environment but
environment   but II think
                      think that
                            that there's
                                  there's -- one
                                             one of
                                                 of the
                                                    the things
                                                        things that
                                                               that he
                                                                    he talked
                                                                        talked about
                                                                               about during
                                                                                       during the
                                                                                              the campaign
                                                                                                  campaign isis there's
                                                                                                                there's a
                                                                                                                        a balance
                                                                                                                          balance
and he's
and he's trying
         trying to
                to make
                    make suresure that
                                   that we
                                        we use   our resources
                                             use our             appropriately, that
                                                     resources appropriately,   that we
                                                                                      we maximize
                                                                                          maximize things
                                                                                                    things to
                                                                                                           to make
                                                                                                              make sure
                                                                                                                     sure that
                                                                                                                           that we
                                                                                                                                we
don't do
don't do so
         so at
            at the
               the detriment
                     detriment of of economic    growth and
                                     economic growth     and job
                                                             job creation.
                                                                 creation.

So, there's
So, there's a
            a balance
              balance and
                       and II don't think it's
                              don't think it's an
                                               an either/or  situation. We
                                                   either/or situation. We can
                                                                           can ensure
                                                                               ensure that
                                                                                       that we're
                                                                                            we're doing
                                                                                                  doing things
                                                                                                        things that
                                                                                                               that are
                                                                                                                    are
smart for
smart for the
          the environment   and smart
              environment and    smart for
                                        for our
                                             our longevity
                                                 longevity as
                                                            as well
                                                                well as
                                                                     as making
                                                                        making sure
                                                                               sure that
                                                                                    that we're
                                                                                         we're doing
                                                                                               doing things
                                                                                                     things that
                                                                                                            that create
                                                                                                                 create
economic growth
economic  growth and
                 and job
                      job creation.
                          creation.

QUESTION: What
QUESTION:   What is
                  is the
                     the president's
                         president's message
                                     message toto the
                                                  the millions
                                                      millions of
                                                               of people
                                                                  people here
                                                                         here in
                                                                              in Washington
                                                                                 Washington and
                                                                                            and around
                                                                                                around the
                                                                                                       the country
                                                                                                           country
who were
who      protesting on
    were protesting on Saturday?
                       Saturday? II have
                                    have a follow-up after
                                         a follow-up  after that.
                                                            that.

SPICER: OK.
SPICER: OK. II have
               have that's
                    that's (ph) very polite
                           (ph) very polite of
                                            of you.
                                               you.

(LAUGHTER)
(LAUGHTER)

II think
   think he
         he has
             has a a healthy
                      healthy respect
                               respect forfor the
                                              the first
                                                   first amendment
                                                         amendment and  and he
                                                                             he -- you
                                                                                    you know,
                                                                                        know, this
                                                                                               this is
                                                                                                    is what
                                                                                                       what makes
                                                                                                            makes ourour country
                                                                                                                         country so
                                                                                                                                  so
beautiful, is
beautiful,  is that
               that on
                    on one   day you
                        one day     you can  inaugurate a
                                         can inaugurate     a president,
                                                              president, on
                                                                          on the
                                                                              the next
                                                                                  next day,
                                                                                       day, people
                                                                                            people can
                                                                                                    can occupy
                                                                                                         occupy the
                                                                                                                 the same
                                                                                                                     same space
                                                                                                                           space to
                                                                                                                                  to
protest something.
protest  something. But But he's
                            he's also
                                    also cognizant
                                          cognizant to to the
                                                          the fact
                                                               fact that
                                                                    that a lot of
                                                                         a lot     these people
                                                                                of these people were
                                                                                                 were there
                                                                                                       there to
                                                                                                             to protest
                                                                                                                protest an
                                                                                                                         an issue
                                                                                                                            issue of
                                                                                                                                  of
concern to
concern   to them
              them andand not
                           not against     anything. II remember
                                against anything.        remember thisthis morning,
                                                                           morning, Debbie    Dingell was
                                                                                      Debbie Dingell   was on
                                                                                                           on television
                                                                                                               television and
                                                                                                                          and she's
                                                                                                                               she's
talking about
talking  about -- let
                  let me
                      me just,
                          just, II don't
                                   don't want
                                         want to
                                               to inaccurately
                                                  inaccurately quote
                                                                  quote her.
                                                                         her.

II know
   know Jonathan's
        Jonathan's (ph) a stickler
                   (ph) a stickler for
                                   for that.
                                       that.

(LAUGHTER)
(LAUGHTER)

She said
She   said different women were
           different women   were there
                                   there for
                                          for different  reasons but
                                              different reasons   but they
                                                                      they were
                                                                             were all there to
                                                                                  all there to make
                                                                                                make sure
                                                                                                      sure that
                                                                                                            that their
                                                                                                                 their core
                                                                                                                       core
American values
American    values are
                   are going
                       going to
                             to be
                                be protected
                                    protected and
                                               and II think
                                                      think many
                                                            many people
                                                                  people like
                                                                          like me
                                                                               me were
                                                                                  were there
                                                                                         there for
                                                                                               for positive
                                                                                                   positive reasons.
                                                                                                            reasons. And
                                                                                                                      And II
think the
think  the president
           president shares
                     shares Debbie   Dingell's views
                             Debbie Dingell's  views that
                                                       that there were people
                                                            there were          that came
                                                                        people that   came to
                                                                                            to the
                                                                                               the mall
                                                                                                   mall as  they do
                                                                                                         as they do all
                                                                                                                     all the
                                                                                                                         the
time, sometimes
time, sometimes inin smaller
                     smaller numbers...
                             numbers...

QUESTION: ...How
QUESTION:        does he
          ...How does he reach
                         reach out
                               out to
                                   to them
                                      them (ph)?
                                           (ph)?

SPICER: II think
SPICER:     think he
                  he reaches
                     reaches out
                             out to
                                 to them
                                    them in
                                         in a
                                            a way
                                              way that
                                                  that he
                                                       he started
                                                          started on the night
                                                                  on the night that
                                                                                that he
                                                                                     he won   the election,
                                                                                         won the            on the
                                                                                                  election, on the way
                                                                                                                   way
that he
that he did
        did on
             on inauguration
                inauguration day  by sending
                             day by  sending aa message
                                                message that
                                                         that talks
                                                              talks about
                                                                    about fighting
                                                                          fighting for
                                                                                    for them.
                                                                                        them. But
                                                                                               But more
                                                                                                   more importantly,
                                                                                                          importantly, II
             Case 1:17-cr-00232-EGS Document 225-10 Filed 06/10/20 Page 17 of 30
                    White House
                    White House Press Secretary Sean
                                Press Secretary Sean Spicer
                                                     Spicer holds
                                                            holds his
                                                                  his daily
                                                                      daily briefing
                                                                            briefing with
                                                                                     with reporters.
                                                                                          reporters.

think the
think the president's
          president's going
                      going to
                             to show
                                show through
                                      through action
                                              action and
                                                     and through
                                                         through success
                                                                   success that
                                                                            that he's
                                                                                  he's fighting
                                                                                       fighting for
                                                                                                 for them
                                                                                                     them and
                                                                                                          and fighting
                                                                                                               fighting for
                                                                                                                        for
every American.
every  American. One
                 One ofof the
                          the things
                              things that
                                     that we've
                                          we've seen
                                                seen so
                                                     so often
                                                        often in
                                                              in this
                                                                 this town
                                                                      town is
                                                                           is a lot of
                                                                              a lot of soaring
                                                                                       soaring rhetoric
                                                                                                rhetoric about
                                                                                                         about how
                                                                                                                how much
                                                                                                                     much
people care.
people  care.

And II think
And    think the
              the president
                  president is
                             is going
                                 going to
                                       to show
                                          show through
                                                 through deed   and action
                                                          deed and  action and   success that
                                                                            and success   that he
                                                                                               he wants
                                                                                                  wants to
                                                                                                         to fight
                                                                                                            fight for
                                                                                                                   for people's
                                                                                                                       people's
healthcare, he
healthcare,   he wants
                  wants to
                        to have
                            have aa better  education system,
                                    better education   system, he
                                                                he wants
                                                                   wants a  stronger America,
                                                                          a stronger  America, he
                                                                                                he wants  to go
                                                                                                   wants to      in and
                                                                                                             go in       fix our
                                                                                                                    and fix  our
inner cities,
inner  cities, he
                he wants
                   wants toto make
                               make sure
                                      sure that
                                             that our
                                                  our infrastructure,
                                                      infrastructure, our  roads and
                                                                      our roads        our bridges.
                                                                                   and our  bridges. So,
                                                                                                     So, II think
                                                                                                            think more
                                                                                                                    more than
                                                                                                                            than
anything, showing
anything,   showing people
                      people through
                               through action
                                         action and   deed and
                                                 and deed   and success
                                                                 success isis where
                                                                              where he's
                                                                                      he's going
                                                                                           going to
                                                                                                  to prove
                                                                                                     prove to
                                                                                                            to the
                                                                                                                the American
                                                                                                                     American
people how
people   how much
               much he
                     he cares
                        cares toto unite
                                   unite us
                                         us and
                                            and how
                                                 how much
                                                      much he
                                                            he cares
                                                                cares to
                                                                      to make
                                                                         make this
                                                                                this America
                                                                                     America better
                                                                                             better and
                                                                                                    and safer.
                                                                                                        safer.

QUESTION: And
QUESTION: And a
              a follow-up.
                follow-up. On the other
                           On the other side
                                        side of this, another
                                             of this, another group
                                                              group that's
                                                                    that's coming...
                                                                           coming...

SPICER: ...I
SPICER:      forgot, you
        ...I forgot, you did
                         did ask.
                             ask.

QUESTION: II did,
QUESTION:    did, thank
                  thank you for remembering.
                        you for remembering.

(LAUGHTER)
(LAUGHTER)

Another group
Another   group -- and
                   and this
                       this a  follow-up on
                             a follow-up   on CBN's
                                              CBN's question
                                                      question aa moment
                                                                  moment ago,
                                                                          ago, when
                                                                               when we
                                                                                     we have
                                                                                         have the
                                                                                              the March
                                                                                                  March for
                                                                                                         for Life
                                                                                                             Life here
                                                                                                                  here in
                                                                                                                       in
Washington, you've
Washington,   you've said
                      said that
                            that this
                                 this is
                                      is a pro-life president,
                                         a pro-life president, what
                                                               what concrete promises is
                                                                    concrete promises is he
                                                                                         he making?
                                                                                            making? We
                                                                                                    We haven't
                                                                                                        haven't heard
                                                                                                                  heard a
                                                                                                                        a
lot about
lot about what
          what that
               that policy
                     policy is
                            is going
                               going to
                                      to look
                                         look like.
                                              like.

SPICER: It's
SPICER:      day one.
        It's day one.

QUESTION: Yeah,
QUESTION: Yeah, but
                but you've
                    you've had
                           had a lot of
                               a lot of time
                                        time to
                                             to make
                                                make those
                                                     those promises.
                                                           promises.

SPICER: II know
SPICER:    know but
                but II -- look,
                          look, II think...
                                   think...

QUESTION: ...What
QUESTION:       ...What should    their expectations
                         should their                   be? SPICER:
                                         expectations be?    SPICER: Their
                                                                         Their expectation  should be
                                                                                expectation should  be that
                                                                                                       that he's
                                                                                                             he's going
                                                                                                                  going to
                                                                                                                        to stand
                                                                                                                           stand up
                                                                                                                                 up
and value
and  value life,
            life, born
                   born or
                        or unborn.
                            unborn. Same
                                       Same asas he
                                                  he said
                                                     said throughout
                                                           throughout the the last
                                                                              last year
                                                                                   year and half, that
                                                                                        and half, that he's
                                                                                                       he's going
                                                                                                             going to
                                                                                                                   to stand
                                                                                                                      stand up
                                                                                                                             up and
                                                                                                                                and
protect life,
protect life, promote
              promote it,
                        it, and
                            and instill
                                 instill policies
                                         policies that
                                                  that promote
                                                       promote life,
                                                                  life, that
                                                                        that promote
                                                                             promote adoption,
                                                                                      adoption, that
                                                                                                 that help
                                                                                                      help support
                                                                                                            support young
                                                                                                                    young women,
                                                                                                                            women,
that help
that help support
           support funding
                     funding of
                              of -- of
                                    of agencies
                                       agencies and    clinics that
                                                  and clinics  that support
                                                                     support women's
                                                                               women's health.
                                                                                        health.

II think
   think that's
         that's what  he's going
                what he's  going toto talk
                                      talk about  is supporting
                                           about is  supporting all
                                                                all of
                                                                    of life,
                                                                       life, the
                                                                             the born,
                                                                                 born, the
                                                                                       the unborn,
                                                                                           unborn, throughout
                                                                                                    throughout life
                                                                                                                 life making
                                                                                                                      making sure
                                                                                                                              sure
that we
that   we have
           have healthcare
                 healthcare that
                              that can
                                   can support   the American
                                        support the   American people
                                                                people andand the
                                                                               the American
                                                                                   American families.
                                                                                             families. That's
                                                                                                       That's --
                                                                                                              -- that's
                                                                                                                  that's what
                                                                                                                         what he's
                                                                                                                              he's
gonna fight
gonna    fight for
               for and that's what
                   and that's  what he's
                                     he's gonna
                                          gonna bebe clear
                                                     clear on.
                                                           on.

QUESTION: II have
QUESTION:    have two
                  two questions.
                      questions.

SPICER: OK.
SPICER: OK.

QUESTION: (inaudible)
QUESTION:                  first one,
               (inaudible) first one, with
                                       with the
                                            the congressional
                                                congressional meeting
                                                                meeting today
                                                                          today and
                                                                                and also   at the
                                                                                      also at the retreat,
                                                                                                  retreat, you  said talking
                                                                                                           you said   talking
about his
about  his legislative
           legislative agenda.
                        agenda. Besides
                                 Besides healthcare,
                                          healthcare, can
                                                      can you
                                                           you give
                                                                give us
                                                                      us one,
                                                                         one, two
                                                                              two or
                                                                                  or three
                                                                                     three legislative
                                                                                           legislative things
                                                                                                       things that
                                                                                                              that he
                                                                                                                   he wants
                                                                                                                       wants
to get
to get through
       through right
                 right away?
                       away? So
                              So not
                                 not the
                                      the executive
                                          executive actions, legislation.
                                                    actions, legislation.

SPICER: Right.
SPICER:   Right. Immigration's
                 Immigration's obviously
                               obviously going to be
                                         going to    high on
                                                  be high    that last.
                                                          on that last. Tax reform, regulatory
                                                                        Tax reform, regulatory reform.
                                                                                               reform. That's three
                                                                                                       That's three
and four.
and four.

QUESTION: Immigration
QUESTION:             is not
          Immigration is not a overhaul, though,
                             a overhaul, though, not...
                                                 not...

SPICER: Well,
SPICER:    Well, II think
                    think he's
                          he's gonna
                               gonna work
                                      work with
                                           with Congress
                                                Congress to  to get
                                                                  get the
                                                                       the appropriations
                                                                             appropriations process
                                                                                            process going. But it's
                                                                                                    going. But  it's not
                                                                                                                     not -- it's not
                                                                                                                         -- it's  not
just building
just building the
              the wall.
                    wall. That's
                          That's through
                                 through the
                                         the appropriations
                                              appropriations process.
                                                                  process. It's    how do
                                                                              It's how do we
                                                                                           we enact
                                                                                              enact policies
                                                                                                    policies to
                                                                                                             to make
                                                                                                                 make sure
                                                                                                                         sure that
                                                                                                                                 that
what we
what  we have
          have now
                now doesn't    happen again.
                       doesn't happen  again. And
                                              And so it's --
                                                  so it's     it is
                                                          -- it  is --
                                                                    -- it
                                                                       it is
                                                                          is working
                                                                             working with them.
                                                                                     with them.

It's a comprehensive
It's a comprehensive looklook at  how we're
                               at how we're keeping
                                             keeping people  out of
                                                     people out   of this
                                                                     this country   that shouldn't
                                                                           country that  shouldn't be
                                                                                                    be here,
                                                                                                       here, that
                                                                                                              that people
                                                                                                                    people who
                                                                                                                            who
are coming
are  coming toto visit
                 visit are
                       are leaving
                           leaving when
                                   when they're
                                         they're supposed
                                                 supposed to,
                                                           to, to
                                                               to make
                                                                  make sure
                                                                          sure that
                                                                                that we're tailoring immigration
                                                                                     we're tailoring immigration policies
                                                                                                                    policies that
                                                                                                                             that
make sure
make    sure that
             that we're
                   we're not
                          not an  open door
                              an open  door for
                                            for anyone to just
                                                anyone to just walk
                                                               walk in,
                                                                      in, that
                                                                          that the
                                                                               the people
                                                                                   people who
                                                                                           who are
                                                                                                 are here
                                                                                                      here to
                                                                                                           to visit
                                                                                                              visit our
                                                                                                                    our country
                                                                                                                         country
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                     White House
                     White House Press Secretary Sean
                                 Press Secretary Sean Spicer
                                                      Spicer holds
                                                             holds his
                                                                   his daily
                                                                       daily briefing
                                                                             briefing with
                                                                                      with reporters.
                                                                                           reporters.

safely or
safely or to
          to come
             come here
                    here to
                         to bring
                            bring jobs
                                   jobs or
                                        or to
                                           to support our economy
                                              support our         are coming
                                                          economy are coming in.
                                                                             in. But
                                                                                 But II think
                                                                                        think he
                                                                                              he have
                                                                                                 have to
                                                                                                      to do
                                                                                                         do immigration
                                                                                                            immigration
smartly, and
smartly, and that's
              that's what
                     what he's
                          he's looking
                                looking at.
                                        at.

QUESTION: II had
QUESTION:    had a
                 a second
                   second one.
                          one.

SPICER: I'm
SPICER: I'm sorry. You're right.
            sorry. You're right.

QUESTION: II haven't
QUESTION:       haven't heard
                         heard that
                               that you
                                    you al
                                         al --  you said
                                             -- you said or
                                                         or someone
                                                            someone else
                                                                      else has
                                                                            has said
                                                                                said specifically.
                                                                                     specifically. Will
                                                                                                   Will the
                                                                                                        the president
                                                                                                            president --
                                                                                                                      -- has
                                                                                                                         has
the president
the  president spoken
               spoken toto any
                           any of
                               of the
                                  the intelligence
                                      intelligence agencies
                                                    agencies about
                                                              about the
                                                                    the investigation
                                                                         investigation into
                                                                                       into the
                                                                                            the Russian
                                                                                                Russian connections?
                                                                                                          connections? And
                                                                                                                         And
will he
will he allow
        allow that
              that to
                   to go
                      go on?
                         on?

SPICER: II don't
SPICER:     don't believe he has
                  believe he has spoken  to anyone
                                 spoken to  anyone specifically
                                                     specifically about
                                                                  about that
                                                                        that and
                                                                             and II don't know that
                                                                                    don't know that --
                                                                                                    -- he
                                                                                                       he has
                                                                                                          has not
                                                                                                              not made
                                                                                                                  made
any indication
any indication that
               that he
                    he would
                       would stop
                             stop an
                                  an investigation
                                     investigation of
                                                   of any
                                                      any sort.
                                                          sort.

Yes, sir?
Yes, sir?

QUESTION: Clarification.
QUESTION:                    You said
              Clarification. You said you're
                                      you're willing to work
                                             willing to work with
                                                             with anybody to defeat
                                                                  anybody to        the Islamic
                                                                             defeat the Islamic State
                                                                                                State (inaudible).
                                                                                                      (inaudible). Does
                                                                                                                   Does
that include
that include Bashar
             Bashar al-Assad?
                      al-Assad?

SPICER: Well,
SPICER:      Well, II think
                        think --
                              -- II think
                                    think what  it's gonna
                                          what ifs   gonna --  what we're
                                                            -- what we're doing
                                                                          doing --
                                                                                 -- we
                                                                                     we are   going to
                                                                                        are going    to smartly
                                                                                                        smartly do
                                                                                                                 do this.
                                                                                                                    this. II mean,
                                                                                                                             mean, let's
                                                                                                                                   let's be
                                                                                                                                         be
clear. Part
clear.         of it
         Part of  it is
                      is to
                         to make
                             make sure
                                     sure that
                                           that they
                                                they have
                                                      have America's
                                                            America's interests
                                                                       interests in
                                                                                 in what
                                                                                      what they're
                                                                                            they're doing
                                                                                                     doing and   who they
                                                                                                            and who   they are.   So we're
                                                                                                                             are. So  we're
not gonna
not  gonna get get together
                     together with
                                 with people    under guise
                                        people under    guise of  defeating ISIS
                                                               of defeating       if that's
                                                                            ISIS if  that's not
                                                                                            not truly
                                                                                                 truly their
                                                                                                       their guise
                                                                                                             guise or  if they're
                                                                                                                   or if  they're not
                                                                                                                                  not --
                                                                                                                                      -- so
                                                                                                                                         so
let's --
let's -- let's
         let's not
               not take
                     take that
                            that too
                                  too far.
                                       far. Thank
                                            Thank you.
                                                    you.

Yeah?
Yeah?

QUESTION: Sean,
QUESTION: Sean, will
                will the
                     the president release documents
                         president release           showing that
                                           documents showing that he
                                                                  he has
                                                                     has left
                                                                         left his
                                                                              his businesses?
                                                                                  businesses?

SPICER: II believe
SPICER:    believe we have.
                   we have.

(UNKNOWN): They're
(UNKNOWN): They're not public at
                   not public    this time.
                              at this time.

SPICER: But
SPICER:       yeah, he
          But yeah,   he has
                         has --  he has
                              -- he has resigned
                                        resigned from
                                                 from the
                                                      the company,
                                                          company, as
                                                                    as he
                                                                       he said
                                                                           said he
                                                                                he would,  before he
                                                                                   would, before   he took
                                                                                                      took office.
                                                                                                           office. Don
                                                                                                                   Don
and Eric
and Eric are
         are fully
             fully in
                   in charge
                      charge of
                             of the
                                the company.
                                    company. He  has taken
                                              He has taken extraordinary
                                                           extraordinary steps
                                                                         steps to
                                                                               to ensure
                                                                                  ensure that
                                                                                         that that's
                                                                                              that's happened.
                                                                                                     happened.

Yeah?
Yeah?

QUESTION: (inaudible)
QUESTION:    (inaudible) political
                         political priorities.
                                   priorities. What
                                               What would
                                                    would be
                                                          be the
                                                             the message
                                                                  message for
                                                                          for the
                                                                              the Hispanic commune in
                                                                                  Hispanic commune in the
                                                                                                      the U.S.
                                                                                                          U.S. taking
                                                                                                               taking
into consideration
into consideration that
                   that one
                        one of
                            of the
                                the priorities
                                    priorities has
                                               has been
                                                   been the
                                                        the wall?
                                                            wall?

SPICER: What...
SPICER: What...

QUESTION: What
QUESTION: What would
               would be
                     be the relation between
                        the relation between this
                                             this administration
                                                  administration and the Hispanic
                                                                 and the Hispanic community in the
                                                                                  community in the U.S.?
                                                                                                   U.S.?

SPICER: Well,
SPICER:    Well, II think
                    think his
                            his relationship
                                relationship with the Hispanic
                                             with the  Hispanic community  is going
                                                                community is         to be
                                                                              going to  be great.
                                                                                           great. II think
                                                                                                     think he's
                                                                                                            he's --
                                                                                                                 -- as
                                                                                                                     as II said,
                                                                                                                           said, II
think that
think that whether
            whether ifsit's jobs
                            jobs oror education  or healthcare,
                                      education or  healthcare, the
                                                                the president
                                                                    president is
                                                                               is committed
                                                                                  committed to
                                                                                             to uniting
                                                                                                 uniting all
                                                                                                           all Americans
                                                                                                               Americans and and
working towards
working  towards a   a better,    safer, more
                        better, safer,   more secure,
                                               secure, more
                                                         more prosperous
                                                              prosperous America
                                                                           America that
                                                                                     that benefits
                                                                                          benefits everybody.
                                                                                                     everybody. And And II think
                                                                                                                            think
whether --
whether  -- regardless
            regardless of  of your
                              your background,   that's something
                                    background, that's            he is
                                                        something he is committed  to.
                                                                        committed to.

Yeah?
Yeah?

QUESTION: (inaudible)
QUESTION:     (inaudible) Financial
                          Financial Times.
                                    Times. Does
                                            Does Mr.
                                                  Mr. Trump agree with
                                                      Trump agree with Rex
                                                                       Rex Tillerson  that the
                                                                            Tillerson that the U.S.
                                                                                               U.S. should
                                                                                                    should try
                                                                                                            try and
                                                                                                                and
prevent China
prevent   China from
                from accessing
                     accessing the
                                the islands
                                    islands in
                                            in the
                                               the South
                                                   South China Sea where
                                                         China Sea where it's
                                                                         it's building
                                                                              building runways
                                                                                       runways and
                                                                                                and other
                                                                                                     other kinds  of
                                                                                                           kinds of
facilities?
facilities?

SPICER: II think
SPICER:     think areas in the
                  areas in the South
                               South China
                                      China Sea  that are
                                            Sea that  are part
                                                          part of
                                                               of international
                                                                  international waters
                                                                                 waters and
                                                                                        and international
                                                                                             international activities
                                                                                                           activities II think
                                                                                                                         think
the U.S.
the      is going
    U.S. is going to
                   to make
                      make sure  that we
                            sure that we protect
                                         protect our
                                                 our interests
                                                     interests there.
                                                               there. So
                                                                       So ifs
                                                                          it's a
                                                                               a question
                                                                                 question of
                                                                                          of if
                                                                                             if those
                                                                                                those islands
                                                                                                      islands are
                                                                                                              are in
                                                                                                                   in fact
                                                                                                                      fact inin
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                   White House
                   White House Press Secretary Sean
                               Press Secretary Sean Spicer
                                                    Spicer holds
                                                           holds his
                                                                 his daily
                                                                     daily briefing
                                                                           briefing with
                                                                                    with reporters.
                                                                                         reporters.

international waters
international  waters and
                      and not
                           not part of China
                               part of       proper, then
                                       China proper, then yes,
                                                           yes, we're  gonna make
                                                                we're gonna  make sure
                                                                                  sure that
                                                                                       that we defend international
                                                                                            we defend international
territories from
territories from being
                 being taken
                       taken over
                             over by
                                  by one
                                     one country.
                                         country. Does
                                                  Does that
                                                        that answer...
                                                             answer...

QUESTION: Would
QUESTION: Would you
                you prevent
                    prevent China from actually
                            China from          reaching...
                                       actually reaching...

SPICER: I'm
SPICER:       not gonna
          I'm not gonna -- look, II think
                        -- look,    think II answered
                                             answered the
                                                      the question.
                                                          question. II think
                                                                       think as we develop
                                                                             as we         further, we'll
                                                                                   develop further, we'll have
                                                                                                          have more
                                                                                                               more
information on
information on that.
               that.

John Gizzi?
John Gizzi?

(CROSSTALK)
(CROSSTALK)

QUESTION: Thank
QUESTION:       you, Sean.
          Thank you, Sean. Thank
                           Thank you, Sean.
                                 you, Sean.

SPICER: Hold
SPICER:      on, I'll
        Hold on,      get to
                 I'll get to you.
                             you. II promise.
                                     promise.

QUESTION: And
QUESTION: And welcome
              welcome to
                      to your
                         your first
                              first day
                                    day on
                                        on the
                                           the job.
                                               job.

SPICER: Thank
SPICER:       you.
        Thank you.

QUESTION: Very
QUESTION:      Very simply, there was
                    simply, there was anan earlier
                                            earlier question
                                                    question about
                                                             about Jerusalem  and putting
                                                                   Jerusalem and  putting the
                                                                                          the U.S.
                                                                                              U.S. embassy there and
                                                                                                   embassy there     a
                                                                                                                 and a
lot of
lot of talk
       talk about
            about executive
                  executive orders.
                            orders. Is this something
                                    Is this something the
                                                        the president
                                                            president can
                                                                      can accomplish
                                                                          accomplish by
                                                                                     by executive
                                                                                         executive order?
                                                                                                   order?

SPICER: It
SPICER:      is, but
          It is, but II think
                        think as
                              as II noted,
                                    noted, John,
                                           John, it's
                                                 it's very
                                                      very early in this
                                                           early in this process.
                                                                         process. We
                                                                                  We are  at the
                                                                                      are at the beginning
                                                                                                 beginning stages
                                                                                                            stages of
                                                                                                                   of this
                                                                                                                      this
decision-making process
decision-making   process andand his
                                  his team's
                                      team's gonna
                                             gonna continue
                                                     continue to
                                                              to consult
                                                                 consult with
                                                                         with stakeholders
                                                                              stakeholders as
                                                                                           as we
                                                                                              we get
                                                                                                 get there.
                                                                                                     there.

Yes, ma'am.
Yes, ma'am.

QUESTION: Thank
QUESTION:       you, Sean...
          Thank you, Sean...

SPICER: Of
SPICER:    course.
        Of course.

QUESTION: ...
QUESTION: ... and welcome here.
              and welcome here.

SPICER: Thank
SPICER:       you.
        Thank you.

QUESTION: So
QUESTION:     So II have
                    have a a follow-up
                             follow-up on
                                        on the
                                            the housekeeping
                                                 housekeeping question
                                                                   question about
                                                                             about NAFTA.   Are we
                                                                                    NAFTA. Are   we not
                                                                                                      not to
                                                                                                          to expect,  then, an
                                                                                                              expect, then, an
executive order
executive order today
                 today toto renegotiate
                            renegotiate NAFTA
                                          NAFTA or      will he
                                                    or will  he wait
                                                                wait until
                                                                     until he
                                                                           he meets
                                                                               meets with
                                                                                     with President
                                                                                          President Pena
                                                                                                      Pena Nieto   next week?
                                                                                                             Nieto next week?
And on
And  on the
        the other
             other --  the other
                    -- the  other question
                                  question II had
                                                had is,
                                                     is, he
                                                         he didn't
                                                             didn't mention
                                                                    mention Latin   America at
                                                                              Latin America at all
                                                                                               all in
                                                                                                   in his
                                                                                                      his --
                                                                                                          -- you
                                                                                                              you know,
                                                                                                                  know, in
                                                                                                                         in his
                                                                                                                            his
inauguration speech.
inauguration speech. Does
                        Does he
                              he plan
                                  plan to
                                       to visit
                                          visit Latin
                                                Latin America
                                                       America this
                                                                this year?
                                                                     year?

SPICER: So
SPICER:    on the
        So on the first
                  first part,
                        part, II think
                                 think we'll
                                       we'll have
                                             have further
                                                  further announcements
                                                          announcements on
                                                                        on trade
                                                                           trade throughout
                                                                                 throughout the
                                                                                            the week.
                                                                                                week. II don't...
                                                                                                         don't...

QUESTION: It's
QUESTION:      not gonna
          It's not gonna happen
                         happen today?
                                today?

SPICER: II think
SPICER:     think we're
                  we're done  with executive
                        done with            orders for
                                   executive orders  for the
                                                         the day.
                                                             day. But as II always
                                                                  But as     always say, stand by.
                                                                                    say, stand by. But
                                                                                                   But we
                                                                                                       we do  not have
                                                                                                          do not  have
any intention
any  intention to
                to have
                   have additional
                         additional executive  orders today.
                                    executive orders    today. But
                                                               But II believe
                                                                      believe there
                                                                                there could
                                                                                      could be
                                                                                             be some
                                                                                                some additional   ones
                                                                                                       additional ones
throughout the
throughout  the week
                 week on
                      on trade.
                         trade. And
                                And we'll
                                    we'll have
                                          have further
                                               further updates
                                                       updates for
                                                               for you
                                                                   you on
                                                                       on there.
                                                                            there.

And then
And then the second part?
         the second part?

QUESTION: If
QUESTION:    he plans
          If he       to travel
                plans to travel to
                                to Latin
                                   Latin America,
                                         America, given
                                                  given that
                                                        that he
                                                             he left
                                                                left them
                                                                     them out
                                                                          out of
                                                                              of his
                                                                                 his inauguration
                                                                                     inauguration speech?
                                                                                                  speech?

SPICER: Right.
SPICER:  Right. Well,
                Well, II don't
                         don't think
                               think --
                                     -- II don't
                                           don't think
                                                 think he
                                                       he left
                                                           left them
                                                                them out.
                                                                     out. II think
                                                                             think he
                                                                                   he was
                                                                                      was focused
                                                                                          focused onon this
                                                                                                         this country,
                                                                                                              country, our
                                                                                                                       our -- our
                                                                                                                           -- our
American workers.
American workers. II don't
                     don't think
                           think he
                                  he got
                                     got into
                                           into detail
                                                detail on
                                                       on any
                                                          any countries   that II am
                                                                countries that    am aware of or
                                                                                     aware of or that
                                                                                                 that II can
                                                                                                         can recall.
                                                                                                              recall.

But II also
But    also think
            think we
                   we are
                      are here
                          here on
                               on the
                                   the first
                                       first working
                                              working day.
                                                         day. We're
                                                              We're announcing
                                                                    announcing Theresa     May coming
                                                                                 Theresa May    coming this
                                                                                                       this Friday. We're
                                                                                                            Friday. We're
excited to
excited  to have
            have the
                  the prime
                      prime minister
                            minister here.
                                     here. AsAs II said,
                                                   said, we
                                                          we already
                                                             already talking
                                                                     talking about
                                                                             about setting
                                                                                   setting up
                                                                                           up a
                                                                                              a meeting
                                                                                                meeting with
                                                                                                        with Canada  and
                                                                                                             Canada and
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                   White House
                   White House Press Secretary Sean
                               Press Secretary Sean Spicer
                                                    Spicer holds
                                                           holds his
                                                                 his daily
                                                                     daily briefing
                                                                           briefing with
                                                                                    with reporters.
                                                                                         reporters.

Mexico. He's
Mexico.       talked to
         He's talked to Prime Minister Netanyahu
                        Prime Minister Netanyahu about
                                                 about having
                                                       having him
                                                              him come
                                                                  come over.
                                                                       over. And
                                                                             And then
                                                                                 then as
                                                                                      as II mentioned,
                                                                                            mentioned, President
                                                                                                       President
el-Sisi.
el-Sisi.

So, we'll
So, we'll get
          get there.
              there. We
                     We ---- we
                             we got
                                got a
                                    a lot
                                      lot of
                                          of calls to return.
                                             calls to return. There's a lot
                                                              There's a lot of
                                                                            of excitement
                                                                               excitement through
                                                                                            through the
                                                                                                    the world.
                                                                                                        world. And
                                                                                                               And a lot of
                                                                                                                   a lot of
people who
people who are
             are really
                 really excited, both to
                        excited, both to come
                                         come here,
                                                here, and  have the
                                                       and have the president   visit them.
                                                                    president visit   them.

Yes, sir?
Yes, sir?

QUESTION: Sir,
QUESTION:         last week
             Sir, last week on
                             on LGBT   rights. The
                                 LGBT rights.       long time
                                               The long  time Republicans
                                                              Republicans (inaudible)
                                                                           (inaudible) group delivered a
                                                                                       group delivered   white paper
                                                                                                       a white       to
                                                                                                               paper to
the Trump
the        team, urging
    Trump team,    urging the
                          the president
                              president to
                                         to maintain
                                            maintain an
                                                      an executive
                                                         executive order
                                                                   order from
                                                                         from President
                                                                               President Obama,   borrowing anti-LGBT
                                                                                          Obama, borrowing   anti-LGBT
worker discrimination
worker discrimination among
                       among federal
                               federal contractors.
                                       contractors.

President has
President  has said
                said he
                      he gonna
                         gonna resin
                                resin (ph) the executive
                                      (ph) the executive orders
                                                         orders from
                                                                from President
                                                                     President Obama that are
                                                                               Obama that     unconstitutional, but
                                                                                          are unconstitutional, but
will he
will he maintain
        maintain this
                 this executive order of
                      executive order    borrowing anti-LGBT...
                                      of borrowing anti-LGBT...

SPICER: Yeah,
SPICER:   Yeah, II --
                   -- II don't  know on
                         don't know   on that
                                         that one. As II --
                                              one. As     -- I'll have to
                                                             I'll have  to get back to
                                                                           get back  to you on that
                                                                                        you on that one.
                                                                                                    one. II don't
                                                                                                            don't know that we've
                                                                                                                  know that we've
gotten that
gotten that far
            far on
                on the
                   the list
                         list of
                              of executive
                                 executive orders,
                                           orders, but
                                                   but I'll be glad
                                                       I'll be    glad to
                                                                       to get
                                                                          get back
                                                                              back to
                                                                                   to you.
                                                                                      you.

(CROSSTALK)
(CROSSTALK)

SPICER: What's
SPICER: What's that?
               that? Again,
                     Again, it's
                            it's not -- II just
                                 not --    just don't
                                                don't know the answer.
                                                      know the answer. I'll try to
                                                                       I'll try to get
                                                                                   get back to you
                                                                                       back to you on
                                                                                                   on that
                                                                                                      that one.
                                                                                                           one.

Yes, sir?
Yes, sir?

QUESTION: On
QUESTION:     On immigration,
                  immigration, the
                                 the chief
                                      chief of  staff --
                                            of staff  -- II think,
                                                            think, it
                                                                   it said
                                                                      said over   the weekend,
                                                                           over the    weekend, seemed
                                                                                                   seemed to to suggest
                                                                                                                suggest that
                                                                                                                         that an
                                                                                                                              an
executive order
executive  order shutting
                 shutting down
                          down thethe DACA     program had
                                       DACA program        had been
                                                                been ruled
                                                                       ruled out.
                                                                             out. Is  that officially
                                                                                   Is that officially ruled
                                                                                                      ruled out
                                                                                                            out as
                                                                                                                as you
                                                                                                                    you guys
                                                                                                                        guys go
                                                                                                                              go
forward? And
forward?   And does
                does the
                      the --  does the
                          -- does    the president
                                          president support
                                                      support action
                                                                 action in
                                                                         in Congress
                                                                            Congress thatthat would,
                                                                                               would, essentially   permanently
                                                                                                        essentially permanently
establish those
establish those protections
                protections for
                             for those.
                                 those.

SPICER: Yeah,
SPICER: Yeah, II think
                 think --
                        -- II don't have anything
                              don't have             further on
                                         anything further        the executive
                                                             on the              action front.
                                                                     executive action   front. But
                                                                                               But what
                                                                                                   what II --
                                                                                                           -- II think
                                                                                                                 think I've
                                                                                                                       I've asked
                                                                                                                            asked
and answered
and answered the
             the --  the DACA
                  -- the DACA piece     to this,
                                  piece to this, in
                                                 in terms
                                                    terms of
                                                           of his
                                                              his priorities
                                                                  priorities right
                                                                             right now.
                                                                                   now.

(CROSSTALK)
(CROSSTALK)

QUESTION: (inaudible)
QUESTION:             the legislation?
          (inaudible) the legislation?

SPICER: II --
SPICER:      -- II think
                   think that
                         that we'll
                              we'll have
                                    have to
                                          to -- we don't
                                             -- we don't have
                                                         have anything
                                                              anything in
                                                                       in front
                                                                          front of
                                                                                of us
                                                                                   us right
                                                                                      right now
                                                                                            now to
                                                                                                 to sign  on. So
                                                                                                    sign on.  So give
                                                                                                                 give us
                                                                                                                      us a
                                                                                                                         a little
                                                                                                                           little
bit of
bit of time,
       time, we'll
             we'll see
                     see what
                          what Congress    moves forward
                               Congress moves      forward with,
                                                           with, and
                                                                 and then
                                                                     then I'm sure well
                                                                          I'm sure  we'll have
                                                                                          have a
                                                                                               a further
                                                                                                  further read
                                                                                                          read out
                                                                                                               out on both, the
                                                                                                                   on both,  the
executive order
executive   order piece
                     piece and on the
                           and on   the legislation.
                                        legislation.

Yes, sir?
Yes, sir?

QUESTION: (inaudible)
QUESTION:             resettlement program?
          (inaudible) resettlement program?

SPICER: II don't
SPICER:    don't know.
                 know. I'll
                       I'll --
                            -- I'll have to
                               I'll have to get
                                            get back
                                                back to
                                                     to you
                                                        you on
                                                            on that
                                                               that one
                                                                    one right
                                                                        right now.
                                                                              now. Or -- II think
                                                                                   Or --    think the
                                                                                                  the best
                                                                                                      best thing
                                                                                                           thing to
                                                                                                                 to do,
                                                                                                                    do, would
                                                                                                                        would
probably contact
probably contact the
                  the Department
                      Department of   of State.
                                         State.

Yes, sir
Yes, sir in
         in the
            the back?
                back?

QUESTION: Regarding
QUESTION:      Regarding --
                          -- regarding
                             regarding access
                                        access --
                                                -- access
                                                   access for
                                                           for American
                                                               American companies
                                                                         companies to
                                                                                   to the
                                                                                      the national
                                                                                          national markets,
                                                                                                   markets, will
                                                                                                             will the
                                                                                                                  the
president try
president try to
              to improve
                 improve the
                         the access
                              access to
                                     to the
                                        the largest
                                            largest market
                                                    market and
                                                            and develop
                                                                develop the
                                                                        the European
                                                                            European one?
                                                                                     one? By
                                                                                          By taking
                                                                                             taking (inaudible)
                                                                                                    (inaudible)

SPICER: Well,
SPICER:   Well, look,
                  look, II don't  -- II think,
                           don't --     think, he's
                                               he's gonna   increase market
                                                     gonna increase   market access
                                                                             access wherever
                                                                                       wherever hehe can.
                                                                                                     can. He's  in the
                                                                                                           He's in the process
                                                                                                                       process ofof
reviewing all
reviewing      of our
           all of our current
                      current trade
                                trade agreements.
                                         agreements. AndAnd looking
                                                             looking at potential bilateral
                                                                     at potential bilateral options
                                                                                            options going
                                                                                                    going forward,
                                                                                                          forward, whether
                                                                                                                    whether it's
                                                                                                                            it's in
                                                                                                                                 in
the E.U.,
the E.U., or
          or in
             in the
                the Asia-
                     Asia- Pacific
                            Pacific arena,     or in
                                       arena, or  in the
                                                     the Middle  East.
                                                         Middle East.
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                    White House
                    White House Press Secretary Sean
                                Press Secretary Sean Spicer
                                                     Spicer holds
                                                            holds his
                                                                  his daily
                                                                      daily briefing
                                                                            briefing with
                                                                                     with reporters.
                                                                                          reporters.

He's gonna
He's  gonna figure
             figure out
                     out where
                         where we we can
                                      can expand
                                          expand U.S.    market access.
                                                   U.S. market   access. And
                                                                         And that's
                                                                              that's II think,
                                                                                        think, what   today's decision
                                                                                                what today's              really
                                                                                                                decision really
starts to
starts to show.
          show. Is   that it's
                  Is that it's not
                               not about   multilateral agreements
                                    about multilateral  agreements under
                                                                     under aa Trump     administration. It's
                                                                              Trump administration.        It's about  bilateral
                                                                                                                about bilateral
agreements, where
agreements,    where we
                      we can
                          can figure
                                figure out
                                       out country
                                           country toto country,
                                                        country, how
                                                                 how can
                                                                      can we
                                                                          we fight
                                                                              fight for
                                                                                    for the
                                                                                          the American
                                                                                               American worker,
                                                                                                           worker, gain
                                                                                                                    gain them
                                                                                                                           them
access to
access  to another  market that's
           another market    that's gonna
                                    gonna benefit  our large
                                          benefit our  large and small businesses
                                                             and small businesses who
                                                                                   who wantwant to
                                                                                                 to sell additional goods
                                                                                                    sell additional goods and
                                                                                                                            and
services.
services.

Yes?
Yes?

(CROSSTALK)
(CROSSTALK)

QUESTION: Why
QUESTION:    Why did
                  did the
                      the president  choose the
                          president choose  the British
                                                British prime minister as
                                                        prime minister    the first
                                                                       as the first foreign
                                                                                    foreign leader
                                                                                            leader for
                                                                                                   for him
                                                                                                       him to
                                                                                                           to meet?
                                                                                                              meet? And
                                                                                                                    And
can we
can we take
       take from
            from that
                 that that
                       that he
                            he intends
                               intends to
                                       to make
                                          make the
                                               the relationship
                                                   relationship even closer?
                                                                even closer?

SPICER: II think
SPICER:       think we've
                     we've always   had that
                             always had that special    relationship with
                                              special relationship   with Britain. And --
                                                                          Britain. And    and he's
                                                                                       -- and he's gonna
                                                                                                   gonna --  and that
                                                                                                          -- and that reflects
                                                                                                                      reflects in
                                                                                                                               in
-- in
-- in his
      his first
          first visits
                visits --
                       -- the
                          the prime
                              prime minister's
                                    minister's first
                                               first visit
                                                     visit here.
                                                           here. He's had a
                                                                 He's had a great
                                                                             great conversation
                                                                                    conversation with
                                                                                                 with her
                                                                                                      her and
                                                                                                          and he
                                                                                                               he looks
                                                                                                                  looks forward
                                                                                                                        forward
to having
to  having her
             her here.
                 here. But
                         But we  can always
                              we can always be
                                             be closer.
                                                 closer.

Yes, ma'am?
Yes, ma'am? QUESTION:
              QUESTION: (inaudible) news, what
                        (inaudible) news, what kind
                                               kind of  relationship is
                                                     of relationship is Trump   looking for
                                                                         Trump looking  for to build with
                                                                                            to build with China
                                                                                                          China after
                                                                                                                after
he withdraw
he withdraw from
            from TPP? And on
                 TPP? And on Taiwan's issue, what
                             Taiwan's issue,      kinds of
                                             what kinds  of stand he is
                                                            stand he  is going to make
                                                                         going to       on (inaudible)
                                                                                  make on   (inaudible)

SPICER: What's
SPICER: What's the
               the last
                   last part,
                        part, please?
                              please?

QUESTION: Taiwan
QUESTION: Taiwan (inaudible) relation.
                 (inaudible) relation.

SPICER: Well,
SPICER:    Well, II --
                    -- II think,
                          think, onon China,  he understand
                                       China, he understand what
                                                              what a a big
                                                                       big market that is
                                                                           market that is for
                                                                                          for U.S.
                                                                                              U.S. goods
                                                                                                   goods and
                                                                                                          and services.
                                                                                                              services. When
                                                                                                                        When he
                                                                                                                              he
met with
met  with the
          the head
              head of  of Alibaba
                            Alibaba a  a couple
                                         couple of
                                                of weeks,
                                                   weeks, that  -- that
                                                           that -- that was
                                                                        was part of the
                                                                            part of the point.
                                                                                         point. There's huge market
                                                                                                There's huge market issue
                                                                                                                     issue there.
                                                                                                                           there.
But in
But in many
       many cases,
              cases, it'sit's --
                              -- it's
                                 it's not
                                      not a
                                          a two-way
                                            two-way street.
                                                    street.

There are
There   are so
            so many
                many Chinese     businesses and
                      Chinese businesses       and individuals
                                                    individuals frankly,
                                                                 frankly, who
                                                                          who can
                                                                                can have
                                                                                    have ease
                                                                                          ease of
                                                                                                of access
                                                                                                   access inin the
                                                                                                               the United
                                                                                                                   United States
                                                                                                                            States
to sell
to sell their
        their goods
              goods or
                    or services.
                        services. II think
                                     think that
                                           that whether
                                                whether or or not
                                                              not you're
                                                                   you're talking
                                                                          talking about  the financial
                                                                                  about the  financial services
                                                                                                       services oror the
                                                                                                                     the banking,
                                                                                                                         banking,
you know,
you  know, the
             the other
                 other service   industries, or
                       service industries,   or our
                                                our manufacturing
                                                      manufacturing goods
                                                                       goods and
                                                                               and services,
                                                                                   services, or
                                                                                              or some
                                                                                                 some ofof the
                                                                                                           the IP  problems that
                                                                                                                IP problems   that
we have
we  have with
           with China, that it
                China, that it really
                               really is
                                      is not
                                         not a
                                             a two
                                               two way   street. And
                                                    way street.   And so
                                                                       so he
                                                                          he understands
                                                                              understands the
                                                                                            the market
                                                                                                market that
                                                                                                        that China    has and
                                                                                                              China has   and our
                                                                                                                               our
desire to
desire  to further
           further penetrate
                   penetrate that
                               that market.
                                    market. But
                                              But he
                                                   he also   recognizes, there's
                                                       also recognizes,    there's a
                                                                                   a lot
                                                                                     lot of
                                                                                         of concerns
                                                                                            concerns with
                                                                                                       with how
                                                                                                            how wewe are   treated
                                                                                                                       are treated
entering into
entering  into China's market, and
               China's market,         we need
                                  and we  need toto review
                                                    review that.
                                                            that.

Yes Ma'am?
Yes Ma'am? II think
              think we're
                    we're going
                          going to
                                to have
                                   have further
                                        further --
                                                -- a lot further
                                                   a lot further updates
                                                                 updates on
                                                                         on that.
                                                                            that. Yes
                                                                                  Yes Ma'am?
                                                                                      Ma'am?

QUESTION: Welcome.
QUESTION:      Welcome. Question
                           Question following
                                     following on on what
                                                      what she
                                                           she was
                                                               was asking
                                                                     asking about
                                                                            about the
                                                                                   the TPP.   You know,
                                                                                       TPP. You    know, part
                                                                                                           part of
                                                                                                                of the
                                                                                                                   the thinking
                                                                                                                        thinking of
                                                                                                                                 of
TPP was
TPP   was toto encircle
               encircle China
                        China economically
                                economically and and II wonder
                                                        wonder if
                                                                if the
                                                                   the President
                                                                       President has
                                                                                  has thought
                                                                                       thought a a little
                                                                                                   little bit
                                                                                                          bit about
                                                                                                              about what
                                                                                                                     what kind
                                                                                                                            kind of
                                                                                                                                 of
bilateral relationships
bilateral relationships in
                        in the
                           the region
                                region --
                                        -- trade
                                           trade relationships
                                                  relationships would
                                                                would accomplish
                                                                       accomplish a   similar goal,
                                                                                    a similar  goal, and
                                                                                                     and secondly,
                                                                                                           secondly, II heard
                                                                                                                        heard you
                                                                                                                               you
talking about
talking about NAFTA     and a
                NAFTA and    a trigger,
                               trigger, but
                                        but II didn't
                                               didn't hear
                                                      hear you
                                                           you say
                                                               say you
                                                                    you had
                                                                         had triggered
                                                                             triggered the
                                                                                        the trigger.
                                                                                            trigger.

SPICER: We
SPICER:   We have
                have not
                     not triggered
                         triggered the
                                    the trigger,
                                        trigger, hasn't
                                                  hasn't happened.
                                                         happened. But
                                                                     But again
                                                                         again II think
                                                                                  think we   have an
                                                                                         we have   an existing relationships
                                                                                                      existing relationships
with many
with many of
           of the
               the countries
                   countries that
                              that were
                                   were part
                                        part ofof the
                                                  the 12 nation make
                                                      12 nation make upup of
                                                                          of TPP.   And II think
                                                                             TPP. And      think we're
                                                                                                 we're going
                                                                                                       going to
                                                                                                              to continue
                                                                                                                 continue to
                                                                                                                          to
explore how
explore how wewe can
                  can --
                      -- in
                         in some
                            some cases
                                   cases strengthen
                                           strengthen those
                                                       those relationships
                                                              relationships or
                                                                            or look
                                                                               look for
                                                                                     for bilateral
                                                                                         bilateral agreements
                                                                                                   agreements with
                                                                                                                with nations
                                                                                                                     nations
that we
that    didn't have
     we didn't have one
                    one through
                         through TPP.
                                   TPP.

Yes Sir?
Yes Sir?

QUESTION: Sean,
QUESTION: Sean, congratulations.
                congratulations.

SPICER: Thank
SPICER:       you.
        Thank you.

QUESTION: Social
QUESTION:    Social security and infrastructure.
                    security and  infrastructure. On    social security,
                                                    On social             the President
                                                               security, the  President will
                                                                                         will be
                                                                                              be meeting
                                                                                                  meeting tonight
                                                                                                           tonight with
                                                                                                                    with
congressional leaders.
congressional leaders. What's
                        What's he
                               he going
                                  going to
                                         to do
                                            do given
                                                given his
                                                        his campaign
                                                            campaign promise
                                                                       promise on
                                                                                on not
                                                                                    not touching
                                                                                        touching social
                                                                                                  social security
                                                                                                         security when
                                                                                                                  when
Paul Ryan
Paul Ryan and
           and Mitch
                Mitch McConnell
                       McConnell send   him a
                                  send him   a bill
                                               bill that
                                                     that declaims
                                                          declaims (ph)  in a
                                                                   (ph) in    funding package
                                                                            a funding  package various
                                                                                                 various cuts
                                                                                                         cuts in
                                                                                                               in social
                                                                                                                  social
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                     White House
                     White House Press Secretary Sean
                                 Press Secretary Sean Spicer
                                                      Spicer holds
                                                             holds his
                                                                   his daily
                                                                       daily briefing
                                                                             briefing with
                                                                                      with reporters.
                                                                                           reporters.

security. And
security.    And on on infrastructure,
                        infrastructure, has
                                         has it
                                              it fallen
                                                 fallen off
                                                        off the
                                                             the radar
                                                                   radar screen,
                                                                          screen, or or is
                                                                                         is it
                                                                                            it going
                                                                                               going toto be
                                                                                                          be --   stay a
                                                                                                              -- stay      priority for
                                                                                                                        a priority   for the
                                                                                                                                          the
President? SPICER:
President?      SPICER: So  So on
                                on social
                                   social security,   he's going
                                           security, he's   going toto have
                                                                       have toto talk
                                                                                 talk to
                                                                                      to them,
                                                                                          them, II think
                                                                                                   think he's
                                                                                                          he's been   very clear
                                                                                                               been very    clear with
                                                                                                                                   with his
                                                                                                                                          his
priority is
priority   is in
              in terms
                  terms ofof preserving   and protecting
                             preserving and     protecting this
                                                             this really
                                                                   really important
                                                                          important benefit
                                                                                       benefit to
                                                                                                to our
                                                                                                    our seniors.
                                                                                                         seniors. He     understands --
                                                                                                                    He understands        -- II
mean, the
mean,    the --   Mr. Trump's
               -- Mr.  Trump's employed
                                 employed so so many
                                                 many people
                                                        people over
                                                                  over the
                                                                        the years,
                                                                             years, he
                                                                                     he understands
                                                                                          understands thethe struggle
                                                                                                             struggle that
                                                                                                                        that people
                                                                                                                              people have
                                                                                                                                        have
later in
later in life
          life to
               to continue
                   continue to
                             to make
                                make ends    meet and
                                      ends meet     and II think
                                                           think that
                                                                  that he
                                                                       he is
                                                                           is keenly
                                                                              keenly aware
                                                                                       aware ofof how
                                                                                                  how important
                                                                                                        important this
                                                                                                                    this program
                                                                                                                         program is is to
                                                                                                                                        to so
                                                                                                                                           so
many people
many    people in  in their
                      their later
                            later years.
                                  years. And
                                          And soso he's
                                                   he's going
                                                         going toto continue
                                                                     continue toto fight
                                                                                   fight to
                                                                                          to make
                                                                                             make sure
                                                                                                    sure that
                                                                                                           that that's
                                                                                                                that's a
                                                                                                                       a program
                                                                                                                          program thatthat is
                                                                                                                                            is
preserved and
preserved           protected.
               and protected.

And then
And then on the ...
         on the ...

QUESTION: Infrastructure.
QUESTION: Infrastructure.

SPICER: Infrastructure,
SPICER:     Infrastructure, of of course,
                                  course, yes.
                                           yes. That's    definitely --
                                                 That's definitely    -- and
                                                                         and he's
                                                                              he's continued
                                                                                    continued to to bring
                                                                                                    bring that
                                                                                                            that up.
                                                                                                                  up. HeHe talked
                                                                                                                            talked with
                                                                                                                                    with the
                                                                                                                                          the
business executives
business    executives today
                          today about
                                   about how
                                          how soso many
                                                     many of of our
                                                                our airports,   that are
                                                                      airports, that   are soso important
                                                                                                important to to our
                                                                                                                our commerce
                                                                                                                      commerce system,
                                                                                                                                    system,
getting planes
getting  planes to to land
                      land in
                           in and
                               and out,
                                    out, roads
                                         roads and    their ability
                                                 and their           to truck
                                                             ability to truck things
                                                                              things across
                                                                                       across the
                                                                                                the country,
                                                                                                    country, even
                                                                                                               even ourour freight
                                                                                                                            freight system.
                                                                                                                                    system.
That if
That  if our
         our infrastructure
              infrastructure isis not
                                  not strong,
                                      strong, it
                                              it inhibits
                                                 inhibits our
                                                           our ability
                                                                ability to
                                                                        to have
                                                                           have free
                                                                                 free commerce,
                                                                                        commerce, it  it inhibits
                                                                                                         inhibits --
                                                                                                                  -- it
                                                                                                                     it drives
                                                                                                                        drives up
                                                                                                                                up the
                                                                                                                                    the cost
                                                                                                                                         cost
of goods
of goods and     services, when
           and services,    when someone's
                                    someone's gotgot to
                                                      to take
                                                         take aa different
                                                                  different route.
                                                                            route. Or
                                                                                   Or isis limited
                                                                                           limited in
                                                                                                   in the
                                                                                                      the opportunities
                                                                                                           opportunities thatthat they
                                                                                                                                  they have
                                                                                                                                        have
because their
because    their runway
                  runway might
                           might bebe closed  or it
                                       closed or  it can't
                                                     can't be
                                                           be expanded
                                                               expanded or  or a
                                                                               a rail
                                                                                 rail line
                                                                                      line breaks
                                                                                            breaks down.
                                                                                                    down. Or Or highways
                                                                                                                 highways justjust not
                                                                                                                                   not --
                                                                                                                                       -- the
                                                                                                                                          the
wear and
wear  and tear
            tear it
                  it puts
                     puts on
                          on trucks
                              trucks or
                                      or shut
                                         shut down.
                                              down. So So infrastructure
                                                           infrastructure continues
                                                                            continues to to be
                                                                                            be huge
                                                                                                huge priority
                                                                                                      priority for
                                                                                                               for him.
                                                                                                                   him. Yes
                                                                                                                          Yes Sir?
                                                                                                                                Sir?

QUESTION: Two
QUESTION:        questions, the
             Two questions,   the National
                                  National Security
                                           Security Council
                                                    Council -- sacking (ph)
                                                            -- sacking (ph) of the National
                                                                            of the          Security Council,
                                                                                   National Security          when do
                                                                                                     Council, when do
you expect
you        to have
    expect to have that
                   that --
                        -- those
                           those positions
                                 positions filled?
                                           filled?

SPICER: We've
SPICER: We've gotten many of
              gotten many of them
                             them filled.
                                  filled.

QUESTION: (Inaudible).
QUESTION: (Inaudible).

SPICER: I'd
SPICER:          have to
            I'd have   to get
                          get back  to you
                               back to you on
                                            on the
                                                the number
                                                    number butbut it's
                                                                  it's actually  fairly robust
                                                                        actually fairly robust right
                                                                                                 right now.
                                                                                                       now. There
                                                                                                            There are
                                                                                                                  are aa lot
                                                                                                                         lot of
                                                                                                                             of hold
                                                                                                                                hold
over's, but
over's, but General
              General Flynn     has been
                         Flynn has   been working
                                           working diligently   with K.T.
                                                     diligently with   K.T. McFarland
                                                                            McFarland --     his deputy
                                                                                          -- his  deputy and  others to
                                                                                                         and others  to make
                                                                                                                        make sure
                                                                                                                                sure
that that's
that         filled out
     that's filled  out and
                         and ready
                             ready to
                                    to go.
                                       go. He's   had countless
                                            He's had  countless meetings      with counterparts
                                                                  meetings with     counterparts and and had
                                                                                                         had several
                                                                                                             several folks
                                                                                                                     folks detailed
                                                                                                                            detailed
over. But
over. But it's
           it's aa very
                   very very
                        very robust
                              robust efforts
                                     efforts from
                                             from day
                                                   day one.
                                                        one.

QUESTION: And
QUESTION:    And follow
                  follow up
                          up to
                             to Don  Carls (ph)
                                Don Carls  (ph) question. So are
                                                question. So are you
                                                                 you retracting
                                                                     retracting your
                                                                                your claim
                                                                                     claim on
                                                                                           on Saturday
                                                                                              Saturday that
                                                                                                       that it
                                                                                                            it was
                                                                                                               was the
                                                                                                                   the
largest crowd
largest crowd in
              in person
                 person for
                         for the
                             the inauguration?
                                 inauguration?

SPICER: That's
SPICER:        not what
        That's not what II said.
                           said.

QUESTION: Well
QUESTION:   Well you  said it
                 you said  it --
                              -- this
                                 this was the largest
                                      was the largest audience
                                                      audience to
                                                               to ever
                                                                  ever witness
                                                                       witness an inauguration period.
                                                                               an inauguration period. Both
                                                                                                       Both in
                                                                                                            in person
                                                                                                               person
and around
and around the
           the globe.
               globe.

SPICER: Right.
SPICER: Right. To witness ...
               To witness ...

QUESTION: Both
QUESTION: Both in
               in person
                  person and
                         and around
                             around the
                                    the globe... SPICER: ...
                                        globe... SPICER:     And around
                                                         ... And        the globe.
                                                                 around the        Yes. In
                                                                            globe. Yes.    total audience
                                                                                        In total          it
                                                                                                 audience it
was.
was.

QUESTION: In
QUESTION:    total audience,
          In total audience, but
                             but not
                                 not simply
                                     simply in
                                            in person.
                                               person.

SPICER: But
SPICER:     that's right,
        But that's right, but
                          but again
                              again II didn't
                                       didn't say
                                              say in
                                                  in person. Both in
                                                     person. Both in person
                                                                     person and
                                                                            and around
                                                                                around the
                                                                                       the globe,
                                                                                           globe, to
                                                                                                  to witness
                                                                                                     witness it.
                                                                                                             it.

QUESTION: You're
QUESTION: You're saying
                 saying those
                        those together?
                              together?

SPICER: No,
SPICER:           that's actually
            No, that's            what II said.
                         actually what    said. It's not what
                                                It's not what --
                                                               -- II don't
                                                                     don't know   how you
                                                                            know how       can interpret
                                                                                       you can interpret it
                                                                                                         it differently.
                                                                                                            differently. That's
                                                                                                                         That's
literally what
literally what II said.
                  said. To witness it
                        To witness it in
                                      in person
                                         person and
                                                and around
                                                      around the
                                                             the globe.
                                                                  globe. Total   audience yes.
                                                                           Total audience yes.

QUESTION: But
QUESTION: But not
              not for
                  for in
                      in person?
                         person?

SPICER: Hold
SPICER:      on. Hold
        Hold on. Hold on. Let me
                      on. Let    just ...
                              me just ...
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                    White House
                    White House Press Secretary Sean
                                Press Secretary Sean Spicer
                                                     Spicer holds
                                                            holds his
                                                                  his daily
                                                                      daily briefing
                                                                            briefing with
                                                                                     with reporters.
                                                                                          reporters.

QUESTION: But
QUESTION:   But ---- but
                     but --
                         -- but
                            but not  -- but
                                not --  but you're
                                            you're saying
                                                   saying here
                                                          here just
                                                               just to
                                                                    to clarify,
                                                                       clarify, you're
                                                                                you're not
                                                                                       not saying
                                                                                           saying and
                                                                                                  and you
                                                                                                      you weren't
                                                                                                          weren't saying
                                                                                                                  saying on
                                                                                                                         on
Saturday that
Saturday that it
              it was
                 was the
                      the largest
                           largest inaugural
                                   inaugural crowd
                                              crowd in
                                                     in person
                                                        person ...
                                                                ...

SPICER: II am
SPICER:       not. II am
           am not.       saying that
                      am saying that it
                                     it was the total
                                        was the total largest
                                                      largest audience witnessed in
                                                              audience witnessed in person
                                                                                    person and around the
                                                                                           and around the globe.
                                                                                                          globe.

Yes sir?
Yes sir?

QUESTION: (Inaudible)
QUESTION:     (Inaudible) go
                           go back
                               back toto one
                                         one publisher
                                             publisher (ph)
                                                       (ph) (inaudible).
                                                            (inaudible). Those with knowledge
                                                                         Those with knowledge of
                                                                                               of who
                                                                                                  who was
                                                                                                       was inin the
                                                                                                                the room
                                                                                                                    room in
                                                                                                                          in
the lobby
the lobby of
           of the
              the CIA   that senior
                  CIA that             leadership were
                              senior leadership   were not
                                                        not among    those hooting
                                                            among those    hooting and
                                                                                   and hollering
                                                                                       hollering and
                                                                                                 and that
                                                                                                      that were
                                                                                                            were some
                                                                                                                  some 4040
people who
people who were
             were in
                   in the
                      the first
                          first front
                                front rows
                                       rows who  were brought
                                            who were  brought in
                                                               in by
                                                                  by Trump
                                                                      Trump and
                                                                            and Pence  and Pompeo.
                                                                                Pence and  Pompeo. I'd   like to
                                                                                                     I'd like to give you a
                                                                                                                 give you  a
chance to
chance  to respond
           respond toto that
                        that recording.
                             recording.

SPICER: II don't
SPICER:      don't think
                   think that's
                         that's accurate  at all.
                                accurate at  all. In
                                                  In fact
                                                     fact II think
                                                             think if
                                                                   if you
                                                                      you list
                                                                           list to
                                                                                to the
                                                                                    the audio
                                                                                         audio of
                                                                                               of it,
                                                                                                  it, you
                                                                                                       you can   hear the
                                                                                                           can hear    the excitement
                                                                                                                           excitement
that exists
that exists there.
            there. There   were some
                    There were   some people
                                       people that
                                                that had
                                                      had toto be
                                                               be off
                                                                   off camera
                                                                       camera forfor obvious
                                                                                      obvious reasons,
                                                                                               reasons, but
                                                                                                          but II think
                                                                                                                 think when
                                                                                                                       when you
                                                                                                                             you look
                                                                                                                                 look
at the
at the number
       number of of people
                     people that
                             that were
                                  were there,
                                        there, the
                                                 the audio
                                                      audio alone     tells --
                                                              alone tells   -- tell
                                                                               tell --  you know,
                                                                                     -- you know, speaks     volumes to
                                                                                                      speaks volumes     to what
                                                                                                                            what had
                                                                                                                                  had
happened.
happened.

II don't
   don't --
         -- II don't
               don't think
                     think that
                           that there's
                                there's any question about
                                        any question about that.
                                                           that.

QUESTION: So
QUESTION: So the
             the people
                 people in
                        in the
                           the --
                               -- the
                                  the front
                                      front who
                                            who were
                                                were seen
                                                     seen on
                                                          on camera,
                                                             camera, those
                                                                     those were
                                                                           were CIA
                                                                                CIA employees?
                                                                                    employees?

SPICER: Honestly,
SPICER:  Honestly, II don't have a
                      don't have      seating chart.
                                  a seating     chart. II think
                                                          think we had a
                                                                we had a very
                                                                         very small
                                                                              small footprint
                                                                                    footprint going
                                                                                              going over
                                                                                                    over there.
                                                                                                         there. II don't
                                                                                                                   don't know
                                                                                                                         know
who exactly
who exactly went over. But,
            went over.  But, II don't
                                don't --
                                      -- II don't
                                            don't know,
                                                  know, maybe
                                                          maybe 10  people, at
                                                                 10 people, at most. Sarah was
                                                                               most. Sarah       there(ph).
                                                                                            was there(ph).

(UNKNOWN): Yes.
(UNKNOWN): Yes.

SPICER: 10
SPICER:  10 were in our
            were in our --
                        -- were  in the
                           were in  the travel
                                        travel going
                                                going over.
                                                      over. So,
                                                            So, 10
                                                                10 out
                                                                   out of 400, plus.
                                                                       of 400,       QUESTION: But
                                                                               plus. QUESTION: But the
                                                                                                   the people -- the
                                                                                                       people -- the
people who(ph)
people who(ph) were(ph)
               were(ph) in
                         in the
                            the front
                                front row,
                                      row, so
                                           so those
                                               those were
                                                     were CIA
                                                            CIA employees?
                                                                employees?

(UNKNOWN): Some
(UNKNOWN): Some of them.
                of them.

SPICER: Some.
SPICER: Some.

QUESTION: Some
QUESTION: Some of
               of them
                  them were
                       were not?
                            not?

SPICER: I'm
SPICER:     I'm sure we seated
                sure we seated --
                               -- II don't
                                     don't --
                                           -- II can't
                                                 can't say
                                                       say --
                                                           -- I'm not really
                                                              I'm not really sure
                                                                             sure why this matters.
                                                                                  why this matters. II mean,
                                                                                                       mean, 10 people didn't
                                                                                                             10 people didn't
yell that
yell that loud.
          loud.

QUESTION: Just
QUESTION:      admit(ph) --
          Just admit(ph) -- you
                            you know,
                                know, the
                                      the senators(ph)
                                          senators(ph) were
                                                       were hooting
                                                            hooting and
                                                                    and hollering
                                                                        hollering --
                                                                                  --

SPICER: Yes,
SPICER: Yes, they
             they were.
                  were.

QUESTION: There's
QUESTION:               not this
               There's not   this rift
                                  rift between
                                       between thethe intelligence
                                                      intelligence community
                                                                   community and   the president
                                                                               and the president because    senior authorities
                                                                                                  because senior   authorities
within the
within the intelligence
           intelligence community
                         community are are telling
                                            telling CBS
                                                    CBS News
                                                         News that
                                                                that they
                                                                     they are
                                                                          are uncomfortable with that
                                                                              uncomfortable with that portrayal.
                                                                                                      portrayal. And
                                                                                                                 And then
                                                                                                                     then the
                                                                                                                           the
notion that
notion  that people
             people within
                     within the
                            the CIA    are --
                                 CIA are   --

SPICER: II --
SPICER:    -- II --
                 -- II -- all II can
                       -- all        do is
                                 can do is tell
                                           tell you to listen
                                                you to listen to
                                                              to the
                                                                 the tape
                                                                     tape alone.
                                                                          alone. II think
                                                                                    think you
                                                                                          you can hear a
                                                                                              can hear   lot of
                                                                                                       a lot of that.
                                                                                                                that. Yes?
                                                                                                                      Yes?

(CROSSTALK)
(CROSSTALK)

QUESTION: A
QUESTION:   A couple
              couple questions that I've(ph)
                     questions that I've(ph) been
                                             been down  here for
                                                   down here for awhile.
                                                                 awhile. Has   the president
                                                                         Has the   president formerly
                                                                                             formerly requested
                                                                                                      requested or
                                                                                                                or
received Pentagon
received Pentagon advice
                  advice on
                         on how
                            how he
                                he could
                                    could change
                                          change the
                                                  the campaign
                                                      campaign against
                                                                against the
                                                                        the Islamic State?
                                                                            Islamic State?

SPICER: II think
SPICER:     think he
                   he has
                      has ordered  it. He's
                           ordered it.      going to
                                       He's going  to --
                                                      -- as
                                                          as II mentioned,
                                                                mentioned, he'll
                                                                            he'll be at the
                                                                                  be at  the Department
                                                                                             Department of  Defense on
                                                                                                         of Defense  on Friday
                                                                                                                         Friday
to swear
to        in General
   swear in             Mattis as
              General Mattis    as his
                                   his next
                                        next secretary
                                             secretary -- -- well,
                                                             well, to,
                                                                   to, you
                                                                       you know,
                                                                            know, gogo through
                                                                                         through the
                                                                                                 the ceremony
                                                                                                     ceremony ofof that.
                                                                                                                   that. He   is
                                                                                                                          He is
obviously the
obviously  the Secretary
                Secretary ofof Defense.
                               Defense. And
                                         And so,
                                              so, you
                                                   you know,
                                                         know, atat that
                                                                    that time
                                                                         time he
                                                                              he will
                                                                                   will continue to have
                                                                                        continue to have conversations   about
                                                                                                          conversations about
what he
what he wants
        wants from
                 from -- from them
                      -- from  them and  the Joint
                                    and the  Joint Chiefs.   Shannon(ph)?
                                                   Chiefs. Shannon(ph)?
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                    White House
                    White House Press Secretary Sean
                                Press Secretary Sean Spicer
                                                     Spicer holds
                                                            holds his
                                                                  his daily
                                                                      daily briefing
                                                                            briefing with
                                                                                     with reporters.
                                                                                          reporters.

(CROSSTALK)
(CROSSTALK)

QUESTION: Just
QUESTION:      a follow
          Just a follow up.
                        up.

SPICER: Yes
SPICER: Yes and
            and then
                then --
                     --

QUESTION: II don't
QUESTION:    don't --
                   -- II don't mean to
                         don't mean to beat
                                       beat a
                                            a dead horse on
                                              dead horse    the issue
                                                         on the issue of
                                                                      of the
                                                                         the U.S.
                                                                             U.S. Embassy in Israel.
                                                                                  Embassy in Israel.

SPICER: Right.
SPICER: Right.

QUESTION: But,
QUESTION:     But, can
                   can you
                       you ---- at
                                at the
                                   the end of the
                                       end of the president's
                                                  president's first
                                                              first four
                                                                    four years,
                                                                         years, assume(ph)
                                                                                assume(ph) he's
                                                                                           he's -- you know,
                                                                                                -- you know, at
                                                                                                             at the
                                                                                                                the end
                                                                                                                    end of
                                                                                                                        of
the next
the next four
         four years,
              years, will
                     will the
                          the United
                               United States
                                       States embassy
                                              embassy bebe in
                                                           in Jerusalem?
                                                              Jerusalem?

SPICER: Well,
SPICER: Well, II --
                 -- II think
                       think I've answered it
                             I've answered it twice
                                              twice now.
                                                    now. II --
                                                            -- we are at
                                                               we are at the
                                                                         the early
                                                                             early stages in this
                                                                                   stages in this decision making process.
                                                                                                  decision making process.

QUESTION: But
QUESTION: But ifs
              it's not whether, ifs
                   not whether, it's when
                                     when and how?
                                          and how?

SPICER: II --
SPICER:     -- II -- there's a
                  -- there's  a reason   you go
                                reason you   go through
                                                through a
                                                        a decision
                                                          decision making
                                                                     making process.    And that's
                                                                             process. And    that's what
                                                                                                    what we're
                                                                                                         we're in
                                                                                                               in the
                                                                                                                  the process
                                                                                                                      process of
                                                                                                                               of
starting right
starting        now. So,
         right now.    So, II just
                              just don't
                                   don't want
                                         want to
                                              to get
                                                 get ahead
                                                     ahead of -- it
                                                           of -- it would
                                                                    would --
                                                                          -- if
                                                                             if it
                                                                                it was
                                                                                   was already
                                                                                       already a  decision, then
                                                                                               a decision,  then we  wouldn't be
                                                                                                                 we wouldn't  be
going through
going  through a  a process.
                     process.

QUESTION: Yes,
QUESTION: Yes, he
               he did
                  did say
                      say that
                          that --
                               --

SPICER: OK,
SPICER: OK, II just
               just answered the --
                    answered the    thanks, Julie.
                                 -- thanks, Julie. Jim?
                                                   Jim?

QUESTION: First
QUESTION:     First of
                    of all,
                       all, congratulations    and thanks
                             congratulations and    thanks for
                                                            for taking
                                                                taking my
                                                                       my question.    Getting back
                                                                           question. Getting    back to
                                                                                                      to Saturday
                                                                                                         Saturday at
                                                                                                                  at the
                                                                                                                      the CIA  and
                                                                                                                          CIA and
your statement
your  statement here
                  here at   the podium.
                        at the   podium. Why
                                           Why make
                                                 make this
                                                       this crowd
                                                            crowd side
                                                                    side issue
                                                                         issue --
                                                                                -- or
                                                                                   or crowd
                                                                                      crowd size   issue something
                                                                                              size issue             to talk
                                                                                                          something to  talk about
                                                                                                                             about
at all?
at all? II mean,
           mean, why
                  why get
                       get into
                             into it?
                                  it? Did
                                      Did it
                                          it bother
                                             bother the
                                                    the president
                                                        president that
                                                                    that much
                                                                         much that
                                                                                that he
                                                                                      he felt
                                                                                         felt that
                                                                                              that you
                                                                                                   you needed
                                                                                                        needed to
                                                                                                               to come
                                                                                                                  come outout here
                                                                                                                              here
and straighten
and  straighten that
                 that out
                      out for
                          for us?
                                us? And
                                     And why
                                          why did  he choose
                                               did he choose the
                                                               the CIA
                                                                   CIA as   the venue
                                                                        as the  venue to   talk about
                                                                                        to talk        that?
                                                                                                about that?

SPICER: So,
SPICER:   So, two
              two things.
                  things. One,
                          One, II just
                                  just got handed a
                                       got handed   note. All
                                                  a note. All of
                                                              of the
                                                                 the people -- no
                                                                     people --    one in
                                                                               no one in the
                                                                                         the front
                                                                                             front row
                                                                                                   row was
                                                                                                       was Trump.
                                                                                                           Trump. They
                                                                                                                  They
were all
were all CIA.
         CIA.

QUESTION: Front
QUESTION:       row?
          Front row?

SPICER: That's
SPICER: That's what you asked.
               what you asked.

QUESTION: II said
QUESTION:    said the
                  the first
                      first three
                            three rows.
                                  rows.

SPICER: OK.
SPICER: OK. I'll find out
            I'll find     who the
                      out who the other two were.
                                  other two were.

(LAUGHTER)
(LAUGHTER)

I'm sorry, II just
I'm sorry,     just got  you the
                     got you   the front
                                    front row,
                                          row, give
                                               give me  a second,
                                                     me a second, I'll
                                                                  I'll get
                                                                       get the
                                                                           the second
                                                                                second and   the third.
                                                                                       and the    third. Do you want
                                                                                                         Do you      to get
                                                                                                                want to get to
                                                                                                                            to the
                                                                                                                               the
fourth and
fourth and fifth,    or --
              fifth, or -- OK,   let me
                           OK, let    me see
                                          see what
                                              what II can
                                                      can do.
                                                          do. Look,
                                                              Look, II think that one
                                                                       think that one of
                                                                                      of the
                                                                                         the things
                                                                                              things that
                                                                                                      that happened,
                                                                                                           happened, Jim,
                                                                                                                     Jim, was
                                                                                                                          was hehe
kept hearing
kept hearing about
                 about this
                         this rift
                              rift that
                                   that existed.
                                        existed.

He talked
He  talked about
             about it
                    it a couple of
                       a couple  of weeks    ago at
                                     weeks ago       his briefing
                                                  at his briefing about
                                                                   about how
                                                                           how proud
                                                                                  proud he   he isis and
                                                                                                     and how
                                                                                                         how much
                                                                                                              much hehe respects
                                                                                                                        respects the
                                                                                                                                 the
intelligence community.
intelligence   community. And
                            And II think
                                   think when
                                          when hehe walked
                                                    walked into
                                                             into that
                                                                  that and
                                                                       and he he saw
                                                                                  saw it, it, he
                                                                                              he wanted
                                                                                                   wanted to
                                                                                                           to make  sure that
                                                                                                              make sure  that people
                                                                                                                              people
knew that
knew    that what
             what you're
                   you're hearing
                           hearing on
                                    on television
                                        television or
                                                   or in
                                                      in reports
                                                         reports about
                                                                   about this
                                                                           this rift
                                                                                rift --
                                                                                     -- II --
                                                                                            -- II have
                                                                                                  have the
                                                                                                       the utmost
                                                                                                            utmost respect
                                                                                                                   respect for
                                                                                                                           for you,
                                                                                                                               you, II
honor your
honor   your service,
              service, I'm proud of
                       I'm proud  of what
                                     what you're
                                           you're doing
                                                  doing and
                                                         and the
                                                              the sacrifices
                                                                   sacrifices that
                                                                               that you're
                                                                                     you're making.
                                                                                                 making.

And II think
And    think that
             that he
                  he wanted
                       wanted them
                                them to
                                      to know
                                         know that
                                                that you
                                                     you see
                                                          see and  hear all
                                                              and hear  all of
                                                                            of this
                                                                               this stuff
                                                                                    stuff on
                                                                                          on T.V.
                                                                                             T.V. about
                                                                                                    about thisthis rift
                                                                                                                   rift that
                                                                                                                        that so-called
                                                                                                                             so-called
exists and
exists       clearly it
        and clearly  it doesn't
                        doesn't matter;
                                 matter; like,
                                         like, don't
                                               don't believe
                                                     believe what
                                                              what you're
                                                                   you're hearing,
                                                                           hearing, know
                                                                                     know that
                                                                                            that II --
                                                                                                    -- II --
                                                                                                          -- II have
                                                                                                                have a  a tremendous
                                                                                                                          tremendous
amount of
amount   of respect
            respect for
                     for you,
                         you, II appreciate
                                 appreciate everything   that you
                                             everything that  you are
                                                                  are doing.
                                                                      doing.
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                    White House
                    White House Press Secretary Sean
                                Press Secretary Sean Spicer
                                                     Spicer holds
                                                            holds his
                                                                  his daily
                                                                      daily briefing
                                                                            briefing with
                                                                                     with reporters.
                                                                                          reporters.

And II think
And    think that's
             that's why
                    why he
                        he wanted
                           wanted to
                                  to do  it is
                                     do it  is to
                                               to make
                                                  make sure
                                                        sure that
                                                             that they
                                                                  they understand
                                                                       understand they
                                                                                    they heard
                                                                                         heard first
                                                                                               first hand
                                                                                                     hand how
                                                                                                          how much
                                                                                                              much he
                                                                                                                   he
respects them.
respects  them. How   much he
                 How much  he wanted
                              wanted to
                                      to dispel
                                          dispel the
                                                  the myth
                                                      myth that
                                                           that there
                                                                there was
                                                                      was a
                                                                          a "rift."
                                                                            "rift."

QUESTION: But
QUESTION:    But --
                 -- but  in terms
                    but in  terms of  the crowd
                                   of the crowd size  issue, why
                                                 size issue, why bring  that up
                                                                  bring that up at the CIA?
                                                                                at the        And why
                                                                                         CIA? And  why did
                                                                                                       did you come out
                                                                                                           you come  out
Saturday afternoon
Saturday afternoon to
                    to talk
                       talk about
                             about that?
                                   that? Did he tell
                                         Did he tell you,
                                                     you, Sean,
                                                          Sean, I'm upset about
                                                                I'm upset       this, II want
                                                                          about this,    want you
                                                                                              you to
                                                                                                  to come
                                                                                                     come out
                                                                                                          out and
                                                                                                              and --
                                                                                                                  --

SPICER: No,
SPICER:     No, I'm  not going
                 I'm not  going to
                                 to get
                                    get into
                                          into conversations   that II have
                                               conversations that      have with
                                                                            with the
                                                                                 the president.
                                                                                     president. But
                                                                                                But II will
                                                                                                       will tell
                                                                                                            tell you
                                                                                                                 you that
                                                                                                                     that it's
                                                                                                                          it's not
                                                                                                                               not --
                                                                                                                                   --
it's not
it's not just
         just about
              about aa crowd
                        crowd size.
                               size. It's
                                     It's about  this constant
                                           about this  constant --
                                                                -- you
                                                                   you know,  he's not
                                                                        know, he's not going to run.
                                                                                       going to run. Then
                                                                                                     Then if if he
                                                                                                                he runs, he's going
                                                                                                                   runs, he's  going
to drop
to   drop out.
           out. Then
                Then ifif he
                          he runs,
                             runs, he
                                    he can't
                                         can't win,
                                                win, there's
                                                      there's no
                                                              no way
                                                                  way hehe can
                                                                           can win
                                                                                win Pennsylvania,   there's no
                                                                                    Pennsylvania, there's      no way
                                                                                                                   way he
                                                                                                                       he can    win
                                                                                                                            can win
Michigan.
Michigan.

SPICER: Then,
SPICER:  Then, if if won,
                     won, it's
                           it's oh,
                                oh, well he(ph) --
                                    well he(ph)    there is
                                                -- there is this
                                                            this constant
                                                                 constant theme
                                                                          theme to
                                                                                 to undercut
                                                                                    undercut thethe enormous  support that
                                                                                                    enormous support    that he
                                                                                                                             he
has. And
has. And II think
            think that
                   that ifs
                        it's just
                              just unbelievably
                                   unbelievably frustrating
                                                frustrating when
                                                             when you're
                                                                   you're continually told it's
                                                                          continually told it's not
                                                                                                 not big
                                                                                                     big enough, it's not
                                                                                                         enough, ifs  not good
                                                                                                                          good
enough, you
enough, you can't
              can't win.
                     win.

QUESTION: And
QUESTION: And -- and if
              -- and if II may
                           may --
                               --

SPICER: Hold
SPICER:   Hold on   -- because
                on --  because II --
                                   -- II think
                                         think ifs
                                               it's important.
                                                    important. He's  gone out
                                                               He's gone    out there
                                                                                there and
                                                                                      and defied   the odds
                                                                                           defied the   odds over  and over
                                                                                                              over and         and
                                                                                                                        over and
over again.
over  again. And
             And he
                  he keeps
                       keeps getting
                              getting told
                                        told what
                                             what he he can't
                                                        can't do by this
                                                              do by this narrative
                                                                          narrative that's
                                                                                    that's out
                                                                                           out there.
                                                                                               there. And
                                                                                                      And hehe exceeds
                                                                                                                exceeds itit every
                                                                                                                             every
single time.
single time. And
             And II think
                     think there's
                            there's an
                                    an overall
                                          overall frustration
                                                   frustration when   you --
                                                               when you    -- when
                                                                              when you
                                                                                    you turn
                                                                                         turn on
                                                                                              on the
                                                                                                  the television
                                                                                                       television over
                                                                                                                  over and    over
                                                                                                                        and over
again and
again  and get
            get told
                told that
                      that there's
                           there's this
                                   this narrative
                                          narrative that
                                                      that you
                                                           you didn't
                                                               didn't win.
                                                                       win. You
                                                                            You weren't
                                                                                 weren't going   to run.
                                                                                          going to  run. You
                                                                                                          You can't
                                                                                                               can't pick  up this
                                                                                                                     pick up   this
state.
state.

That's not
That's not -- you know,
           -- you know, that's
                          that's a  fool's errand
                                  a fool's         to go
                                           errand to  go to
                                                          to Pennsylvania.
                                                             Pennsylvania. Why
                                                                            Why isis he
                                                                                      he in
                                                                                         in Michigan?
                                                                                            Michigan? How
                                                                                                      How silly,   they'll never
                                                                                                            silly, they'll never
vote for
vote for a
         a him.
           him. A
                A Republican
                  Republican hasn't
                                hasn't won
                                         won that
                                              that state  since '88.
                                                    state since  '88. And
                                                                      And then
                                                                          then he
                                                                                he goes
                                                                                    goes and
                                                                                          and he
                                                                                               he does
                                                                                                  does it
                                                                                                       it and
                                                                                                          and then
                                                                                                              then what's
                                                                                                                     what's the
                                                                                                                             the
next narrative?
next  narrative? Well,
                 Well, it
                       it must
                           must have
                                   have been
                                          been because
                                                 because of of this.
                                                               this. He didn't win
                                                                     He didn't  win that.
                                                                                     that. And
                                                                                           And then
                                                                                                then people
                                                                                                     people aren't
                                                                                                              aren't attending
                                                                                                                      attending
anything or
anything  or John Lewis is
             John Lewis  is the
                            the first
                                 first person
                                       person to
                                               to skip his inauguration.
                                                  skip his inauguration. Not  true.
                                                                          Not true.

And over
And   over and   over again,
            and over   again, the
                               the MLK
                                   MLK bust.
                                         bust. II think
                                                  think over
                                                        over and
                                                              and over
                                                                    over again
                                                                          again there's
                                                                                 there's this
                                                                                          this constant
                                                                                               constant attempt
                                                                                                          attempt to  to undermine
                                                                                                                         undermine hishis
credibility and
credibility      the movement
             and the movement thatthat he
                                        he represents.
                                           represents. AndAnd ifs
                                                               it's frustrating
                                                                    frustrating for
                                                                                for not
                                                                                     not just
                                                                                         just him,
                                                                                              him, but
                                                                                                    but II think
                                                                                                            think so   many of
                                                                                                                   so many     of us
                                                                                                                                  us that
                                                                                                                                     that
are trying
are  trying to
             to work
                work to
                      to get
                         get this
                             this message
                                  message out.      And so
                                             out. And    so II mentioned
                                                               mentioned this
                                                                            this to
                                                                                  to John,  part of
                                                                                     John, part  of this
                                                                                                    this isis a
                                                                                                              a two-
                                                                                                                  two- way
                                                                                                                        way street.
                                                                                                                             street. We
                                                                                                                                      We
want to
want   to have
           have aa healthy
                   healthy dialogue,
                             dialogue, not
                                        not just
                                            just with   you but
                                                   with you   but the
                                                                   the American
                                                                       American people       because he's
                                                                                    people because     he's fighting
                                                                                                                fighting for
                                                                                                                          for jobs,
                                                                                                                              jobs, he's
                                                                                                                                     he's
fighting to
fighting  to make  this country
             make this  country safer.
                                 safer.

But when
But  when you're
            you're constantly
                   constantly getting
                              getting told
                                      told that
                                           that can't
                                                can't be
                                                      be true,
                                                         true, we
                                                               we doubt
                                                                  doubt thatthat you
                                                                                  you can
                                                                                        can do this, this
                                                                                            do this, this won't
                                                                                                          won't happen,
                                                                                                                happen, and
                                                                                                                        and
that's the
that's the narrative
           narrative when you turn
                     when you  turn on television every
                                    on television every single day, it's
                                                        single day, it's a
                                                                         a little
                                                                           little frustrating.
                                                                                  frustrating.

And II think
And    think that
              that for
                   for those
                       those people
                             people around
                                      around him,
                                                him, his
                                                     his senior
                                                          senior team
                                                                 team especially,
                                                                       especially, but
                                                                                    but soso many
                                                                                               many of of the
                                                                                                          the other
                                                                                                              other folks
                                                                                                                     folks that
                                                                                                                           that are
                                                                                                                                 are
either here
either here in
             in the
                the administration,  that gave
                    administration, that   gave up
                                                 up their
                                                    their time
                                                          time during the transition,
                                                               during the  transition, they
                                                                                        they left
                                                                                              left a
                                                                                                   a job
                                                                                                     job to
                                                                                                          to work
                                                                                                             work for
                                                                                                                  for three
                                                                                                                      three or
                                                                                                                             or four
                                                                                                                                four
weeks because
weeks   because they
                  they are
                        are so
                            so committed
                               committed to to having
                                               having his
                                                       his nominees
                                                            nominees get
                                                                      get through,
                                                                          through, it's
                                                                                    it's a
                                                                                         a little
                                                                                           little demoralizing
                                                                                                  demoralizing toto turn
                                                                                                                    turn on
                                                                                                                         on the
                                                                                                                             the TV
                                                                                                                                 TV
day after
day after day
          day and    hear, can't
                and hear,  can't do
                                 do this,
                                    this, this
                                          this guys
                                               guy's not
                                                     not going
                                                         going to
                                                               to get
                                                                  get confirmed,
                                                                      confirmed, not
                                                                                   not way
                                                                                         way they're
                                                                                               they're going
                                                                                                        going to
                                                                                                              to go
                                                                                                                 go through.
                                                                                                                     through.

QUESTION: But
QUESTION: But isn't
              isn't that
                    that just
                         just part
                              part of the conversation
                                   of the conversation that
                                                       that happens
                                                            happens in
                                                                    in Washington...
                                                                       Washington...

SPICER: No,
SPICER:     it's not.
        No, ifs  not. II think...
                         think...

QUESTION: ...
QUESTION:     in D.C.,
          ... in       that comes
                 D.C., that comes from
                                  from being
                                       being president
                                             president of
                                                       of the
                                                          the United
                                                              United States
                                                                     States and working at
                                                                            and working at the
                                                                                           the White
                                                                                               White House?
                                                                                                     House?

SPICER: No.
SPICER:   No. No,  look, I've
               No, look, I've been
                               been doing  this a
                                     doing this   long time,
                                                a long time, you've
                                                             you've been
                                                                     been doing
                                                                           doing this
                                                                                 this too.
                                                                                      too. I've never seen
                                                                                           I've never seen it
                                                                                                           it like
                                                                                                              like this,
                                                                                                                   this, Jim,
                                                                                                                         Jim,
I've never --
I've never -- and
              and again,
                  again, I'm  not looking
                         I'm not  looking to
                                          to go
                                             go back
                                                back and  forth, but
                                                      and forth, but you're
                                                                     you're asking
                                                                            asking for
                                                                                   for an  explanation.
                                                                                       an explanation.

And II think
And    think that
             that it's
                  it's important
                       important to
                                  to understand,
                                     understand, that
                                                   that whether
                                                        whether ifs it's the
                                                                         the president
                                                                             president himself,
                                                                                       himself, the
                                                                                                the vice
                                                                                                    vice president,
                                                                                                         president, the
                                                                                                                     the senior
                                                                                                                         senior
team, the
team,  the volunteers
           volunteers or or the
                            the people
                                people who
                                       who are
                                             are out
                                                 out there
                                                     there just
                                                             just in
                                                                  in America
                                                                      America that
                                                                               that voted
                                                                                    voted for
                                                                                          for him
                                                                                              him or
                                                                                                  or walked
                                                                                                     walked the
                                                                                                             the streets
                                                                                                                 streets or
                                                                                                                         or put
                                                                                                                            put
up a
up a sign,
      sign, that
            that to
                 to constantly
                     constantly be
                                 be told
                                    told no,
                                         no, no,
                                              no, no
                                                  no and
                                                     and watch
                                                           watch himhim gogo yes,
                                                                             yes, yes,
                                                                                  yes, yes
                                                                                       yes every
                                                                                           every time
                                                                                                  time and
                                                                                                       and to
                                                                                                            to come
                                                                                                               come upup to
                                                                                                                         to the
                                                                                                                            the
next hurdle
next hurdle and   see someone
             and see    someone put
                                  put a
                                      a block
                                        block up
                                               up gets
                                                  gets a little frustrating.
                                                       a little frustrating.
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                     White House
                     White House Press Secretary Sean
                                 Press Secretary Sean Spicer
                                                      Spicer holds
                                                             holds his
                                                                   his daily
                                                                       daily briefing
                                                                             briefing with
                                                                                      with reporters.
                                                                                           reporters.

And II think
And    think that
             that we
                  we are
                       are -- and so,
                           -- and       you see
                                   so, you   see this
                                                  this historic
                                                       historic thing.
                                                                 thing. And
                                                                         And he
                                                                              he stands
                                                                                 stands there
                                                                                           there at
                                                                                                  at the
                                                                                                     the Capitol and II was
                                                                                                         Capitol and     was notnot that
                                                                                                                                    that
close but,
close  but, you
            you know,
                 know, onon the
                             the platform,
                                  platform, and
                                             and you
                                                  you look
                                                       look out
                                                             out and
                                                                   and all  your --
                                                                        all your     it's an
                                                                                 -- ifs   an amazing
                                                                                             amazing view.
                                                                                                        view. And
                                                                                                              And ifs
                                                                                                                   it's just
                                                                                                                        just so
                                                                                                                              so many
                                                                                                                                  many
people who
people   who got
              got in
                  in long
                     long lines,
                          lines, who
                                  who had
                                       had to
                                            to go
                                               go around
                                                   around all
                                                            all this
                                                                this different
                                                                     different stuff  to get
                                                                               stuff to  get in.
                                                                                             in. And
                                                                                                 And that
                                                                                                      that was
                                                                                                           was for
                                                                                                               for the
                                                                                                                   the first
                                                                                                                        first time
                                                                                                                              time that
                                                                                                                                    that
we did
we  did have
        have to
              to go
                 go through    fencing that
                     through fencing    that far
                                             far out.
                                                 out.

And then
And  then toto hear,
               hear, "Well,
                      "Well, look
                               look at
                                    at this
                                       this shot,"
                                            shot," and
                                                   and it's
                                                       it's not
                                                            not -- "It wasn't
                                                                -- "It wasn't that
                                                                                that big."
                                                                                     big." It's a little
                                                                                           It's a little demoralizing
                                                                                                         demoralizing because
                                                                                                                        because when
                                                                                                                                 when
you're sitting
you're sitting there
                there and   you're looking
                       and you're   looking out
                                             out and  you're in
                                                 and you're  in awe
                                                                awe of of just
                                                                          just how
                                                                               how awesome
                                                                                    awesome that that view
                                                                                                        view is
                                                                                                             is and
                                                                                                                and how
                                                                                                                     how many
                                                                                                                          many people
                                                                                                                                people
are there
are there and
            and you
                  you go
                       go back
                           back and    you turn
                                  and you   turn on
                                                 on the
                                                    the television
                                                         television and    you see
                                                                     and you     see shots
                                                                                     shots ofof comparing
                                                                                                comparing this this and
                                                                                                                    and that.
                                                                                                                        that. And
                                                                                                                              And then
                                                                                                                                  then
you look
you look at
          at the
              the stuff  that's happening.
                   stuff that's happening.

The nominees
The  nominees toto get
                   get put
                       put out
                            out (ph), the Democrats
                                (ph), the Democrats stopping
                                                       stopping -- -- there
                                                                      there are
                                                                            are two
                                                                                 two Cabinet officials, ladies
                                                                                     Cabinet officials, ladies and
                                                                                                               and gentleman,
                                                                                                                   gentleman,
that are
that     taking their
     are taking  their office
                       office today.
                              today. He   visited the
                                      He visited   the CIA
                                                       CIA and
                                                             and a a director
                                                                      director that
                                                                               that was
                                                                                    was considered
                                                                                        considered a  a consensus
                                                                                                         consensus candidate
                                                                                                                    candidate
wasn't approved.
wasn't             Where's the
       approved. Where's     the story?
                                 story? And
                                        And II think
                                               think that
                                                     that --
                                                          -- so
                                                             so it...
                                                                it...

QUESTION: Isn't
QUESTION:         it a
            Isn't it a fair
                       fair criticism
                            criticism that
                                      that you've
                                           you've got bigger fish
                                                  got bigger fish to
                                                                  to fry?
                                                                     fry? Why
                                                                          Why worry
                                                                              worry about
                                                                                    about a couple of
                                                                                          a couple of tweets
                                                                                                      tweets about
                                                                                                             about
crowd size?
crowd size?

(CROSSTALK)
(CROSSTALK)

SPICER: Because
SPICER:    Because ifs it's not
                            not -- because that's
                                -- because            what I'm
                                              that's what       saying, you're
                                                            I'm saying,  you're minimizing
                                                                                  minimizing the
                                                                                              the point   here, Jim.
                                                                                                  point here,   Jim. It's not about
                                                                                                                     It's not about one
                                                                                                                                      one
Tweet. It's
Tweet.       not about
        It's not  about oneone picture.
                                picture. It's
                                         It's about
                                               about a   constant theme.
                                                       a constant   theme. It's   about sitting
                                                                             It's about sitting here
                                                                                                 here every   time and
                                                                                                       every time   and being
                                                                                                                          being told
                                                                                                                                told no.
                                                                                                                                      no.
"Well, we
"Well, we don't
            don't think
                   think hehe can
                              can dodo that,
                                       that, he'll
                                               he'll never
                                                     never accomplish
                                                            accomplish that,
                                                                           that, he
                                                                                 he can't
                                                                                    can't win
                                                                                          win that,
                                                                                                that, it
                                                                                                      it won't
                                                                                                         won't be  the biggest,
                                                                                                               be the            it's not
                                                                                                                        biggest, it's not
gonna be
gonna  be that
            that good.
                 good. The    crowds aren't
                          The crowds   aren't that
                                                that big,
                                                      big, he's
                                                           he's not
                                                                not that
                                                                     that successful."
                                                                          successful."

The narrative
The  narrative --
               -- and  the default
                  and the  default narrative
                                     narrative is
                                               is always
                                                  always negative
                                                           negative and
                                                                      and it's
                                                                          it's demoralizing.
                                                                               demoralizing. And And II think
                                                                                                        think that
                                                                                                               that when
                                                                                                                    when you
                                                                                                                           you sit
                                                                                                                               sit here
                                                                                                                                   here
and you
and  you realize
         realize the
                  the sacrifice
                      sacrifice the
                                 the guy
                                      guy made,
                                          made, leaving
                                                   leaving a  very, very
                                                            a very,  very successful
                                                                          successful business
                                                                                           business because
                                                                                                     because he he really
                                                                                                                    really cares
                                                                                                                           cares about
                                                                                                                                 about
this country
this country and
              and hehe wants
                        wants --    despite your
                                 -- despite   your partisan    differences, he
                                                     partisan differences,     he cares
                                                                                    cares about
                                                                                             about making
                                                                                                    making this
                                                                                                              this country
                                                                                                                    country better
                                                                                                                             better for
                                                                                                                                     for
everybody. He
everybody.        wants to
             He wants       make it
                         to make    it safer for everybody.
                                       safer for everybody. AndAnd soso when
                                                                         when youyou wake
                                                                                        wake upup everyday
                                                                                                  everyday andand that's
                                                                                                                    that's what
                                                                                                                           what you're
                                                                                                                                 you're
seeing over
seeing  over and
              and over
                    over again
                          again andand you're
                                        you're not
                                                 not seeing
                                                      seeing stories
                                                              stories about
                                                                        about thethe Cabinet
                                                                                        Cabinet folks
                                                                                                 folks that
                                                                                                        that he's
                                                                                                             he's appointing
                                                                                                                    appointing oror the
                                                                                                                                    the
success that
success  that he's
              he's having
                    having trying
                            trying to
                                    to keep  American jobs
                                       keep American     jobs here.
                                                              here. Yes,
                                                                      Yes, it
                                                                           it is
                                                                              is aa little
                                                                                    little disappointing.
                                                                                           disappointing.

So, II just
So,    just --
            -- it's
               it's --
                    -- you
                       you know...
                           know...

QUESTION: It's
QUESTION:      not always
          It's not always going
                          going to
                                to be
                                   be positive.
                                      positive.

(CROSSTALK)
(CROSSTALK)

SPICER: No,
SPICER:        it's not,
           No, it's not, and
                         and sometimes     we'll make
                              sometimes we'll    make mistakes.
                                                       mistakes. II promise you that.
                                                                    promise you   that. But
                                                                                        But it's
                                                                                             it's not
                                                                                                  not always
                                                                                                      always got
                                                                                                              got to
                                                                                                                  to be
                                                                                                                      be negative,
                                                                                                                          negative,
Jim. Some
Jim. Some days,
             days, wewe do
                         do do
                             do the
                                the right
                                     right thing.
                                           thing. Some
                                                  Some days
                                                         days we
                                                               we are  successful. So
                                                                   are successful.       it's not
                                                                                     So it's  not --  part of
                                                                                                   -- part of us
                                                                                                              us is
                                                                                                                 is saying,
                                                                                                                     saying, when
                                                                                                                             when
we're right,
we're right, say   we're right.
             say we're          When we're
                         right. When    we're wrong,
                                              wrong, say
                                                      say we're
                                                          we're wrong.
                                                                 wrong. But  it's not
                                                                         But it's not always
                                                                                      always wrong      and negative.
                                                                                                 wrong and   negative. There
                                                                                                                         There are
                                                                                                                                are
things --
things -- there's
          there's a  lot of
                   a lot    things that
                         of things that he's
                                         he's done
                                              done already,  a lot
                                                    already, a lot of
                                                                   of amazing
                                                                      amazing people
                                                                                people that
                                                                                         that he's
                                                                                                he's appointed,
                                                                                                     appointed, aa lot
                                                                                                                    lot of
                                                                                                                        of success
                                                                                                                           success
that he's
that he's having.
          having.

And it
And it would
       would be
              be once
                 once --
                      -- nice
                         nice once
                              once in
                                    in a while for
                                       a while     someone just
                                               for someone  just to
                                                                 to say
                                                                    say --
                                                                        -- report
                                                                           report it
                                                                                  it straight up, he
                                                                                     straight up,  he appointed
                                                                                                      appointed this
                                                                                                                this person,
                                                                                                                     person,
here's their
here's their background.
             background. Not
                          Not why
                              why they're
                                   they're not
                                           not gonna
                                                gonna get
                                                      get nominated,
                                                          nominated, not
                                                                       not why
                                                                            why it's
                                                                                it's not
                                                                                     not gonna
                                                                                          gonna happen.
                                                                                                  happen.

QUESTION: Thanks,
QUESTION:         Sean.
          Thanks, Sean.

SPICER: Hold
SPICER:      on. One
        Hold on.     last thing.
                 One last thing. Hold on.
                                 Hold on.

II can't
   can't --
         -- II know
               know we're getting really
                    we're getting really into
                                         into like
                                              like facts.
                                                   facts. So
                                                          So just
                                                              just to
                                                                   to be
                                                                      be clear,
                                                                         clear, there
                                                                                 there were
                                                                                       were no
                                                                                             no Trump  or White
                                                                                                Trump or  White House
                                                                                                                House folks
                                                                                                                      folks
sitting down.
sitting  down. They   were all
                 They were all CIA
                               CIA (inaudible).  So not
                                   (inaudible). So   not in
                                                         in rows
                                                            rows one
                                                                 one through
                                                                      through anything,   from what
                                                                                anything, from what I'm told.
                                                                                                    I'm told.

(CROSSTALK)
(CROSSTALK)

II appreciate
   appreciate Julie's
              Julie's effort,
                      effort, but
                              but II want
                                     want to
                                          to --
                                             -- I've
                                                I've Hallie
                                                     Hallie (ph).
                                                            (ph). John,
                                                                  John, you got one.
                                                                        you got one. Give me a
                                                                                     Give me a second.
                                                                                               second.
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                    White House
                    White House Press Secretary Sean
                                Press Secretary Sean Spicer
                                                     Spicer holds
                                                            holds his
                                                                  his daily
                                                                      daily briefing
                                                                            briefing with
                                                                                     with reporters.
                                                                                          reporters.

QUESTION: So,
QUESTION: So, Sean,
              Sean, a
                    a couple
                      couple --
                             -- a
                                a couple
                                  couple of
                                         of questions
                                            questions here,
                                                      here, if
                                                            if you
                                                               you don't
                                                                   don't mind.
                                                                         mind.

First one
First one on
          on Russia.
              Russia. The   administration was
                       The administration  was asked
                                                asked about
                                                       about multiple
                                                              multiple interactions
                                                                       interactions between
                                                                                    between National    Security Adviser
                                                                                              National Security   Adviser
Mike Flynn
Mike  Flynn and
             and a  Russian ambassador.
                 a Russian    ambassador. II believe
                                             believe you
                                                      you at
                                                          at the
                                                             the time
                                                                 time -- the administration
                                                                      -- the                 at that
                                                                             administration at  that time
                                                                                                     time said
                                                                                                          said it's
                                                                                                               it's -- the
                                                                                                                    -- the
calls were
calls were related
           related to
                   to setting
                      setting up
                              up a
                                 a discussion
                                   discussion later
                                              later between
                                                    between President
                                                             President Trump
                                                                        Trump and   Vladimir Putin.
                                                                               and Vladimir  Putin.

SPICER: That's
SPICER:        right.
        That's right.

QUESTION: Were
QUESTION:    Were those
                   those conversations
                         conversations about
                                       about anything
                                             anything else other than
                                                      else other than setting
                                                                      setting up
                                                                              up that
                                                                                 that discussion?
                                                                                      discussion? And
                                                                                                  And why
                                                                                                      why has
                                                                                                          has that
                                                                                                              that
discussion not
discussion not yet
               yet happened
                   happened between
                            between the
                                     the president
                                         president and
                                                   and President
                                                       President Putin?
                                                                  Putin?

SPICER: So
SPICER:       there's been
          So there's  been one
                             one call.
                                  call. II talked
                                           talked toto General
                                                       General Flynn  about this
                                                                Flynn about   this again
                                                                                   again last
                                                                                          last night.
                                                                                               night. One call, talked
                                                                                                      One call,  talked about
                                                                                                                        about four
                                                                                                                                four
subjects. One
subjects.       was the
          One was    the loss
                          loss of
                               of life
                                  life that
                                       that occurred
                                              occurred inin the
                                                            the plane
                                                                plane crash
                                                                      crash that
                                                                             that took
                                                                                   took their
                                                                                        their military
                                                                                              military choir,  two was
                                                                                                       choir, two  was Christmas
                                                                                                                        Christmas
and holiday
and holiday greetings,
             greetings, three
                         three was
                                was toto --
                                          -- to
                                             to talk
                                                talk about
                                                      about a  conference in
                                                             a conference in Syria
                                                                              Syria on
                                                                                     on ISIS  and four
                                                                                        ISIS and   four was
                                                                                                        was toto set
                                                                                                                 set up
                                                                                                                     up a
                                                                                                                        a --
                                                                                                                          -- to
                                                                                                                             to talk
                                                                                                                                 talk
about after
about after the
            the inauguration
                inauguration setting
                               setting up
                                        up a  a call
                                                call between
                                                     between President
                                                               President Putin
                                                                         Putin and   President Trump.
                                                                                and President    Trump.

That --
That  -- II don't believe that
            don't believe that that
                               that has
                                      has been
                                          been setset up
                                                      up yet
                                                          yet because
                                                                because thethe call
                                                                               call was
                                                                                    was to
                                                                                        to say
                                                                                           say ---- they
                                                                                                    they did
                                                                                                         did follow
                                                                                                              follow up,
                                                                                                                      up, I'm sorry, two
                                                                                                                          I'm sorry, two
days ago
days  ago about
             about how
                    how to
                         to facilitate
                            facilitate that
                                        that call
                                             call once
                                                   once again.
                                                         again. SoSo there
                                                                       there have
                                                                              have been
                                                                                    been aa total
                                                                                            total of
                                                                                                   of two
                                                                                                      two calls
                                                                                                          calls with
                                                                                                                  with the
                                                                                                                       the ambassador
                                                                                                                            ambassador
and General
and  General Flynn.     And the
                Flynn. And   the second     call came
                                  second call    came ---- II think
                                                              think it's
                                                                    it's now
                                                                         now three
                                                                              three days
                                                                                     days ago
                                                                                          ago --   that was
                                                                                               -- that  was to
                                                                                                             to say
                                                                                                                 say once
                                                                                                                      once he
                                                                                                                            he gets
                                                                                                                               gets into
                                                                                                                                     into
office, can
office, can wewe set
                  set up
                      up that
                         that call?
                              call? It  hasn't --
                                     It hasn't -- to
                                                  to my
                                                     my knowledge,
                                                         knowledge, has  has not
                                                                              not occurred
                                                                                  occurred yet.
                                                                                            yet.

QUESTION: Any
QUESTION: Any other conversations between
              other conversations between General Flynn and
                                          General Flynn and Russian
                                                            Russian members
                                                                    members of
                                                                            of the
                                                                               the government?
                                                                                   government?

SPICER: Not
SPICER:       that I'm
          Not that  I'm aware
                        aware of. And when
                              of. And when II say
                                              say that,
                                                  that, what
                                                        what I'm saying is
                                                             I'm saying is during
                                                                           during the
                                                                                  the transition,
                                                                                      transition, II asked
                                                                                                     asked General
                                                                                                           General Flynn
                                                                                                                   Flynn
that --
that    whether or
     -- whether or not
                   not there
                       there were
                             were any
                                   any other
                                       other conversations
                                             conversations beyond
                                                           beyond the
                                                                    the ambassador
                                                                        ambassador andand he
                                                                                          he said
                                                                                              said no.
                                                                                                     no.

QUESTION: And
QUESTION: And one
              one more
                  more follow-up
                       follow-up on Julie's questions
                                 on Julie's questions from
                                                      from here...
                                                           here...

SPICER: OK.
SPICER: OK.

QUESTION: ...
QUESTION:        on a
             ... on a statement
                      statement that
                                that the
                                     the president
                                         president made
                                                   made on
                                                        on Saturday.
                                                           Saturday. Can you --
                                                                     Can you -- and
                                                                                and II just
                                                                                       just want
                                                                                            want to
                                                                                                 to clarify
                                                                                                    clarify your
                                                                                                            your
answer here.
answer here.

SPICER: Yeah.
SPICER: Yeah.

QUESTION: Can
QUESTION:    Can you
                   you unequivocally   state that
                         unequivocally state that this
                                                  this administration
                                                       administration will
                                                                      will not
                                                                           not send more troops
                                                                               send more troops into
                                                                                                into Iraq to, as
                                                                                                     Iraq to,    the
                                                                                                              as the
president has
president has put
              put it,
                  it, take
                      take the
                           the oil?
                               oil?

SPICER: I'm
SPICER:       not gonna
          I'm not  gonna talk
                          talk about
                               about what
                                       what we    may or
                                              we may    or may
                                                           may not
                                                                 not do.
                                                                      do. II think
                                                                             think the
                                                                                   the president's
                                                                                       president's been
                                                                                                   been very
                                                                                                           very clear
                                                                                                                clear that
                                                                                                                       that he
                                                                                                                            he
doesn't telegraph
doesn't telegraph forward
                   forward what
                           what --  taking options
                                 -- taking  options off
                                                     off the
                                                         the table.
                                                             table. That's   not a
                                                                    That's not   a good
                                                                                   good negotiation
                                                                                        negotiation skill.
                                                                                                    skill. That's not how
                                                                                                           That's not how hehe
works. There's
works. There's a
               a reason
                  reason he's
                          he's been   successful at
                               been successful        negotiating, is
                                                   at negotiating,  is because
                                                                       because he he does it in
                                                                                     does it in a
                                                                                                a way
                                                                                                  way that
                                                                                                      that doesn't
                                                                                                            doesn't telegraph
                                                                                                                    telegraph
to people
to people what
          what he's
               he's gonna   take on
                     gonna take  on or
                                     or off
                                        off the
                                            the table.
                                                table.

Jeff Mason.
Jeff Mason.

QUESTION: Where's
QUESTION:     Where's the
                      the president's thinking now
                          president's thinking now on
                                                   on the
                                                      the Supreme
                                                          Supreme Court?
                                                                  Court? (inaudible)
                                                                         (inaudible) naming
                                                                                     naming some
                                                                                            some nominees?
                                                                                                 nominees? And
                                                                                                           And
in a
in a follow-up
     follow-up to...
               to...

SPICER: You
SPICER: You get two.
            get two.

(CROSSTALK)
(CROSSTALK)

QUESTION: Narrowing
QUESTION: Narrowing down his nominees,
                    down his nominees, II should say.
                                          should say.

SPICER: OK.
SPICER: OK.
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                    White House
                    White House Press Secretary Sean
                                Press Secretary Sean Spicer
                                                     Spicer holds
                                                            holds his
                                                                  his daily
                                                                      daily briefing
                                                                            briefing with
                                                                                     with reporters.
                                                                                          reporters.

QUESTION: And
QUESTION:    And at
                  at the
                     the end of the
                         end of the Obama
                                    Obama administration,
                                          administration, the
                                                          the number
                                                              number of
                                                                     of prisoners
                                                                        prisoners in
                                                                                  in Guantanamo Bay was
                                                                                     Guantanamo Bay was
reduced to
reduced to about
           about 40.
                 40.

SPICER: Right.
SPICER: Right.

QUESTION: What
QUESTION: What are
               are the
                   the president's
                       president's plans
                                   plans for
                                         for that
                                             that prison?
                                                  prison?

SPICER: So
SPICER:    on the
        So on  the first,
                   first, II --
                             -- II think
                                   think that
                                         that in
                                              in the
                                                 the next week or
                                                     next week or so,
                                                                  so, we
                                                                      we should have an
                                                                         should have an update
                                                                                        update on
                                                                                               on a nominee for
                                                                                                  a nominee for the
                                                                                                                the
Supreme Court.
Supreme Court.

QUESTION: (OFF-MIKE)
QUESTION: (OFF-MIKE)

SPICER: It
SPICER:        does. II think
            It does.    think we
                              we will
                                 will have
                                      have a
                                           a nomination
                                             nomination within the next
                                                        within the next couple weeks. He
                                                                        couple weeks. He continues to make
                                                                                         continues to      that a
                                                                                                      make that a
priority of
priority of his.
            his.

On Gitmo,
On  Gitmo, II think
              think you're
                    you're gonna
                           gonna see
                                 see further
                                       further action.
                                                 action. II don't
                                                            don't want
                                                                  want to
                                                                       to get
                                                                          get ahead
                                                                              ahead of
                                                                                    of the
                                                                                       the president,
                                                                                           president, but
                                                                                                      but this
                                                                                                          this is
                                                                                                               is something
                                                                                                                  something
that has
that has been
         been discussed
                discussed and
                           and has
                               has --
                                   -- it
                                      it is
                                         is in
                                            in his
                                               his current
                                                   current decision-making
                                                             decision-making process
                                                                              process how
                                                                                      how he
                                                                                           he wants
                                                                                              wants to
                                                                                                    to handle
                                                                                                       handle that.
                                                                                                                that.

QUESTION: And
QUESTION: And as
              as a
                 a follow-up...
                   follow-up...

(CROSSTALK)
(CROSSTALK)

QUESTION: If
QUESTION:      If II could
                     could just
                           just ask one more.
                                ask one more. You
                                              You said
                                                  said that the president
                                                       that the president disagreed
                                                                          disagreed with
                                                                                    with the
                                                                                         the characterization
                                                                                             characterization of a rift
                                                                                                              of a rift
with the
with the intelligence
         intelligence community?
                        community?

SPICER: That's
SPICER:        right.
        That's right.

QUESTION: Do
QUESTION:    you dispute,
          Do you          though, his
                 dispute, though, his tweet
                                      tweet about
                                            about comparing
                                                  comparing the
                                                            the intelligence
                                                                intelligence community
                                                                             community to
                                                                                       to Nazi
                                                                                          Nazi Germany?
                                                                                               Germany?

SPICER: II --
SPICER:       no. II think
           -- no.    think what he was
                           what he was talking
                                       talking about
                                               about was the process,
                                                     was the          not the
                                                             process, not the people,
                                                                              people, and
                                                                                      and that's
                                                                                          that's a
                                                                                                 a very
                                                                                                   very different
                                                                                                        different thing.
                                                                                                                  thing.

Shane.
Shane.

QUESTION: (inaudible)
QUESTION:                    three months
                (inaudible) three  months ago
                                            ago then
                                                then candidate
                                                     candidate Trump     was in
                                                                 Trump was   in Gettysburg
                                                                                Gettysburg and   he made
                                                                                            and he  made a   list of
                                                                                                           a list of Day
                                                                                                                     Day One
                                                                                                                         One
promises. He
promises.   He called
                 called it
                        it a
                           a contract
                             contract with
                                      with the
                                           the American
                                               American voters.
                                                          voters. A
                                                                  A bunch
                                                                    bunch of
                                                                           of them
                                                                              them are
                                                                                    are not
                                                                                        not gonna
                                                                                            gonna get
                                                                                                   get done   today because
                                                                                                       done today    because
you said
you  said he's
           he's done
                 done with
                       with making
                             making executive   orders; labeling
                                      executive orders; labeling China
                                                                  China aa currency
                                                                           currency manipulator
                                                                                     manipulator and  posing congressional
                                                                                                  and posing   congressional
term limits
term  limits (inaudible).
             (inaudible). II wanted
                             wanted to
                                     to ask  you why
                                        ask you  why not
                                                     not pursue
                                                          pursue all  those on
                                                                  all those on day
                                                                                day one,
                                                                                    one, as
                                                                                         as he
                                                                                             he promised
                                                                                                promised in
                                                                                                          in a  contract with
                                                                                                              a contract with
the voters?
the voters?

SPICER: Well,
SPICER:     Well, II think
                     think he
                            he is
                                is --
                                   -- we're  going to
                                      we're going    to continue
                                                        continue to
                                                                 to sequence
                                                                    sequence those
                                                                              those out.
                                                                                     out. II mean,
                                                                                             mean, part
                                                                                                   part of
                                                                                                         of it
                                                                                                            it is
                                                                                                               is to
                                                                                                                  to make   sure that
                                                                                                                     make sure     that
we don't
we don't spend
           spend ourour entire
                         entire day
                                 day signing
                                      signing executive     orders and
                                                executive orders   and (inaudible).
                                                                       (inaudible). There's
                                                                                    There's a   way that
                                                                                              a way  that we
                                                                                                          we can
                                                                                                               can dodo this
                                                                                                                        this to
                                                                                                                             to make
                                                                                                                                make
sure that
sure  that we're
           we're getting
                  getting all
                            all of
                                of those
                                   those things
                                          things that
                                                   that he
                                                        he promised
                                                           promised the
                                                                     the American
                                                                         American people
                                                                                    people done   in short
                                                                                             done in  short haste
                                                                                                            haste and
                                                                                                                    and doing
                                                                                                                         doing it
                                                                                                                                it in
                                                                                                                                   in a
                                                                                                                                      a
way that
way  that doesn't
          doesn't just
                     just jam
                          jam them
                               them out
                                      out in
                                           in a
                                              a fire
                                                fire hose.
                                                     hose.

And II think
And    think part
              part of
                   of this
                      this is
                           is ensuring
                              ensuring that
                                          that we
                                               we sequence
                                                   sequence these,
                                                                 these, that
                                                                        that gives
                                                                             gives the
                                                                                   the American
                                                                                        American people
                                                                                                  people the
                                                                                                          the proper
                                                                                                               proper --
                                                                                                                      -- issue
                                                                                                                         issue the
                                                                                                                               the
proper attention
proper  attention that   they deserve
                    that they  deserve because
                                          because part
                                                    part of
                                                          of it
                                                             it is
                                                                is that
                                                                   that when
                                                                        when --  and if
                                                                              -- and if we
                                                                                        we put
                                                                                           put them
                                                                                               them all  out in
                                                                                                     all out in one
                                                                                                                one day,
                                                                                                                    day, they
                                                                                                                          they get
                                                                                                                               get
lose --
lose -- they
        they get
              get lost
                   lost in
                        in the
                           the ether,
                                ether, II think,
                                          think, and
                                                 and II think
                                                        think he
                                                               he made
                                                                   made these
                                                                          these promises
                                                                                 promises and
                                                                                           and pledges
                                                                                                pledges to
                                                                                                         to the
                                                                                                            the American
                                                                                                                American people
                                                                                                                            people
because they're
because    they're important
                    important to
                               to him.
                                  him. So...
                                         So...

QUESTION: He
QUESTION:    still plans
          He still       to (inaudible)
                   plans to             that Day
                            (inaudible) that Day One list, though?
                                                 One list, though?

SPICER: That's
SPICER:        his intention,
        That's his intention, yes.
                              yes. He's very clear
                                   He's very clear about that.
                                                   about that.

Yes, sir.
Yes, sir.

QUESTION: Is
QUESTION:    the president
          Is the president going to shake
                           going to shake up
                                          up the
                                             the leadership
                                                 leadership of
                                                            of CFPB
                                                               CFPB before
                                                                    before the
                                                                           the directors
                                                                               director's term's
                                                                                          term's up?
                                                                                                 up?
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                    White House
                    White House Press Secretary Sean
                                Press Secretary Sean Spicer
                                                     Spicer holds
                                                            holds his
                                                                  his daily
                                                                      daily briefing
                                                                            briefing with
                                                                                     with reporters.
                                                                                          reporters.

SPICER: I'm
SPICER:     not going
        I'm not going to
                      to -- no
                            no decision
                               decision has
                                        has been
                                            been made at this
                                                 made at this time
                                                              time on that.
                                                                   on that.

QUESTION: One
QUESTION:     on Obamacare.
          One on            Has he
                 Obamacare. Has he finished
                                   finished his
                                            his plan
                                                plan on
                                                     on Obamacare, when will
                                                        Obamacare, when will the
                                                                             the American
                                                                                 American people
                                                                                          people see
                                                                                                 see
that...
that...

SPICER: ...I
SPICER:      think he...
        ...I think he...

QUESTION: ...And
QUESTION:          then on
            ...And then  on NAFTA,  can you
                            NAFTA, can   you just
                                             just clarify?
                                                   clarify? II know
                                                               know he's
                                                                    he's going
                                                                         going to
                                                                               to meet
                                                                                  meet with
                                                                                        with the
                                                                                             the leaders
                                                                                                 leaders of
                                                                                                         of Mexico
                                                                                                            Mexico and
                                                                                                                   and
Canada. Has
Canada.      he started
        Has he  started to
                        to have
                           have discussions
                                discussions with
                                            with them
                                                  them currently
                                                         currently about
                                                                   about renegotiating
                                                                          renegotiating NAFTA...
                                                                                        NAFTA...

SPICER: ...Yeah,
SPICER:              so, yeah,
           ...Yeah, so,  yeah, on
                               on Obamacare,
                                  Obamacare, II think
                                                 think he's
                                                       he's going
                                                            going to
                                                                   to continue the discussion
                                                                      continue the discussion tonight
                                                                                               tonight with
                                                                                                        with Speaker
                                                                                                              Speaker Ryan
                                                                                                                       Ryan
in particular
in particular at
               at the
                  the meeting
                      meeting that
                               that he's
                                    he's going
                                         going to
                                               to have
                                                  have after  the reception.
                                                        after the reception. When
                                                                             When itit comes
                                                                                       comes to
                                                                                              to the
                                                                                                 the -- the
                                                                                                        the -- I'm sorry, the
                                                                                                               I'm sorry, the
other part
other part was
            was NAFTA...
                  NAFTA...

QUESTION: ...NAFTA.
QUESTION: ...NAFTA.

SPICER: There's
SPICER:    There's -- he
                      he discussed  on the
                         discussed on   the phone
                                            phone with
                                                    with both
                                                         both leaders
                                                               leaders his
                                                                        his desire
                                                                            desire to
                                                                                   to reform
                                                                                      reform it
                                                                                             it but
                                                                                                but obviously
                                                                                                    obviously his
                                                                                                              his goal
                                                                                                                  goal was
                                                                                                                       was to
                                                                                                                           to
have that
have  that discussion
           discussion when
                        when they
                               they come
                                    come inin person
                                              person and
                                                      and II think
                                                             think II mentioned
                                                                      mentioned yesterday
                                                                                 yesterday the
                                                                                            the foreign
                                                                                                 foreign minister
                                                                                                         minister of
                                                                                                                  of Mexico's
                                                                                                                     Mexico's
going to
going  to come  on the
          come on    the 25th,
                         25th, 26th
                               26th to
                                    to sort
                                       sort of
                                            of set
                                               set the
                                                   the table
                                                       table and
                                                              and have
                                                                   have some
                                                                         some of
                                                                               of those
                                                                                  those meetings
                                                                                         meetings ahead   of President
                                                                                                    ahead of  President Pena
                                                                                                                        Pena
Nieto's meeting
Nieto's meeting here.
                 here.

QUESTION: (inaudible)
QUESTION: (inaudible) ...now that he's
                      ...now that he's officially in office,
                                       officially in office, don't
                                                             don't they...
                                                                   they...

SPICER: ...Well
SPICER:    ...Well again,  he's been
                   again, he's  been -- this
                                        this is
                                             is his
                                                 his first
                                                     first working
                                                           working day.
                                                                    day. II think
                                                                            think it's
                                                                                  it's been
                                                                                       been pretty
                                                                                             pretty busy and robust
                                                                                                    busy and   robust not
                                                                                                                      not just
                                                                                                                           just today
                                                                                                                                today
but in
but in the
       the 22 1/2 other days
              1/2 other days that
                               that we
                                    we had.
                                        had. And
                                              And II think
                                                       think you're
                                                             you're going
                                                                     going toto see
                                                                                see a   lot more
                                                                                      a lot more come
                                                                                                 come -- come
                                                                                                          come out
                                                                                                                 out but,
                                                                                                                     but, you
                                                                                                                          you know,
                                                                                                                               know,
there's a
there's a lot
          lot of
              of things
                 things that
                        that have
                              have to
                                    to get
                                       get done
                                            done and
                                                   and a a lot
                                                           lot of
                                                               of things
                                                                  things that
                                                                         that we're
                                                                               we're working
                                                                                       working on
                                                                                                on as
                                                                                                    as a staff to
                                                                                                       a staff to get
                                                                                                                  get him
                                                                                                                      him prepared.
                                                                                                                           prepared.
He's going
He's  going to
             to continue
                continue to
                          to have
                             have very,
                                   very, very
                                         very robust
                                                robust weeks.
                                                         weeks.

Thank you,
Thank you, guys.
           guys. II appreciate
                    appreciate it.
                               it. This was a
                                   This was a good
                                              good first
                                                   first one.
                                                         one.

(CROSSTALK)
(CROSSTALK)

QUESTION: One
QUESTION: One more,
              more, please?
                    please?

SPICER: Go
SPICER:    ahead. QUESTION:
        Go ahead. QUESTION: First of all,
                            First of all, congratulations.
                                          congratulations.

SPICER: Thank
SPICER:       you.
        Thank you.

QUESTION: And
QUESTION:      And also,   there has
                     also, there   has been
                                        been (inaudible)
                                              (inaudible) ...community.
                                                           ...community. MyMy question
                                                                              question is
                                                                                        is around
                                                                                           around the
                                                                                                  the last
                                                                                                      last two
                                                                                                            two days
                                                                                                                days II have
                                                                                                                        have
gone to
gone   to aa number
             number ofof balls
                         balls -- nation
                                  nation balls
                                         balls (ph)  including the
                                                (ph) including  the nation
                                                                    nation and
                                                                            and India
                                                                                India (ph) American ball
                                                                                      (ph) American  ball (ph). And most
                                                                                                          (ph). And   most of
                                                                                                                           of
those people
those   people were
                were supporting
                      supporting President     Modi's (ph)
                                    President Modi's   (ph) actions
                                                            actions and  also creating
                                                                    and also  creating (ph). But most
                                                                                       (ph). But most important,
                                                                                                      important, across
                                                                                                                   across the
                                                                                                                          the
street from
street  from U.S.-India   business council,
              U.S.-India business    council, most
                                               most gain
                                                     gain again
                                                           again (ph),  he represents
                                                                  (ph), he represents 500
                                                                                       500 Fortune  companies to
                                                                                            Fortune companies    to and from
                                                                                                                    and from
India.
India.

And he
And he said
       said that...
            that...

(CROSSTALK)
(CROSSTALK)

...His companies are
...His companies  are supporting  (ph) so
                       supporting (ph) so my
                                          my question
                                             question is
                                                      is where
                                                         where do
                                                               do we go as
                                                                  we go as per
                                                                           per U.S.-India
                                                                               U.S.-India and U.S.-Asia -- U.S.-India
                                                                                          and U.S.-Asia    U.S.-India
restoration projects
restoration projects (ph)?
                     (ph)?

SPICER: Well,
SPICER: Well, look,
              look, thank
                    thank you
                          you for
                              for the
                                  the question.
                                      question.

(LAUGHTER)
(LAUGHTER)

II think
   think that
         that whether
              whether it's
                       it's India or other
                            India or other countries
                                           countries throughout
                                                     throughout the
                                                                the globe,
                                                                     globe, today
                                                                            today as
                                                                                   as II mentioned,
                                                                                         mentioned, II mean
                                                                                                       mean the
                                                                                                            the goal
                                                                                                                goal is
                                                                                                                     is to
                                                                                                                        to
figure out
figure   out countries
              countries and
                          and markets
                               markets that
                                         that we
                                              we want
                                                   want to
                                                         to access  that benefit
                                                            access that  benefit the
                                                                                  the American
                                                                                        American worker,
                                                                                                  worker, help
                                                                                                           help us
                                                                                                                 us grow
                                                                                                                     grow
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                    White House
                    White House Press Secretary Sean
                                Press Secretary Sean Spicer
                                                     Spicer holds
                                                            holds his
                                                                  his daily
                                                                      daily briefing
                                                                            briefing with
                                                                                     with reporters.
                                                                                          reporters.

manufacturing, the
manufacturing, the services  industry, and
                    services industry, and so
                                           so that's
                                              that's one
                                                     one area
                                                         area that
                                                                that we'll
                                                                     we'll continue
                                                                           continue to
                                                                                    to work
                                                                                       work with
                                                                                            with the
                                                                                                 the prime
                                                                                                     prime minister
                                                                                                           minister there
                                                                                                                    there
on. But
on. But we've
        we've got
              got a
                  a very
                    very robust
                         robust agenda.
                                agenda. Thank   you, guys,
                                         Thank you,   guys, ifs
                                                            it's been
                                                                 been aa pleasure.
                                                                         pleasure. God  bless, see
                                                                                    God bless, see you
                                                                                                    you tomorrow.
                                                                                                        tomorrow.

END
END



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